           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 1 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                       1                                                                  3
 1                  UNITED STATES DISTRICT COURT                                  1                           I N D E X
                      DISTRICT OF MINNESOTA
 2                                                                                2    PLAINTIFFS' WITNESSES:                          PAGE
     -----------------------------------------------------------
 3                                             )                                  3    E D W A R D O U (Via Zoom)
       Jared Goyette, Craig Lassig,            ) File No. 20-CV-1302                     Direct Examination By Ms. Foster                10
 4     Katie Nelson, Tannen Maury,             )          (WMW/DTS)               4      Cross Examination By Ms. Landrum                69
       Stephen Maturen, Michael Shum,)                                                   Redirect Examination By Ms. Foster              93
 5     and The Communications                  )                                  5
       Workers of America, on behalf           ) St. Paul, Minnesota                   CHRISTOPHER TUITE
 6     of themselves and other                 ) July 28, 2021                    6     Direct Examination By Ms. McGarraugh             94
       similarly-situated individuals,         ) 9:17 a.m.                              Cross Examination By Mr. Hsu                    128
 7                                             )                                  7     Redirect Examination By Ms. McGarraugh          141
              Plaintiffs,                      )
 8                                             )                                  8
       vs.                                     )                                       DEFENDANTS' WITNESSES:
 9                                             )                                  9
       City of Minneapolis; Medaria            )                                       JOHN HARRINGTON
10     Arradondo, Minneapolis Chief of )                                         10     Direct Examination By Mr. Hsu                   147
       Police, in his individual and           )                                        Cross Examination By Mr. Riach                  176
11     official capacity; Robert               )                                 11
       Kroll, Minneapolis Police               )
                                                                                       JOSEPH DWYER
12     Lieutenant, in his individual           )
                                                                                 12     Direct Examination By Ms. Landrum               200
       and official capacity; John             )
                                                                                        Cross Examination By Mr. Riach                  259
13     Harrington, Minnesota                   )
                                                                                 13     Redirect Examination By Ms. Landrum             299
       Department of Public Safety             )
                                                                                        Recross Examination By Mr. Riach                304
14     Commissioner, in his individual         )
                                                                                 14     Examination By the Court                        305
       and official capacity; Matthew          )
15     Langer, Minnesota State Patrol          )
       Colonel, in his individual and          )                                 15
16     official capacity; and John             )
       Does, 1-4, in their individual          )                                 16
17     and official capacities,                )                                       PLAINTIFFS' EXHIBITS                           REC'D
                                               )                                 17     1                                               119
18            Defendants.                                                               3                                               100
                                                                                 18     4-A                                             115
19   -----------------------------------------------------------                        4-B                                             117
                                                                                 19     5                                               122
20              BEFORE THE HONORABLE WILHELMINA M. WRIGHT                               6                                               122
                   UNITED STATES DISTRICT COURT JUDGE                            20     8                                                56
21                                                                                      9                                                44
                               (MOTIONS HEARING)                                 21     10                                               34
22                                                                                      12                                               37
                                                                                 22     14                                               25
23                                                                                      27                                              310
                                                                                 23     37                                              290
24                                                                                      68                                              195
        Proceedings reported by court reporter; transcript                       24     71                                              185
25   produced by computer.
                                                                                 25
                                                                       2                                                                  4
 1   APPEARANCES
                                                                                  1                       I N D E X (Cont.)
 2    For the Plaintiffs:            Fredrikson & Byron, PA
                                     DULCE J. FOSTER, ESQ.
 3                                   PARI McGARRAUGH, ESQ.                        2
                                     KAREN G. SCHANFIELD, ESQ.                         DEFENDANTS' EXHIBITS                           REC'D
 4                                   Suite 4000
                                     200 South Sixth Street                       3     1                                              202
 5                                   Minneapolis, Minnesota 55402                       2                                              206
                                                                                  4     7                                              268
 6                                   ACLU of Minnesota
                                     TERESA J. NELSON, ESQ.                             10                                             310
 7                                   ISABELLA S. NASCIMENTO, ESQ.
                                                                                  5     11                                             209
                                     P.O. Box 14720
 8                                   Minneapolis, Minnesota 55414                       12                                             203
                                                                                  6     15                                             155
 9                                   The Law Office of Kevin C. Riach
                                     KEVIN C. RIACH, ESQ.                               19                                             205
10                                   P.O. Box 270815                              7     21                                             248
                                     Vadnais Heights, Minnesota 55127
11                                                                                      22                                             249
      For Defendants City of         Minneapolis City Attorney's                  8     41                                             226
12    Minneapolis and Chief          Office
      Medaria Arradondo:             HEATHER PASSE ROBERTSON, ESQ.                      42                                             215
13                                   KRISTIN R. SARFF, ESQ.                       9     43                                             242
                                     SHARDA R. ENSLIN, ESQ.
14                                   Room 210
                                     350 South Fifth Street                      10
15                                   Minneapolis, Minnesota 55415
                                                                                 11
16    For Defendant                  Kelly & Lemmons, P.A.                       12
      Lieutenant Robert              JOSEPH A. KELLY, ESQ.                       13
17    Kroll:                         Suite 200
                                     2350 Wycliff Street                         14
18                                   St. Paul, Minnesota 55114                   15
19    For Defendants                 Minnesota Attorney General's                16
      Commissioner John              Office                                      17
20    Harrington and Colonel         ALEXANDER HSU, ESQ.
      Matthew Langer:                KATHRYN IVERSON LANDRUM, ESQ.               18
21                                   JOSEPH D. WEINER, ESQ.                      19
                                     Suite 1100
22                                   445 Minnesota Street                        20
                                     St. Paul, Minnesota 55101                   21
23
                                                                                 22
      Court Reporter:                LORI A. SIMPSON, RMR-CRR
24                                   Suite 146                                   23
                                     316 North Robert Street                     24
25                                   St. Paul, Minnesota 55101
                                                                                 25
                                                                    Lori A. Simpson, RMR-CRR
                                                                            651-848-1225
                                                                                                                              Page 1 to Page 4
                                                                   EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 2 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                    July 28, 2021
                                                                  5                                                                         7
 1                         PROCEEDINGS                                       1   being sequestered. We would like for him to hear the
 2                          IN OPEN COURT                                    2   testimony of the two witnesses so that he may respond to it.
 3             LAW CLERK: The United States District Court for               3   And there is no basis to sequester otherwise.
 4   the District of Minnesota is now in session. The case                   4                THE COURT: You may respond or reply.
 5   number is 20-CV-1302, Jared Goyette, et al. vs. City of                 5                MR. RIACH: Your Honor, when the witnesses are
 6   Minneapolis, et al.                                                     6   testifying, they can certainly be asked questions that are
 7             Counsel, please identify yourselves for the                   7   relevant to testimony that has come before, but we think
 8   purposes of the record.                                                 8   it's important to have testimony that hasn't been impacted
 9             MS. FOSTER: Your Honor, Dulce Foster on behalf of             9   by the statements that have been given by other witnesses in
10   the plaintiffs. I'm here today with Kevin Riach, Pari                  10   this case.
11   McGarraugh, and Karen Schanfield.                                      11                THE COURT: I'm going to grant the motion.
12             THE COURT: Thank you. Good morning, Ms. Foster.              12   Nonparty witnesses shall be excluded. As I understand it,
13             MS. LANDRUM: Good morning, Your Honor. Kathryn               13   Commissioner Harrington is a party and so he may remain, but
14   Iverson Landrum here on behalf of the Minnesota State Patrol           14   the one other gentleman, I believe it is a gentleman that
15   and the Minnesota Department of Public Safety. With me is              15   you addressed, will need to be removed or sequestered until
16   Joseph Weiner, Assistant Attorney General; Alexander Hsu,              16   his testimony or her testimony.
17   Assistant Attorney General; and Shirley Kosek, a paralegal             17                MS. LANDRUM: Understood. Thank you, Your Honor.
18   with our office.                                                       18                THE COURT: Okay. Is there anything else that we
19             THE COURT: Okay. Good morning, everyone.                     19   need to address?
20             And as an initial matter, we are here for the                20                MR. WEINER: Your Honor, yes, just one
21   preliminary injunction hearing today and I would like to               21   additional --
22   remind everyone to please keep your face masks on while                22                COURT REPORTER: If you could stay near the
23   you're in the courtroom. Counsel or other participants, you            23   microphone, that would be --
24   may remove your face mask temporarily while you are                    24                MR. WEINER: Is this any better?
25   addressing the Court provided that you are appropriately               25                THE COURT: It's fine, but also if you would like
                                                                  6                                                                         8
 1   distanced from each other and all others around you.                    1   to remain seated, you may do so.
 2             I believe there are people who are listening by               2                MR. WEINER: Given the microphone situation, maybe
 3   telephone. If you are not listening -- I'm sorry. If you                3   I will do that.
 4   are not speaking, please mute your device, and you can do               4                THE COURT: Okay.
 5   that either by pressing star 6 or by using the mute on your             5                MR. WEINER: Your Honor, we would just like some
 6   own device.                                                             6   clarity as to the text order that was entered this morning
 7             I will remind everyone that pursuant to General               7   regarding the confidential documents that are going -- and
 8   Order No. 15 that was issued by Chief Judge Tunheim on                  8   the closing of the courtroom. We just want to make sure
 9   January 15, 2021, it is strictly prohibited for anyone to               9   that this applies only to parties and not to other
10   record or broadcast any hearing in whole or in part in any             10   individuals who may be testifying today but are not parties,
11   fashion, and that applies to this hearing as well.                     11   and that those individuals will be excluded in the event
12             Are there any preliminary matters that need to be            12   that there's any confidential documents or exhibits that are
13   addressed at this time before we move to witness testimony?            13   put before the Court.
14             MR. RIACH: One quick housekeeping matter for the             14                THE COURT: You're asking whether nonparties need
15   plaintiffs, Your Honor. We would ask that nonparty                     15   to be excluded when confidential information is being
16   witnesses be sequestered during the hearing. I believe that            16   addressed; is that correct?
17   would impact two witnesses. Once a witness is done                     17                MR. WEINER: Yes, Your Honor, and specifically
18   testifying, then I think we have no objection to their                 18   talking about the witnesses that the plaintiffs have
19   presence in the courtroom.                                             19   identified today, neither of whom are parties to this
20             THE COURT: Okay. Does anybody wish to be heard               20   matter, and just making sure that --
21   on that matter?                                                        21                THE COURT: You said who are or who are not?
22             MS. LANDRUM: Yes, Your Honor. Thank you. We                  22                MR. WEINER: Are testifying today, yes, Your
23   have two witnesses that we will be calling today. One is a             23   Honor.
24   party, Commissioner Harrington. He is here with us today.              24                THE COURT: Are they parties to the matter?
25   We would object to our second witness, Major Joseph Dwyer,             25                MR. WEINER: They are not parties to this matter
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                           Page 5 to Page 8
                                                          EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 3 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                 July 28, 2021
                                                                 9                                                                       11
 1   and so --                                                              1   A. I live in New York, in the U.S.
 2                THE COURT: So if they are not parties, they need          2   Q. And where did you grow up?
 3   to be not present in the courtroom during the confidential             3   A. I grew up in Canada.
 4   disclosure. Understood?                                                4   Q. How long have you lived in the United States?
 5                MR. WEINER: Yes, Your Honor. That was our                 5   A. This time around, around four years. Since 2017.
 6   understanding. We just wanted to make sure that that was               6   Q. What do you do for a living, Mr. Ou?
 7   correct. Thank you, Your Honor.                                        7   A. I am a journalist, photojournalist, and documentary
 8                THE COURT: Is there anything further that needs           8   filmmaker.
 9   to be addressed?                                                       9   Q. How long have you worked as a photojournalist?
10                MS. LANDRUM: No, Your Honor.                             10   A. I've been working since around 2006, so 15 years.
11                MS. FOSTER: No, Your Honor.                              11   Q. And can you please tell us what media outlets you've
12                THE COURT: Okay. Very well. Are we ready to              12   worked for in your career.
13   proceed?                                                              13   A. I've worked for companies like the Associated Press,
14                MS. FOSTER: Yes, Your Honor. The plaintiffs call         14   The New York Times, NBC News, and a few others.
15   Ed Ou.                                                                15   Q. Have you received any awards for your work?
16                Are you off mute?                                        16   A. Yeah, I have. Actually, yesterday I was nominated for
17                THE WITNESS: Hi. Hello.                                  17   an Emmy Award for coverage of last year. I've received
18                MS. FOSTER: Good morning, Mr. Ou. Could you              18   Peabody Awards, other internationally-recognized awards,
19   please state your name and --                                         19   like World Press Photo, et cetera. So yes.
20                COURT REPORTER: Wait. We need to swear him in. 20             Q. So I'm going to ask you to speak a little bit slower, if
21                MS. FOSTER: Oh, right.                                   21   you could, because the court reporter is here trying to take
22      (Witness sworn)                                                    22   down everything that you say and I'm sure she would
23                THE COURT: And please state your name, your full         23   appreciate being able to take that down without you speaking
24   name, and spell your last name, please.                               24   quickly. Thank you.
25                THE WITNESS: My name is Edward Ou,                       25             What is your current employment status, Mr. Ou?
                                                                 10                                                                      12
 1   E-d [audio distortion] r-d, and then Ou is spelled O-u.                1   A. I'm a freelance journalist right now.
 2                THE COURT: Okay. And we are having some                   2   Q. Okay. And what photo equipment do you normally carry
 3   difficulty hearing you and so that means that you probably             3   with you when you cover an event?
 4   need to adjust where your microphone is located. As you                4   A. I have a combination of video cameras and then stills
 5   move in, we can hear a little bit better, but it's not                 5   cameras. So usually I have two cameras with me with a
 6   uniformly good. Would you --                                           6   microphone and one for stills and depending on, you know,
 7                THE WITNESS: What about right now, if I speak             7   what the event is and what I'm covering, additional cameras
 8   like this?                                                             8   you know, stuff like that, tripod.
 9                THE COURT: If you speak like that, we can hear            9   Q. Do you carry a backpack or anything else?
10   you, but --                                                           10   A. Yeah, I have a backpack. And then depending on the
11                THE WITNESS: Okay.                                       11   situation, you know, like safety equipment or first aid kits
12                THE COURT: Okay.                                         12   or stuff and then -- it just really depends.
13                THE WITNESS: Will do. I will try to speak                13   Q. Would you be recognizable to the public as a journalist
14   louder. And if you can't hear me, just please let me know             14   when you're out covering an event?
15   and I can repeat.                                                     15             MS. LANDRUM: Objection --
16                THE COURT: I will. Thank you.                            16             THE WITNESS: Yes.
17                Counsel, you may proceed.                                17             MS. LANDRUM: Objection, calls for speculation.
18                MS. FOSTER: Thank you, Your Honor.                       18             THE COURT: Overruled.
19                             (Edward Ou)                                 19   BY MS. FOSTER:
20                         DIRECT EXAMINATION                              20   Q. Do you carry credentials with you?
21   BY MS. FOSTER:                                                        21   A. Yes.
22   Q. Mr. Ou, we have you participating by Zoom today. Where             22   Q. And where and how do you typically carry those?
23   are you currently dialing in from?                                    23   A. Usually I have a lanyard and a badge and then -- that
24   A. I'm in Copenhagen, Denmark.                                        24   says, like, who I am working with or, you know, that I am a
25   Q. Okay. Where do you live, Mr. Ou?                                   25   journalist.
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                      Page 9 to Page 12
                                                          EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 4 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                   13                                                                        15
 1              THE COURT: Okay. And I am going to ask you again              1   BY MS. FOSTER:
 2   to please make sure that we can hear you, so please move                 2   Q. Have you traveled outside of North America to cover news
 3   your microphone closer to you.                                           3   events?
 4              THE WITNESS: Sure.                                            4   A. Yeah.
 5              THE COURT: And, Ms. Foster, I'm wondering if it               5   Q. Where have you traveled in your career?
 6   might not be better for you to use the podium. Do you mind               6   A. For most of my career I worked in the Middle East. I
 7   using the podium?                                                        7   was there covering mostly, you know, the Arab world. And
 8              MS. FOSTER: No, Your Honor.                                   8   then I was based in East Africa for quite some time covering
 9              THE COURT: Okay.                                              9   mostly Somalia, Uganda, Sudan. So I've worked mostly
10              THE WITNESS: I'm going to -- can you hear me now? 10              internationally, actually, as opposed to in the U.S.
11              MS. FOSTER: And may I remove my mask?                        11   Q. What kind of --
12              THE COURT: You may remove your mask. And also                12              THE COURT: I didn't hear the last thing you said.
13   would you turn off -- okay. The video has been turned off               13              THE WITNESS: I have worked mostly internationally
14   for you.                                                                14   for more of my career than I have spent in the United
15              I think this is the better way for us to move                15   States.
16   forward, Counsel, just as we are testing what our                       16              THE COURT: Thank you.
17   capabilities are in terms of being able to hear and                     17   BY MS. FOSTER:
18   understand everyone with masks or without. So let's proceed             18   Q. What kinds of events have you covered in those
19   in this manner.                                                         19   locations? Can you describe them.
20              If any attorney who is questioning a witness feels           20   A. In the Middle East, the majority of my work there has
21   uncomfortable at the podium because of COVID protections                21   been covering protests, conflict-related events. For
22   that are needed, please let me know. You will be permitted              22   example, in Iraq or during the Arab Spring, I was in Egypt,
23   to question at your seats if that's what you prefer to do.              23   in Tahrir Square. I was in Libya, for example, when the
24              And I believe we have covers for the microphone              24   civil war broke out in 2011. So a lot of the -- because of
25   that we can take off every -- between -- after every                    25   the nature of, you know, the Middle East and the political
                                                                   14                                                                        16
 1   questioner if needed, so that we can maintain the sanitary               1   situation, it's a lot of, you know, conflict related and
 2   needs in order to stay safe in this setting.                             2   civil unrest and stories within that.
 3   BY MS. FOSTER:                                                           3   Q. Do you ever feel that there are risks to your own -- or
 4   Q. So I am going to repeat the question. Where and how do                4   have you ever historically felt that there were risks to
 5   you carry your credentials?                                              5   your own safety when covering those events?
 6   A. I usually have a lanyard and then a badge that says,                  6   A. Yeah. In a lot of countries in the Middle East or
 7   "Press" on it.                                                           7   places like Ukraine, there isn't exactly that much freedom
 8   Q. If there were a state-sponsored credentialing                         8   of the press and so a lot of times I have been targeted for
 9   requirement, would that make it difficult for you to cover               9   my work, you know, arrested. Colleagues of mine have been
10   events?                                                                 10   kidnapped. So, yes, it is difficult to work in a lot of
11   A. Yeah. Because I work nationally and internationally and              11   those places.
12   because we cover breaking news, we're often going to places             12   Q. Do you do anything to minimize threats to your safety
13   at the last minute to [audio distortion].                               13   when you are covering a protest event?
14              COURT REPORTER: I'm sorry. I didn't hear --                  14   A. Yes. A lot of different -- a lot of protests are just
15              THE COURT: At the last minute to do what?                    15   very different, so there's not one thing, but it's important
16              MS. FOSTER: Speak again.                                     16   for us to have, you know, body armor, for example, should we
17              THE WITNESS: We often have to travel at the last             17   need it, to have a gas mask, to have goggles, to have a
18   minute because I work internationally and nationally.                   18   helmet, to have a thing that says, "Press." It really
19   Because as journalists we travel a lot and so in a                      19   depends on the situation, but the key thing for us is to
20   breaking-news situation, it's not exactly practical to have             20   always be prepared for every outcome.
21   any one credential for anything. To give an example, I live             21   Q. Have you developed any practices with respect to where
22   in New York and I can't actually get a credential even in               22   you stand when you're covering a protest event?
23   New York because of some the requirements that are put on               23   A. Yeah, all the time. I think when you cover a protest,
24   us, you know, as journalists in terms of, like,                         24   it's important to be always aware of where your exits are
25   breaking-news contexts, et cetera. So it's difficult.                   25   and knowing where the police are, where protesters are. And
                                                                Lori A. Simpson, RMR-CRR
                                                                        651-848-1225
                                                                                                                          Page 13 to Page 16
                                                             EXHIBIT A
              CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 5 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                       July 28, 2021
                                                                   17                                                                           19
 1   you kind of have this, like, running commentary in your head             1   incidences where, you know, I got into trouble. And so at
 2   that if something were to happen, where would you run to,                2   around that time I kind of decided that it was just getting
 3   how would you get out of there. A lot of times, you know,                3   a little bit too dangerous to [audio distortion].
 4   you're just thinking, okay, exit, where's the exit. So                   4             THE COURT: I didn't hear the last thing you said.
 5   that's really important. And then also being able to kind                5   It got a little bit dangerous, and then you said something
 6   of muscle memory how to -- where you went into the place, so             6   else and that was not audible.
 7   that you can get out should you be tear-gassed, should you               7             THE WITNESS: Around that time it got a little bit
 8   be unable to see. So, yeah, you kind of have to just                     8   too dangerous to work there. And so a combination of those
 9   develop a skill to know how to get out of trouble if you get             9   factors led to me leaving the Middle East.
10   into it.                                                                10             THE COURT: Thank you.
11   Q. Do you make it a practice to avoid standing between the              11   BY MS. FOSTER:
12   protesters and police?                                                  12   Q. Did you continue to cover protest activity after you
13   A. Yes. That area is usually the most fraught place. So                 13   moved to New York City?
14   the best places are places off to the side, where you can               14   A. Yep, I did. When I moved there, Charlottesville
15   kind of, like, see what's going on and not get in the middle            15   happened, so there was a lot of protests related to that.
16   of things, that have a good exit and cover as well.                     16   There were protests related to, you know, the Trump
17   Q. How close to the protesters do you typically have to be              17   administration. So, yeah, there's a lot of different
18   to get good coverage?                                                   18   protests I've covered once I moved to the U.S.
19   A. It depends on what you're shooting. If you are shooting              19   Q. How concerned were you about becoming a law enforcement
20   photos, you tend to need to be a little bit closer, but                 20   target once you moved to the United States versus as
21   sometimes you kind of just think to yourself, like, when is             21   compared to the Middle East?
22   a safe time to get close to protesters to get the shots that            22   A. I wasn't concerned when I got there because, you know,
23   you need, when is a good time to back off. And it's the                 23   in the U.S. it felt like it wasn't the Middle East, where
24   same thing with, you know, police or security forces. You               24   there is, you know, the First Amendment and there's the
25   kind of just use your intuition to know what the mood is and            25   freedom of the press. And so I wasn't exactly concerned
                                                                   18                                                                           20
 1   what the situation is to see what's safe and what's not                  1   because it was the one place I actually felt that I could,
 2   safe.                                                                    2   like, very proudly declare that I was a journalist and just
 3   Q. Would it make it difficult for you to film what's                     3   do my job without fear of, you know, retribution, like I had
 4   happening if you were required to stand and remain in a                  4   experienced in a lot of places in the [audio distortion].
 5   particular spot?                                                         5             THE COURT: I didn't hear the last bit again.
 6   A. Yeah, it would be because protests by their nature are                6             THE WITNESS: Sorry. It was one of the places --
 7   very dynamic. Usually they have an element of people                     7   the U.S. is one of the places where I felt that I could
 8   marching. There's people coming from different places. So                8   operate pretty freely and film, you know, the police, cover
 9   you kind of need to move around a lot, both to have coverage             9   the police as long as I was, you know, not interfering with
10   and also for safety. Because if a designated place is not               10   their work. So I didn't feel unsafe at all.
11   safe anymore, it could become unsafe within a millisecond               11   BY MS. FOSTER:
12   and then you just have to adapt. So a lot of covering                   12   Q. Did you cover the May 2020 Minnesota protests following
13   protests is just -- it's very fluid.                                    13   the death of George Floyd?
14   Q. How long did you live in the Middle East, Mr. Ou?                    14   A. Yes.
15   A. I lived there until about 2017 or so. So about ten                   15   Q. Who was your employer at the time?
16   years.                                                                  16   A. I was a staff journalist with NBC News.
17   Q. And why did you leave the Middle East?                               17   Q. And what day did you arrive in Minnesota?
18   A. There isn't one particular reason, but it was just                   18   A. The 30th of May 2020.
19   getting very dangerous to work there. After the Arab                    19   Q. And do you recall the approximate time when you started
20   Spring, countries started becoming progressively more                   20   filming events after your arrival?
21   dangerous and hostile toward journalists, Cairo, for                    21   A. Yeah. I landed around 5:00 and we met -- we had a
22   example, when a lot of journalists were arrested. I was                 22   briefing with the team, the NBC News team there, and I
23   living in Turkey and I got kicked out of that country. And              23   started shooting at around 6:30, 7:00-ish.
24   a lot of my colleagues, you know, were being kidnapped in               24   Q. Were you aware, when you began filming, of a curfew in
25   Syria. Colleagues of mine have been killed. I had multiple              25   place?
                                                                Lori A. Simpson, RMR-CRR
                                                                        651-848-1225
                                                                                                                        Page 17 to Page 20
                                                               EXHIBIT A
              CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 6 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                  21                                                                         23
 1   A. Yes, I was aware of a curfew, but I --                               1   journalists, so I recognized a lot of colleagues who are
 2   Q. What was your understanding with respect to whether it               2   also friends, so we caught up with them. And then a lot of
 3   covered the media?                                                      3   people had, you know, cameras and were filming and they had
 4   A. Yeah, as I understood it, it didn't cover -- like, we                4   tripods and kind of journalistic equipment.
 5   were exempt, we, as the media, were exempt from that curfew.            5   Q. Did you see anyone there who was audibly claiming to be
 6   Q. Were you visibly identifiable as a member of the media               6   a reporter whom you know was not a reporter?
 7   while you were out there?                                               7   A. No.
 8   A. Yes. I was wearing --                                                8   Q. When you arrived, were any of the people participating
 9              MS. LANDRUM: Objection --                                    9   in the rally engaging in violent or threatening behavior?
10      (Simultaneous indiscernible crosstalk)                              10   A. No, they weren't.
11              THE COURT: Wait. You stop. We have an objection             11   Q. Was anyone from law enforcement in the area?
12   and so I need to hear the nature of the objection, please.             12   A. Yeah. There were state troopers kind of off to the
13              MS. LANDRUM: Objection, Your Honor, calls for               13   side, down the street from Nicollet, closer to 32nd Street,
14   speculation.                                                           14   kind of, like, at [audio distortion].
15              THE COURT: Overruled.                                       15               COURT REPORTER: I'm sorry. I didn't hear the
16   BY MS. FOSTER:                                                         16   last part he said.
17   Q. Mr. Ou, you may answer.                                             17   BY MS. FOSTER:
18   A. Sorry. What was the question again?                                 18   Q. Can you repeat that, please?
19   Q. Sorry. The question was whether you were visibly                    19   A. Yeah. There were, I think, Minnesota state troopers on
20   identifiable as a member of the media while you were out               20   the south side of Nicollet, like, towards, like, 32nd Street
21   there.                                                                 21   or so. They had been filing kind of in and out of the Fifth
22   A. Yes. I had cameras and a press badge with me that was               22   Precinct.
23   very -- which made me obviously a member of the press.                 23   Q. Was anyone throwing projectiles at the state troopers?
24   Q. Were you also wearing a lanyard with your press badge?              24   A. No.
25   A. Yeah, I had a lanyard with the NBC News logo that says,             25   Q. Did you see any fires burning?
                                                                  22                                                                         24
 1   "NBC News" on it and then a badge that also says, "NBC" and             1   A. No, I didn't.
 2   "Press" on it.                                                          2   Q. Did you see anyone looting?
 3   Q. Okay. And where in Minneapolis did you go?                           3   A. No.
 4   A. I went to the Fifth -- so the first place that we went               4   Q. How would you describe the mood of the crowd at that
 5   was the Fifth Precinct because we had heard that there was a            5   point when you were watching them rally?
 6   rally there. So that was the first place, the precinct. It              6   A. When I first got there, it was -- I guess the mood, I
 7   was the first place I covered, started shooting, but then we            7   would say, would be there was -- people were giving
 8   had like a briefing or meeting, I think on Lake Street,                 8   speeches, talking about kind of, like, their engagement with
 9   before that.                                                            9   race. So I would say it was actually kind of quite
10   Q. Okay. Can you describe the area when -- not the                     10   cathartic and the mood was quite high. It was a pretty calm
11   briefing, but when you started covering the rally, where               11   mood because people were mostly giving speeches and most
12   were you standing?                                                     12   people, except for the people who were speaking up on this
13   A. So the rally took place between 31st Street and, like,              13   mini podium thing, they were mostly sitting down and kind
14   this bus station that was, like, right next door and then              14   of, like, cheering on the people who were giving speeches.
15   Nicollet. So the protesters had set up like a temporary --             15   Q. Did the mood of the crowd change at some point?
16   not podium exactly, but there was, like, a mini stage-ish              16   A. Things turned a little bit tense. We all got a text
17   area where people were standing, and most people were                  17   message on our phone that [audio distortion].
18   sitting down. It was like a rally that was, like, right on             18   Q. We lost sound, and I'm not sure why. But can you start
19   31st and Nicollet and people were giving speeches and had              19   over again?
20   been occupying kind of that space, you know, giving speeches           20   A. Things turned a little tense when we all got this, like,
21   and listening to -- they were chanting and stuff like that.            21   push alert on our phones that said that there is a curfew
22   Q. Were there any other reporters present?                             22   coming up. And so everyone took time to look at their
23   A. Yes, there were many, many reporters.                               23   phones, and that was kind of like a signal that -- you know,
24   Q. And how did you know that they were reporters?                      24   the mood went from calm and I wouldn't use the word
25   A. Well, so, first off, it's a really small world of                   25   celebratory, but it went to, like, what's going to happen.
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                         Page 21 to Page 24
                                                            EXHIBIT A
             CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 7 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                               July 28, 2021
                                                                 25                                                                        27
 1   It got tense.                                                       1               MS. FOSTER: I will continue to do that if it is
 2   Q. And what did the state troopers do at that point?                2   helpful.
 3   A. So at that point they had started to form a line around          3               THE COURT: Would you please do that. It will
 4   32nd Street and Nicollet, so Nicollet and 32nd Street. Most         4   make for a clear record.
 5   of the protesters were kind of still on 31st kind of near           5               MS. FOSTER: Absolutely.
 6   the bus station where they were rallying. And so the                6   BY MS. FOSTER:
 7   cops -- sorry, the State Patrol were gathering and forming a        7   Q. At this point was the -- oh, so we were talking about
 8   line.                                                               8   the announcement that we heard on the video of the curfew.
 9   Q. Mr. Ou, did you have an opportunity to film this portion         9   Again, it was your understanding that the curfew did not
10   of the events that we've been talking about?                       10   apply to journalists; is that what you testified to earlier?
11   A. Yes.                                                            11   A. Yes, we didn't think it applied to us.
12   Q. And have you had an opportunity prior to this hearing to        12   Q. At this point in time was the crowd getting more
13   review the video that was previously marked as Plaintiffs'         13   agitated?
14   Exhibit 14?                                                        14   A. There were a few protesters that you saw on the video
15   A. Yes.                                                            15   that were saying things at the State Patrol. They were
16   Q. Is Plaintiffs' Exhibit 14 a copy of the video that you          16   giving them the finger. You know, there were a few people
17   took that night?                                                   17   who were saying not-so-nice things [audio distortion].
18   A. Yes.                                                            18   Q. Aside from --
19             MS. FOSTER: Your Honor, I would like to offer            19               THE COURT: I didn't hear the last thing you said,
20   Plaintiffs' Exhibit 14.                                            20   sir. Would you say -- "there were a few people that," and
21             THE COURT: Any objection to the admission of             21   then you trailed off.
22   Exhibit 14?                                                        22               THE WITNESS: That were saying not-so-nice things
23             MS. LANDRUM: No, Your Honor.                             23   to the State Patrol --
24             THE COURT: Exhibit 14 is admitted in evidence.           24               THE COURT: Thank you.
25             MS. FOSTER: Now I would like to publish a portion        25               THE WITNESS: -- profanities.
                                                                 26                                                                        28
 1   of that video, if you would, Leslie?                                1   BY MS. FOSTER:
 2             THE COURT: You may. Let's verify that our                 2   Q. Aside from those profanities, were any of the protesters
 3   witness also can see that portion or the video as you are           3   looting or behaving violently at that point?
 4   playing it.                                                         4   A. No.
 5             MS. FOSTER: Can you see the video?                        5   Q. What did the State Patrol do after announcing the
 6             THE WITNESS: Yes, I can see the video.                    6   curfew?
 7             THE COURT: Very well. Thank you.                          7   A. So it was pretty quick. We had -- all us journalists
 8      (Video recording played)                                         8   kind of went off to the side, to the right of where you saw,
 9   BY MS. FOSTER:                                                      9   and pretty immediately they started to attack us and launch
10   Q. At this point, Mr. Ou, did you hear the announcement            10   concussion grenades at us pretty quickly. And so that
11   that was being made by the troopers?                               11   escalated and -- yeah, so we were attacked.
12   A. Yes.                                                            12   Q. So you said you moved off to the side. And who were you
13   Q. Were they announcing a curfew?                                  13   standing with when you moved off to the side?
14   A. Yeah. They were telling the crowd to disperse, as I             14   A. I was standing with a group of journalists and my
15   understood it.                                                     15   colleagues, and so we were -- we kind of, like -- at that
16   Q. And --                                                          16   moment, you know, like, because, you know, we felt it was
17             THE COURT: Ms. Foster, is there a way for you to         17   kind of -- like, we just gravitated and stayed into a group
18   identify where on the video you have stopped the video just        18   so that we could be easily, like, discerned from the
19   so we have --                                                      19   protesters. So there was like an alcove that also gave us,
20             MS. FOSTER: I believe we stopped --                      20   you know, cover and so we kind of just, like, went off to
21             THE COURT: -- a clear record?                            21   the side.
22             MS. FOSTER: -- at 59 seconds, 58 or 59 seconds.          22   Q. At least initially did you feel safe in that alcove?
23             THE COURT: Thank you.                                    23   A. I did, actually, because when I was talking about, like,
24             MS. FOSTER: 58 seconds.                                  24   where our egress is and what our cover is, these alcoves
25             THE COURT: You may proceed.                              25   actually provided us a really good cover so that we had like
                                                           Lori A. Simpson, RMR-CRR
                                                                   651-848-1225
                                                                                                                   Page 25 to Page 28
                                                         EXHIBIT A
             CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 8 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                               July 28, 2021
                                                                 29                                                                      31
 1   a solid wall in front of us kind of, like, blocking us so             1      (Video recording played)
 2   that should there be any projectiles, we had a place to               2   BY MS. FOSTER:
 3   duck.                                                                 3   Q. Mr. Ou, at the very end of that segment we saw a bright
 4   Q. Were there any protesters standing in the alcove with              4   flash and we heard some screaming. Is that the point at
 5   you?                                                                  5   which the projectile hit you?
 6   A. No.                                                                6   A. Yes.
 7   Q. And you mentioned being attacked. Can you describe for             7             THE COURT: Counsel, is it possible to identify
 8   me what happened to you.                                              8   where on the recording we are -- you stopped the display
 9   A. It happened really quickly. They were -- we were                   9   just so that it's clear in the record what you are referring
10   shooting and then all of a sudden something started being            10   to?
11   launched at us and a projectile of some sort exploded in             11             MS. FOSTER: Yes. A minute 34.
12   front of my face, and that disoriented us because I think it         12             THE COURT: Perfect. Thank you.
13   was a concussion grenade.                                            13   BY MS. FOSTER:
14               And so as I was trying to get my bearings, the           14   Q. Could you tell who threw it?
15   State Patrol, the state troopers came up to us pretty                15   A. It came from the state troopers.
16   quickly and I was pepper-sprayed in the face. And then they          16   Q. Do you know what that object was that hit you?
17   kept on throwing concussion grenades at our feet, so they            17   A. I'm not an expert on this, but I think it was a
18   kept on exploding. And so as I was pepper-sprayed, I                 18   concussion grenade that exploded that was launched.
19   couldn't see.                                                        19   Q. Did it hurt?
20               I figured that they would -- we were in these            20   A. It happened pretty quickly, so it was disorienting.
21   alcoves, so that they would just pass us so that they                21   Yeah, it -- pain, I guess, at that moment doesn't really
22   could -- you know, if they were trying to disperse the               22   register to --
23   crowd, they would just pass us. But then they kept on --             23   Q. Okay. Did it cause you any injuries?
24   they targeted us and they kept corralling us into the place          24   A. Yeah. It hit my forehead right here (indicating). In
25   where the protesters were, and we were -- it was -- it               25   fact, you can still see a scar from it.
                                                                 30                                                                      32
 1   happened really quickly and it was quite confusing because I          1   Q. At this time I would like to direct your attention to a
 2   thought that they were just trying to move past us, but over          2   photograph that I showed you before the hearing. It was
 3   time it was pretty clear that we were being targeted and,             3   previously marked as Plaintiffs' Exhibit 10. Did you
 4   yeah, they were actively -- they were trying to disperse us           4   recognize that photo?
 5   and they were trying to get us into -- kind of, like, mix us          5   A. That's a question for me?
 6   in with the protesters.                                               6   Q. Yes.
 7               MS. FOSTER: So at this point in time I would like         7             MS. ANDERSON: I just got kicked out of Zoom, so I
 8   to play another portion of the video, starting at -- where            8   might need just a minute.
 9   we left off and going through a minute, approximately a               9             MS. FOSTER: All right. We are having more
10   minute and 34 seconds.                                               10   technical issues with the wifi. It's booting us out
11               THE COURT: Thank you, Counsel. You may.                  11   periodically.
12      (Pause)                                                           12   BY MS. FOSTER:
13               MS. FOSTER: We are trying to get the technology          13   Q. We can talk about Plaintiffs' Exhibit 10 while she's
14   worked out. Sorry.                                                   14   getting back booted up. Did you recognize that photograph?
15      (Pause)                                                           15   I think you said yes?
16               MS. FOSTER: I apologize, Your Honor.                     16   A. Yeah, [audio distortion].
17               THE COURT: That's quite all right.                       17   Q. What is that --
18      (Pause)                                                           18             COURT REPORTER: I didn't hear that answer.
19               MS. FOSTER: She's having trouble with sharing the        19             THE COURT: Let's stop right here. Let me just
20   screen. She said she got booted out.                                 20   ask you to stop right here. I'll ask -- we are off the
21               THE COURT: Let's pause. We can go off the record 21           record now.
22   for this.                                                            22      (Discussion off the record)
23      (Discussion off the record)                                       23   BY MS. FOSTER:
24               MS. FOSTER: Thank you, Judge.                            24   Q. Are you familiar with Plaintiffs' Exhibit 10?
25               THE COURT: You're welcome. We'll move forward.           25   A. Yeah. I am looking at it right now.
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                    Page 29 to Page 32
                                                          EXHIBIT A
             CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 9 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                  July 28, 2021
                                                                  33                                                                         35
 1   Q. Okay. You have -- I sent you a copy of it before the                 1   does this show?
 2   hearing so you would have that in front of you. What is                 2   A. This is me after I was attacked by the police.
 3   that a --                                                               3   Q. And what is -- why is your face red in this picture?
 4               THE COURT: Let me just stop here. I want to make            4   A. It's a combination of blood and pepper spray.
 5   sure, Ms. Landrum, that you have access to the exhibit that             5   Q. And was this caused by the -- was the blood caused by
 6   is being referred to and that you are able to follow along              6   the projectile that hit you?
 7   with the examination that's being made as to exhibits. So               7   A. Yes, I think so, and amongst other things.
 8   are you able to do so?                                                  8   Q. Okay. And you mentioned being pepper-sprayed. Who
 9               MS. LANDRUM: Yes, Your Honor. I have paper                  9   pepper-sprayed you?
10   copies of all the exhibits, except for videos, right in                10   A. The Minnesota State Patrol.
11   front of me.                                                           11   Q. What kind of uniform was the individual who
12               THE COURT: Okay. So for purposes of this                   12   pepper-sprayed you wearing; do you recall?
13   hearing, we will be a little disorderly and that is to say             13   A. A person wearing riot gear, like a -- one of those,
14   that if at any time you are having difficulty seeing any               14   like, state trooper things and black armor thing and then a
15   exhibit that's being addressed, Counsel, please let me know            15   big helmet.
16   that and we will make sure that we remedy that problem using           16   Q. Okay. And so you said a state trooper thing. Was there
17   whatever ingenuity we can muster to do so. Okay?                       17   a state trooper label on the uniform?
18               MS. FOSTER: Thank you, Your Honor.                         18   A. I think so, yeah.
19               THE COURT: Thank you.                                      19   Q. Okay. How far away was he standing from you when he
20               MS. FOSTER: Thank you.                                     20   sprayed you?
21               THE COURT: You may proceed.                                21   A. They were like a foot away from me, like, right next --
22   BY MS. FOSTER:                                                         22   right in front of me.
23   Q. Mr. Ou, could you please describe what Plaintiffs'                  23   Q. Were you standing next to any protesters at that time?
24   Exhibit 10 is.                                                         24   A. No.
25   A. That's a photo of me after I was hit in the face and --             25             MS. FOSTER: Okay. At this point in time I would
                                                                  34                                                                         36
 1   it's me after what happened.                                            1   like to play the next segment of the video, starting at a
 2   Q. On May 30th at the protest after you were hit with the               2   minute 34.
 3   projectile; is that what you mean?                                      3      (Pause)
 4   A. Yeah, and after I was pepper-sprayed in the face as                  4             MS. FOSTER: It appears we don't have audio.
 5   well.                                                                   5      (Video recording played)
 6   Q. Okay.                                                                6             THE COURT: Please make a record where the video
 7               MS. FOSTER: At this time I would like to offer              7   has stopped if you are going to question about what we have
 8   Plaintiffs' Exhibit 10 and I would like to publish it.                  8   seen so far.
 9               MS. LANDRUM: No objection, Your Honor.                      9             MS. FOSTER: I believe we stopped at 2 minutes and
10               THE COURT: Okay. Exhibit 10 is received in                 10   13 seconds.
11   evidence and you may publish.                                          11             THE COURT: Thank you.
12      (Pause)                                                             12   BY MS. FOSTER:
13               THE COURT: Let's take a brief recess now. We               13   Q. Was it obvious that you were a journalist when this
14   will go off the record. We can keep all of our video and               14   happened?
15   audio up so that we are all hearing and speaking to each               15   A. Yes.
16   other and we can make sure that we know what we need to do 16               Q. Were you still carrying professional camera equipment?
17   in order to display exhibits. Okay?                                    17   A. Yeah, I had a camera and then my press credentials.
18               MS. FOSTER: Thank you. I apologize for this,               18             MS. LANDRUM: Objection, Your Honor. This
19   Judge.                                                                 19   testimony calls for speculation, has a lack of foundation.
20               THE COURT: Please don't apologize.                         20   He can't testify as to what other people's perception of him
21       (Discussion off the record)                                        21   was.
22               THE COURT: We are ready to proceed. We are back            22             THE COURT: Sustained. You may restate the
23   on the record now.                                                     23   question in a manner in which you elicit the information you
24   BY MS. FOSTER:                                                         24   need.
25   Q. Mr. Ou, we are looking at Plaintiffs' Exhibit 10. What              25   BY MS. FOSTER:
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                     Page 33 to Page 36
                                                              EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 10 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                    July 28, 2021
                                                                   37                                                                           39
 1   Q. Mr. Ou, what were you carrying with you at this time?              1   perception.
 2   A. I was carrying a camera with a microphone and stuff, so            2                THE COURT: Overruled.
 3   it's what I use to shoot with. I had a backpack. I had a              3   BY MS. FOSTER:
 4   credential, like a press lanyard that said, "NBC News" with           4   Q. Was that your perception, that you were being targeted?
 5   the pretty iconic logo of the peacock, and then a badge that          5   A. Yes.
 6   said, "Press" on it.                                                  6   Q. What were you sprayed with? Do you know what the
 7   Q. Are you familiar with Plaintiffs' Exhibit 12, which I              7   substance was?
 8   sent to you before the hearing? Did you have an opportunity           8   A. It was pepper spray, I think, or Mace or --
 9   to review that?                                                       9   Q. What was the consistency of the spray?
10   A. Yeah. 12, yes.                                                    10   A. It was like a liquid that once it got on you, it started
11   Q. And do you recognize that photograph?                             11   to -- it made me -- it really hurt and it kind of blinded
12   A. Yes. That's me.                                                   12   me.
13   Q. Who's the person in that photograph?                              13   Q. What does tear gas -- have you been tear-gassed before
14   A. That's me.                                                        14   in your --
15   Q. Was this taken during the Floyd protests on May 30,               15   A. Many --
16   2020?                                                                16      (Simultaneous indiscernible crosstalk)
17   A. Yes.                                                              17   Q. -- covering protests?
18             MS. FOSTER: Your Honor, at this time I would like          18                COURT REPORTER: I didn't hear that answer.
19   to offer Plaintiffs' Exhibit 12.                                     19                THE COURT: And please keep your voice up. We are
20             MS. LANDRUM: No objection, Your Honor.                     20   having trouble hearing you. Okay?
21             THE COURT: Exhibit 12 is received, Plaintiffs'             21                THE WITNESS: I have been tear-gassed
22   Exhibit 12.                                                          22   [audio distortion].
23   BY MS. FOSTER:                                                       23                COURT REPORTER: I didn't hear that either.
24   Q. As you can see in the picture, there's, it looks like, a          24   BY MS. FOSTER:
25   lanyard that you are wearing on the outside of your clothes.         25   Q. You have been tear-gassed before?
                                                                   38                                                                           40
 1   Was that an NBC -- the NBC press lanyard that you were just           1   A. Yes.
 2   referring to with the peacock logo?                                   2   Q. How did this differ from tear gas?
 3   A. Yes.                                                               3   A. Tear gas, once you are in the region, it starts to burn,
 4   Q. What were you wearing on your head?                                4   but the moment you leave the region, the area that's
 5   A. These are headphones.                                              5   being -- that there's the puff of smoke, you're kind of --
 6   Q. Is that part of the professional gear that you normally            6   it takes a second to recover, but then you're fine.
 7   carry?                                                                7                With this pepper spray, it sticks on you so it --
 8   A. Yes.                                                               8   there's nowhere to go and it just stays on you. In fact, it
 9   Q. And were you standing with other reporters at that time?           9   stayed on me for weeks and weeks after this happened.
10   A. Yes, reporters, video journalists.                                10   Q. So what happened after that? Did you get hit with
11   Q. When you were pepper-sprayed, were you or any of the              11   anything else?
12   journalists you were standing with, were you doing anything          12   A. It's hard to say, but we -- I was blind at this point.
13   to provoke the troopers?                                             13   So we were pushed and shoved a bunch of places as we
14   A. No. We were filming.                                              14   were trying to leave. So I was hit multiple times with
15   Q. Were you throwing anything at them?                               15   [audio distortion].
16   A. No.                                                               16                COURT REPORTER: I'm sorry. I couldn't hear. I
17   Q. Did the trooper who sprayed you warn you before he did            17   think what is happening is when he moves a lot, we lose the
18   it?                                                                  18   audio.
19   A. No.                                                               19                MS. FOSTER: Yeah, so if you could avoid moving
20   Q. Did he appear to be intentionally targeting you? Was              20   back and forth. Sorry.
21   that your perception?                                                21                THE WITNESS: So, yeah, I was blind at this point,
22   A. Yes.                                                              22   so I don't know exactly what hit me. But I was shoved
23             MS. LANDRUM: Objection, Your Honor, again, lack            23   around. At some point in time I also hit a wall. I don't
24   of personal knowledge and speculation.                               24   know if I was being -- I was running into other people or if
25             MS. FOSTER: Your Honor, I'm asking about his               25   I was being hit from behind by other people or people were
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                       Page 37 to Page 40
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 11 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                           July 28, 2021
                                                                     41                                                                            43
 1   bumping into me. I don't know because I was blind at that                  1   another segment of the video, starting at where we left
 2   moment.                                                                    2   off --
 3   BY MS. FOSTER:                                                             3              THE COURT: You may.
 4   Q. Why were you blind?                                                     4              MS. FOSTER: -- and going through 3 minutes and
 5   A. Because I was pepper-sprayed in the face, and there was                 5   46 seconds, approximately.
 6   also blood streaming down. So I don't know what -- it was a                6      (Video recording played)
 7   combination of [audio distortion].                                         7              THE COURT: Let's stop here. You've made the
 8               COURT REPORTER: A combination of? I didn't hear.               8   record clear you have been -- the video played from 2:13 to
 9   BY MS. FOSTER:                                                             9   what is the stopping point?
10   Q. You didn't finish the sentence. It's a combination of                  10              MS. FOSTER: 3:46.
11   what?                                                                     11              THE COURT: 3:46. Thank you, Counsel.
12   A. It was a combination of both pepper spray and then                     12   BY MS. FOSTER:
13   blood, which I didn't know at that time what it was, but I                13   Q. Mr. Ou, towards the end of that video there were people
14   couldn't see.                                                             14   climbing over a wall, it appeared. Do you know who those
15   Q. Okay. Did you leave the alcove that you were standing                  15   people were?
16   in after you got pepper-sprayed?                                          16   A. Yes. So the first batch of people who were passing the
17   A. Yes. We were pushed away from that alcove. I thought                   17   microphone, I think that was a TV crew. And then the second
18   that in that alcove the state troopers would pass us, but                 18   person who was shoved over the wall is a colleague and
19   they did not.                                                             19   friend of mine. His name is Mike Shum.
20   Q. Where did you go?                                                      20   Q. You said he was shoved over the wall. Did you see who
21   A. We were corralled down Nicollet Street towards 31st.                   21   was shoving him?
22   So, yeah, we kept on trying to stay in the alcove to get out              22   A. It was the state troopers who did that.
23   of the way of the state troopers, but then they specifically              23   Q. Did you climb over the wall?
24   kept on pushing us forward into where the rally was                       24   A. I tried to at first, but I couldn't see and it was a
25   happening. I was trying to just leave, but I couldn't see,                25   pretty high wall, so I -- like, I couldn't see, so it just
                                                                     42                                                                            44
 1   so I got, like, corralled into kind of, like -- in the bus                 1   felt a little bit dangerous. So I was very disoriented at
 2   station there was like a fenced-off area, which I think is                 2   that time. But I had thought about this, but I had a
 3   where the power generator or something was, and so we got                  3   backpack and all my camera gear and I couldn't see and I was
 4   trapped inside like a fenced-off area.                                     4   bleeding, so it felt really -- it just -- I tried to, but it
 5   Q. When you say "we," who do you mean other than yourself?                 5   seemed a little difficult.
 6   A. Myself and the journalists I was with.                                  6   Q. You said you were having trouble breathing. Why were
 7   Q. So it was a whole group of journalists that went to this                7   you having trouble breathing?
 8   area?                                                                      8   A. Because I was pepper-sprayed in the face.
 9   A. Yes.                                                                    9   Q. Okay. Are you familiar with Plaintiffs' Exhibit 9,
10   Q. Did the protesters come with you or were you segregated                10   which I sent to you prior to this hearing?
11   from the protesters?                                                      11   A. Let me just take a look. Yes.
12   A. I didn't see protesters. I was mostly -- we were in a                  12   Q. Do you recognize that photograph?
13   pretty packed group of journalists. So, as I recall, it was               13   A. Yes.
14   mostly journalists I was with.                                            14   Q. What is that a photograph of?
15   Q. Were you safe there?                                                   15   A. That was an N95 mask I was wearing at that moment.
16   A. No, I wasn't because we were trapped. And then the                     16   Q. And was this taken during the Floyd protests on
17   state troopers came and they kept on throwing concussion                  17   May 30th?
18   grenades at us, telling us to leave, but there was nowhere                18   A. It was taken after, when I got back to the hotel room
19   for us to go. So, no, I was not safe there. We would have                 19   where I was staying.
20   been safe if we weren't [audio distortion].                               20              MS. FOSTER: Your Honor, I would like to offer
21               THE COURT: I didn't hear you. You said we would               21   Plaintiffs' Exhibit 9.
22   have been safe if what?                                                   22              MS. LANDRUM: No objections.
23               THE WITNESS: If we weren't targeted by the state              23              THE COURT: Exhibit 9 is received in evidence.
24   troopers.                                                                 24   BY MS. FOSTER:
25               MS. FOSTER: At this point I would like to play                25   Q. So what appears to be covering your mask in this photo?
                                                                  Lori A. Simpson, RMR-CRR
                                                                          651-848-1225
                                                                                                                            Page 41 to Page 44
                                                             EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 12 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                            July 28, 2021
                                                                  45                                                                              47
 1   A. I think it's a combination of blood and also pepper                  1   on fire and then something hurt.
 2   spray or Mace.                                                          2   Q. Did you go anywhere?
 3   Q. Did that make it difficult for you to breathe, the fact              3   A. I tried to get help. And I was really disoriented, so I
 4   that your mask was covered in substances?                               4   was just trying to get out of that situation and find some
 5   A. Yeah.                                                                5   help.
 6   Q. Did any of the troopers approach you while you were                  6   Q. Who did you ask for help from?
 7   trapped against the wall in that area?                                  7   A. The law enforcement officers. There were state troopers
 8   A. Yeah. One person, I think, threw a concussion grenade                8   that were filing through and then, I think, Minneapolis
 9   at us and grabbed me, I think, as I remember, and I was kind            9   Police were kind of passing me.
10   of, like, handled. But, yeah, I -- but it was hard for me              10   Q. Did anyone help you?
11   to see, so I think that's what happened.                               11   A. No.
12   Q. Did they say anything?                                              12   Q. Were you still recording while all of this was
13   A. They -- I remember they said, like, "What do you want me            13   happening?
14   to do with this person?" I thought that they were going to             14   A. As you saw in the video, around like a minute before, I
15   arrest me. And at that point I just wanted anything to get             15   was trying to. So when I got into the alcove, I was kind
16   out of that situation. If they arrested me, so be it. I                16   of, like, still trying to film a little bit, but then I
17   just wanted to get out of the alcove because there was                 17   couldn't see. So I was, like, half trying to do my job,
18   nowhere else to go.                                                    18   thinking at that alcove that I was then finally safe, and
19   Q. Did they arrest you?                                                19   then the state troopers came and started throwing grenades
20   A. No.                                                                 20   at us again and so then I went into survival mode again. So
21              MS. FOSTER: I would like to play the video,                 21   I tried to report, but I couldn't.
22   another segment, starting at where we left off.                        22              MS. FOSTER: I would like to play another segment
23      (Video recording played)                                            23   of the video, starting at 3:51.
24              MS. FOSTER: I don't know if you heard that.                 24      (Video recording played)
25   Should we -- can we replay that?                                       25              MS. FOSTER: So, for the record, we have stopped
                                                                  46                                                                              48
 1              THE COURT: And let's identify what portion of the            1   at 5 minutes and 15 seconds in Plaintiffs' Exhibit 14.
 2   video that is. Is it 3:50?                                              2   BY MS. FOSTER:
 3              MS. FOSTER: It's 3:51 -- so 3:46 to 3:51.                    3   Q. Who ultimately helped you at the end of that video,
 4              THE COURT: Thank you.                                        4   Mr. Ou?
 5              MS. FOSTER: Very brief segment.                              5   A. A colleague of mine and a friend. His name is Peter van
 6      (Video recording played)                                             6   Agtmael.
 7   BY MS. FOSTER:                                                          7   Q. Where did he take you?
 8   Q. So is he talking about maybe handcuffing you?                        8   A. He took me to the corner of 32nd, so down Nicollet, and
 9   A. Yeah. They said, "What do you want me to do with this?"              9   he kind of gave me first -- to the -- I guess the -- not the
10   The "this" was me.                                                     10   corner. So he started helping me there, and then we had to
11   Q. Okay.                                                               11   run again because I think they started -- so he was trying
12   A. I'm the "this."                                                     12   to give me first aid, and some other civilians or bystanders
13   Q. Was it obvious that you were injured at that point?                 13   showed up and someone gave me water and someone gave me a
14   A. Yes, I --                                                           14   T-shirt and gauze and stuff. And so we were there for a
15   Q. I'm sorry. Was it your perception that it was obvious               15   second and then we had to move again because there was
16   that you were injured at that point?                                   16   cops or there was explosions or concussion grenades and
17   A. I was bleeding in my face, so, yeah, I was injured.                 17   [audio distortion].
18   Q. Did the troopers offer to help you?                                 18   Q. You faded out again. I'm sorry. Could you repeat the
19   A. No.                                                                 19   end of that? You said you had to leave again because?
20   Q. What did you do when they left?                                     20   A. Because we were -- I guess we were targeted again by
21   A. I was asking for help.                                              21   concussion grenades. So everyone ran closer down
22   Q. Were you still bleeding as you were asking for help?                22   32nd Street and we got cover by the bus depot, like, just
23   A. Yeah. I also couldn't see and I was in considerable                 23   half a block down.
24   pain, but it was -- I didn't know where -- this happened               24   Q. Eventually were you able to get medical treatment?
25   very quickly. So mostly I couldn't see and then my face was            25   A. Yeah. I reconnected with the colleagues I was with, my
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                            Page 45 to Page 48
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 13 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                 July 28, 2021
                                                                 49                                                                          51
 1   reporting partner, and they patched me up or they put gauze           1   was a combination of working and then talking to, you know,
 2   on my face, but then I kept on bleeding and eventually I had          2   my girlfriend, my partner, and then also cleaning my face.
 3   to go to the hospital.                                                3             And then I talked to my editors when they woke up
 4   Q. How long were you at the hospital?                                 4   and told them -- we kind of had a debriefing of what
 5   A. Around four hours or so.                                           5   happened. They asked me if I wanted to stay there, and I
 6   Q. What did the doctors do to treat your injuries?                    6   did. And so we made a plan with Dani, the reporter I was
 7   A. They stitched my -- they gave me four stitches, and then           7   with, to go back out and keep working.
 8   I got a tetanus shot and a bunch of tests. I forget what.             8   Q. And where did you go back out?
 9   But they gave me tests and then they stitched me up.                  9   A. In the morning we went by 30th and Chicago to just see
10   Q. Was it painful?                                                   10   what was happening there. I found -- I had met some
11   A. It was pretty painful, yes.                                       11   characters, some people the night before, who I called and
12   Q. You said it took several hours. Did you get a                     12   we filmed them at home.
13   diagnosis?                                                           13             And then there was a protest in the evening near a
14   A. It was pretty clear what had happened. So it was trauma           14   highway, like on a highway, which I don't remember the name
15   to my face.                                                          15   of the highway because I'm not from Minneapolis, but. So
16   Q. Okay.                                                             16   there was a protest there and that's what -- that was our
17   A. But then the other thing, too, is I had pepper spray              17   day. We were going to protests.
18   still kind of, like, dripping down all over my body, so that         18   Q. And where were you when you were covering the
19   was -- it was a combination of many things.                          19   protests -- that protest that was on the highway, where were
20   Q. Were you able to continue your coverage of the events             20   you standing?
21   that night?                                                          21   A. We originally went down to kind of, like, this exit
22   A. Not that night. Actually, our editors pulled out a lot            22   ramp, but there was a lot of state troopers and I was pretty
23   of the teams working and we were all told to go back to our          23   shaken, so we kind of pulled back. And then I was filming
24   hotels.                                                              24   from like an overpass looking down at things. But we kind
25   Q. Why did they do that? What was the reason you were                25   of kept our distance.
                                                                 50                                                                          52
 1   given?                                                                1   Q. Why did you keep your distance?
 2   A. After -- I had not known this, but other people from NBC           2   A. I was scared. I didn't know how to act around the
 3   News were attacked that night by law enforcement and so they          3   police or just law enforcement in general because what
 4   deemed it was too dangerous for us to stay out.                       4   happened the night before really caught, I think, a lot of
 5              MS. LANDRUM: Objection, Your Honor, hearsay.               5   us -- well, it caught me off guard and I just didn't know
 6   That testimony was based off of hearsay, about the other              6   how they would react to us because they targeted us pretty
 7   attacks.                                                              7   deliberately the night before and I just wasn't sure, like,
 8              THE COURT: Counsel?                                        8   what -- whether they would attack us again.
 9              MS. FOSTER: He's explaining what his                       9   Q. So did having been attacked and targeted the night
10   understanding of the events was and the reason for the               10   before affect where you decided to cover the events the
11   reporters being taken off the street.                                11   following night?
12              MS. LANDRUM: With that understanding, Your Honor, 12                     MS. LANDRUM: Your Honor --
13   it's based off hearsay alone versus his personal knowledge.          13             THE WITNESS: Yes.
14              THE COURT: Sustained.                                     14             MS. LANDRUM: -- the defendants object to this
15              MS. LANDRUM: Thank you, Your Honor.                       15   line of questioning with regard to the [inaudible].
16   BY MS. FOSTER:                                                       16             COURT REPORTER: Excuse me. Is your microphone
17   Q. What happened the next day, Mr. Ou?                               17   on? I am having trouble hearing you.
18   A. So the next day being -- so this happened at 8:00 on the          18             MS. LANDRUM: Oh. My apologies, Your Honor.
19   30th, and the next day was -- if you are asking what                 19             THE COURT: And if you would like, you may remain
20   happened, like, at midnight, I was in the hospital and I was         20   seated, because it might be the best way for us to hear you.
21   there until around, I think, in the early morning and then           21   And the Court knows you respect the Court. Thank you.
22   we went to the hotel because we hadn't checked in yet.               22             MS. LANDRUM: Thank you, Your Honor. We are
23              And so I checked into the hotel with a bloody face        23   objecting to this line of testimony, the questions and the
24   and I -- it took another few hours to just clean my face,            24   answers, with regard to the phrase "intentional and
25   and so I started to file all my footage that night. So it            25   deliberate targeting." There's a lack of personal knowledge
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                    Page 49 to Page 52
                                                           EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 14 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                July 28, 2021
                                                                53                                                                          55
 1   and speculation as to the state of mind of any                        1   Q. Why did you choose --
 2   individuals -- of anyone other than Mr. Ou. So we would               2             THE COURT: Let's let him finish --
 3   object on those bases.                                                3             MS. FOSTER: I'm sorry.
 4              MS. FOSTER: Your Honor, this line of questioning           4             THE COURT: -- his response.
 5   goes to Mr. Ou's state of mind and to his perception that he          5             MS. FOSTER: I thought he was done.
 6   was being attacked and targeted. It's totally proper.                 6             THE COURT: You may finish your response.
 7              MS. LANDRUM: Your Honor, if I may, the phrase              7             THE WITNESS: Yes. So I was inside of an
 8   "deliberate and intentional," those are phrases that are              8   apartment block filming from someone's house.
 9   going at the state of mind of other actors who are not                9   BY MS. FOSTER:
10   Mr. Ou.                                                              10   Q. Why did you choose that location?
11              THE COURT: I will overrule the objection. My              11   A. It felt safer because, you know, it was -- it was
12   hearing of the witness was his rationale and his                     12   difficult covering Minneapolis because, again, law
13   understanding and his reasons for his actions. So the Court          13   enforcement was really unpredictable, and that was
14   is receiving that evidence in that manner.                           14   consistent. And I just really didn't want to get targeted,
15              MS. LANDRUM: Thank you, Your Honor.                       15   so I decided to be somewhere safer.
16   BY MS. FOSTER:                                                       16   Q. Was there a curfew in place that night?
17   Q. So you were -- were you concerned about getting                   17   A. Yes.
18   assaulted again?                                                     18   Q. What was your understanding -- and what was your
19   A. Yes. I was scared.                                                19   understanding of how the curfew applied to journalists?
20   Q. Has that had a lasting impact on your ability to do your          20   A. As I understood it, the curfew did not apply to
21   job as a journalist?                                                 21   journalists.
22   A. Yeah, it has, even now.                                           22   Q. Did you witness any dispersal orders being issued by law
23   Q. Did you return to Minneapolis in April 2021?                      23   enforcement that night?
24   A. Yes.                                                              24   A. Yes.
25   Q. And why did you return to Minneapolis at that time?               25   Q. Did you capture that on video?
                                                                54                                                                          56
 1   A. I was assigned to cover the Chauvin verdict. It was --             1   A. Yes.
 2   at that time we were expecting that there would be a verdict          2   Q. Have you had an opportunity to review the video, prior
 3   in the trial. So around that same time there was another              3   to this hearing, that was marked as Plaintiffs' Exhibit 8?
 4   incident in Brooklyn Center and so there were protests                4   A. Yes.
 5   related to Daunte Wright. And so around that same time that           5   Q. And is Plaintiffs' Exhibit 8 a copy of the video that
 6   I was going to cover the Chauvin verdict, that happened, so           6   you took that night?
 7   we went.                                                              7   A. Yes.
 8   Q. Where did you go in Brooklyn Center?                               8             MS. FOSTER: Your Honor, I would like to offer
 9   A. I went to the police department, where protests were               9   Plaintiffs' Exhibit 8.
10   happening.                                                           10             MS. LANDRUM: No objections, Your Honor, subject
11   Q. And what kind of story did you cover there?                       11   to there are some statements from a witness in the video
12   A. I did a combination of news, but I stayed back a bit.             12   that would be hearsay, but the video itself and what it's
13   So I did a story where I covered -- I was inside an                  13   capturing we have no objection to.
14   apartment building that overlooked where the protests were           14             THE COURT: Exhibit 8 is received.
15   happening and so I was with a family watching them kind of,          15      (Video recording played)
16   like, witness what was happening from their balcony because          16   BY MS. FOSTER:
17   their house/balcony looked over, right over, the police              17   Q. What was the announcement that we just heard saying --
18   station.                                                             18   about the media?
19   Q. Did that story get published?                                     19   A. They told the media to disperse.
20   A. It was published in The New York Times.                           20   Q. Is it common for law enforcement to issue multiple
21   Q. Where were you physically located when you were covering 21            dispersal orders before they move forward with a mass arrest
22   that story?                                                          22   after giving an order like that?
23   A. At the beginning I was kind of covering a march down on           23             MS. LANDRUM: Objection --
24   the ground, but as things became a bit more tense, I went            24             THE WITNESS: I think --
25   inside and stayed inside this apartment block --                     25             MS. LANDRUM: -- no foundation.
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                    Page 53 to Page 56
                                                           EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 15 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                July 28, 2021
                                                                57                                                                        59
 1   BY MS. FOSTER:                                                        1   Q. Were any journalists throwing things or looting?
 2   Q. Mr. Ou, have you participated and covered a number of --           2   A. No.
 3             THE COURT: Let me rule on the --                            3               MS. LANDRUM: Objection, Your Honor, lack of
 4             MS. FOSTER: I apologize.                                    4   foundation, lack of personal knowledge, speculation inasmuch
 5             THE COURT: -- objection. Sustained.                         5   as Mr. Ou couldn't possibly know who on the ground was or
 6   BY MS. FOSTER:                                                        6   was not media.
 7   Q. Have you covered a number of protests in your career?              7               THE COURT: Overruled. You may answer based on
 8   A. Yes.                                                               8   your personal knowledge.
 9   Q. Have you witnessed dispersal orders in the past?                   9               THE WITNESS: Sorry. Can you repeat the question?
10   A. Yes.                                                              10   I got --
11   Q. Have you seen -- in your experience, have you seen mass           11   BY MS. FOSTER:
12   arrests taking place?                                                12   Q. Sure. Based on your personal knowledge or what you saw,
13   A. Yes.                                                              13   were any journalists throwing things or looting?
14   Q. So do you have a common base of experience from which to 14            A. No, I did not see that happen.
15   determine -- a base of experience from which to determine,           15   Q. To the extent that you were able to see what was going
16   at least in your career, what has been common?                       16   on, what were the journalists you saw doing at the protest?
17   A. Yes.                                                              17   A. I saw journalists reporting, holding cameras, writing
18             MS. FOSTER: Your Honor, I think that establishes           18   stuff down in notebooks, holding -- streaming, doing their
19   foundation for the question that was asked.                          19   job.
20             THE COURT: You may ask the question.                       20   Q. And how were you able to recognize who were the
21             MS. FOSTER: Okay.                                          21   journalists?
22   BY MS. FOSTER:                                                       22   A. People had cameras. They had notepads. They were
23   Q. Is it common for law enforcement to issue multiple                23   holding their phones in a way that made it clear that they
24   dispersal orders before they move forward with mass arrests,         24   were livestreaming. It's pretty simple to tell who is doing
25   based on your experience?                                            25   journalism.
                                                                58                                                                        60
 1   A. In general, yeah.                                                  1   Q. When you heard that dispersal message, did you leave the
 2   Q. Can a significant period of time pass between the first            2   area?
 3   dispersal order and any arrests that occur?                           3   A. No, I didn't because I was already in private property.
 4   A. Yes.                                                               4   Q. Okay.
 5   Q. Is it common for members of the media to stay during               5   A. It didn't [audio distortion].
 6   this period of time so that they can cover the interactions           6   Q. We didn't hear that. Could you move closer to the mike?
 7   between police and protesters?                                        7   A. We were -- I was in private property and so -- and,
 8   A. Yes.                                                               8   also, it was my understanding that that dispersal order did
 9   Q. Do you believe that's important?                                   9   not apply to journalists.
10   A. Yes.                                                              10   Q. Did anyone threaten you while you were on the private
11   Q. Why?                                                              11   property?
12   A. Because that's the foundational nature of our job as              12   A. Yeah. When I was filming from the vantage point that
13   journalists, is to bear witness and hold any side to                 13   you saw inside -- not even on the balcony, but from inside,
14   anything to account. And especially with law enforcement,            14   law enforcement pointed stuff at us, pointed something at me
15   to hold them to account and just see what happens so we can          15   and said, "Go away, go away," like "Back off, back off."
16   see with our own eyes, like, what -- how they act.                   16   And so I backed off because I didn't want to put the person
17   Q. Did you see any members of the media attacking law                17   whose home I was in in jeopardy, because I didn't know how
18   enforcement officers that night in Brooklyn Center?                  18   the law enforcement would react if I was there. So I kind
19   A. [Inaudible.]                                                      19   of just made myself scarce.
20   Q. Could you repeat that?                                            20   Q. Were you able to identify which law enforcement agency
21             THE COURT: I didn't hear your response.                    21   that individual worked for?
22   BY MS. FOSTER:                                                       22   A. No.
23   Q. We didn't hear your response.                                     23   Q. Were there multiple law enforcement agencies that you
24   A. No, I did not see members of the media attacking law              24   saw present that night?
25   enforcement.                                                         25   A. Yeah. There were state troopers there, but then also
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                   Page 57 to Page 60
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 16 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                July 28, 2021
                                                                61                                                                         63
 1   Brooklyn Center was -- I'm not exactly used to what people            1   A. That was June or May 2020 and it is now July. So a year
 2   were wearing, but, as I remember, there was also National             2   and a month or two.
 3   Guard there and there were people wearing fluorescent                 3   Q. Has anyone from the State ever apologized to you for
 4   yellow, fluorescent greenish jackets and dark -- it seemed            4   what happened?
 5   like a combination of different law enforcement agencies.             5   A. No.
 6   Q. Did the presence of multiple agencies make it difficult            6   Q. Have you decided to join this lawsuit as a named
 7   for you to identify who pointed the thing at you and told             7   plaintiff, Mr. Ou?
 8   you to back off?                                                      8   A. Yes.
 9   A. Yes.                                                               9   Q. How would you describe your views towards law
10   Q. How did you respond to that threat? What did you do?              10   enforcement before the protests we've been talking about
11   A. I backed off because, you know, even though objectively           11   today?
12   I knew that I was on private property and was filming, like,         12   A. Are we talking about the American context or --
13   I didn't need to go anywhere, as journalists we have to also         13   Q. Yes. That's a good clarification.
14   act ethically and knowing that if there was -- if law                14   A. Yeah. In the American context, I didn't think so much
15   enforcement punished the people I was filming, I wouldn't            15   of law enforcement. In fact, I've actually -- the story I
16   want that -- I wouldn't want to cause somebody to get in             16   did before this, I embedded with a police department in
17   trouble because of what I was doing. And so it's always a            17   San Antonio for quite a few months and worked on a
18   balance of what you are legally allowed to do, but ethically         18   documentary looking at a community police -- San Antonio
19   how to not do harm to your subjects [audio distortion].              19   Police Department going to mental health calls. So I
20              COURT REPORTER: His audio cut off at the end.             20   didn't -- like, I had covered law enforcement and being
21   BY MS. FOSTER:                                                       21   around protests, you know, you're in their proximity, but I
22   Q. Could you repeat the last sentence?                               22   always operated under the assumption that, you know, if
23   A. Yeah. It's a balance, because I made a decision -- you            23   you're not getting in anyone's way, you had the right to
24   always have to balance what you can legally do and ethically         24   film and, you know, just work. So I didn't really think
25   what your responsibilities are to your subjects. At this             25   much of it.
                                                                62                                                                         64
 1   point my character was a person who lived in Brooklyn                 1   Q. How would you describe your relationship with the police
 2   Center, so I was thinking about maybe if it became known              2   in San Antonio that you covered during that -- when you were
 3   that she had a journalist over, she would maybe be targeted           3   embedded with them?
 4   by law enforcement or something like that. So with that in            4   A. It was quite good because these are mental health --
 5   mind, I decided to be less visible to law enforcement and             5   these are police officers who are also trained in mental
 6   film from a distance so they couldn't see me.                         6   health, so they went to [audio distortion].
 7              MS. FOSTER: Were you able to catch that?                   7             COURT REPORTER: He cut out again.
 8              COURT REPORTER: Yes.                                       8   BY MS. FOSTER:
 9   BY MS. FOSTER:                                                        9   Q. You cut out. Sorry. I don't know why.
10   Q. Has anyone from the State contacted you to discuss what           10   A. These are police officers who specialized in
11   happened to you during the protests?                                 11   de-escalation, so they would go to places with mental health
12   A. I got an e-mail I think around in the fall of 2020.               12   distress calls and they would, you know, use their
13   Q. Okay. Do you know who contacted you?                              13   de-escalation training and their mental health skills to
14   A. Yeah. His name was Jerry -- I don't know how to say his           14   kind of, like, de-escalate situations and then kind of,
15   last name -- Cziok. It's C-zed-i-o-k.                                15   like, get people into services. So it was actually a really
16   Q. Okay. Did you respond to that e-mail?                             16   interesting thing to cover to show, you know, like, police
17   A. No, I did not.                                                    17   doing their jobs at their best and kind of like an example
18   Q. Why not?                                                          18   for law enforcement to follow.
19   A. My company at that time, NBC News, told me not to.                19   Q. When you cover a protest event, do you try to avoid bias
20   Q. So your employer basically instructed you not to                  20   towards any group?
21   respond --                                                           21   A. Yes. That's the --
22   A. That's correct.                                                   22   Q. And why is -- I'm sorry. Go ahead.
23   Q. -- is that what you are saying?                                   23   A. That's the foundation of what we do as journalists, is
24              Okay. How long has it been since you were                 24   to report the truth without bias, you know, just report all
25   injured?                                                             25   sides of a story with nuance and kind of, like, report in a
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                   Page 61 to Page 64
                                                         EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 17 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                    65                                                                         67
 1   balanced way.                                                            1   targeted because we were journalists. And because of that,
 2   Q. How have the attacks that you experienced during the                  2   now I don't [audio distortion] any protests.
 3   protests in Minneapolis affected your ability to continue                3             COURT REPORTER: I'm sorry. He is cutting out.
 4   doing your job as an objective observer?                                 4   BY MS. FOSTER:
 5   A. In the American context it's difficult because it's hard              5   Q. Could you repeat the very end of that?
 6   to operate safely in a protest situation or in general when              6   A. So when you -- I don't feel safe covering protests or
 7   you don't know if someone will turn on you and attack you                7   being around police because I don't know how to act anymore.
 8   without having really done anything.                                     8   Because what happened in Minneapolis on the 30th of May in
 9               And so it has been a little bit difficult for me             9   2020, I was in what I thought -- it was almost like a
10   to know what's what, how to stay safe, how to not get in                10   textbook, the best place that we could have been. We had
11   people's way, you know, just how to navigate coverage in                11   cover and we were in a group of people who were so clearly
12   America. It's actually been -- even now, a year and a bit               12   identified as journalists.
13   later, it still has been quite difficult to navigate.                   13             And I've replayed that over and over in my head to
14   Q. How long did it take you to recover from your physical               14   go -- to think to myself, like, where did we screw up, like,
15   injuries?                                                               15   what did we do wrong. And that's a large part of what we do
16   A. My scar healed. I still have a scar right here                       16   as journalists, is that we learn from our mistakes.
17   (indicating) that you can see, but it took quite some time              17             And any time things happen and when the stakes are
18   for all the pepper spray to get out of my hair. My eyes                 18   even higher, like in Libya, where my colleagues have been
19   were quite affected and my breathing was affected for quite             19   killed, or in Syria, we take accidents and incidents and we
20   a few months afterwards. Some of my camera gear right now               20   kind of, like, think to ourselves, okay, what did we do
21   is still pepper spray-ee [phonetic]. So it took some time.              21   wrong, how can we do things any differently.
22   And I have a scar here (indicating) that hasn't gone away.              22             And having thought about what happened in
23   Q. Would you say that you've recovered from the                         23   Minneapolis on the 30th of 2020, I don't know what the
24   psychological impact?                                                   24   takeaway is. I don't know how I would have done anything
25   A. No, I have not. It's hard because, you know, you don't               25   differently. And because I don't have any -- other than to
                                                                    66                                                                         68
 1   want to make it about you, but it's hard because the things              1   just not have been there. And so because I don't -- I spent
 2   that happened really affect you. And, you know, like, even               2   a year and two months really trying to figure out, like,
 3   yesterday there was a thunderstorm where I was -- where I am             3   what did we do wrong. And the fact that I don't have an
 4   at right now and just even hearing loud noises or, you know,             4   answer to that makes me feel fundamentally unsafe covering
 5   seeing -- being in situations in large crowds, it's hard.                5   protests or, you know, marches where there's law
 6   It just makes you constantly, like, really nervous and not               6   enforcement. Because if the answer is, well, just don't be
 7   know how to be safe.                                                     7   a journalist and, like, just -- if you will be targeted no
 8   Q. Do you continue to experience fear when you cover events              8   matter what you do, then, yeah, I feel quite unsafe.
 9   with a large law enforcement presence?                                   9             MS. FOSTER: Thank you. I have no further
10   A. I do. I do because, yeah, I don't know how to act                    10   questions.
11   anymore. In the American context it used to be just make                11             THE COURT: Let's take our break at this point and
12   sure everyone knows that you are a journalist. I remember               12   then we will have our cross examination of this witness. So
13   covering protests in New York with the NYPD where I would               13   we will take a break now and I will ask everyone to be
14   kind of go out of my way to, like, make eye contact with all            14   prepared to return at ten minutes after 11:00 Central
15   the police and show them my camera so that they could have,             15   Standard Time. So I believe that may be ten minutes after
16   like, some memory of me so that if there was, like, any                 16   12:00 your time.
17   incident, they would know that I was there. And so I think              17             MS. FOSTER: He is in Europe.
18   a lot of it is, like, make your intentions known so that                18             THE COURT: Sorry. I was thinking New York. I'm
19   you're not mistaken for anything other than a journalist.               19   quite provincial. So we will take a 15-minute break, and
20               But now, I guess after what happened on the 30th,           20   then please be ready to return on camera for your cross
21   in the American context I don't know what is safe anymore               21   examination.
22   because at that moment I thought that we were in the perfect            22             MS. FOSTER: You can keep it dialed in if you
23   position. We were in a group of people. We were protected.              23   want, Ed. That might be the easiest.
24   We were out of the way. They could have easily passed us if             24             THE COURT: Yes.
25   they wanted to, but instead it almost felt like we were                 25             MS. FOSTER: So we don't have to reconnect.
                                                                Lori A. Simpson, RMR-CRR
                                                                        651-848-1225
                                                                                                                        Page 65 to Page 68
                                                              EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 18 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                  69                                                                        71
 1             THE WITNESS: So 15 minutes, 1-5?                              1   Precinct, that there were significant concerns that the
 2             THE COURT: 1-5, yes.                                          2   Fifth Precinct, like the Third Precinct, would be set on
 3             THE WITNESS: Okay.                                            3   fire?
 4             THE COURT: We are in -- oh, I'm sorry. Is there               4   A. I was aware of the context of what had happened the days
 5   anything else that we need to address at this time?                     5   previous.
 6             MS. LANDRUM: No, Your Honor.                                  6   Q. So you were aware at that time that the Third Precinct
 7             THE COURT: Okay. Very well. We are in recess.                 7   had been given up and had been set on fire?
 8      (Recess taken at 10:56 a.m.)                                         8   A. Yes.
 9                          * * * * *                                        9   Q. Okay. And you also testified that there were several
10      (11:13 a.m.)                                                        10   law enforcement agencies present there in addition to
11                          IN OPEN COURT                                   11   Minnesota State Patrol troopers?
12             THE COURT: We are ready to proceed.                          12   A. Yes.
13             MS. LANDRUM: Yes, Your Honor.                                13   Q. Now, you heard the dispersal orders before you were
14             THE COURT: You may. We are back on the record.               14   injured on May 30th; is that correct?
15   You may proceed, Counsel.                                              15   A. Yes.
16             MS. LANDRUM: Thank you, Your Honor.                          16   Q. Those dispersal orders were fairly loud?
17                          CROSS EXAMINATION                               17   A. Yes.
18   BY MS. LANDRUM:                                                        18   Q. And they were given over an acoustic device; is that
19   Q. Good morning, Mr. Ou. My name is Kathryn Iverson                    19   correct?
20   Landrum. Can you hear me okay?                                         20   A. Yes.
21   A. Yeah, I can hear you.                                               21   Q. The protesters, however, based off of your personal
22   Q. Great. Wonderful. My name is Kathryn Iverson Landrum.               22   knowledge and the video footage that we saw, they did not
23   I'm an attorney representing the defendants, the Minnesota             23   disperse as directed, right?
24   Department of Public Safety and Minnesota State Patrol. I              24   A. Yes.
25   want to thank you for your testimony here today.                       25   Q. And neither did you; is that right?
                                                                  70                                                                        72
 1             I would like to start off with asking you about               1   A. Yes.
 2   your experiences on May 30th that you just discussed with               2   Q. Is it your practice not to follow directives from law
 3   us. First, you did not arrive in Minneapolis until May 30,              3   enforcement when you're covering protest activities?
 4   2020; is that right?                                                    4   A. We were under the understanding that the curfew did not
 5   A. That is correct.                                                     5   apply to us as media.
 6   Q. That was several days after the unrest had erupted in                6   Q. I understand that that's your understanding of the legal
 7   that area, correct?                                                     7   posture there, but is it your practice, generally speaking,
 8   A. Yes.                                                                 8   when an order is issued by law enforcement, that you do not
 9   Q. And you did not begin your physical coverage in                      9   follow those when you're covering a protest?
10   Minneapolis until, I believe, 6:30 or 7:00 that night?                 10   A. We -- when we operate, you know, we operate under what
11   A. Yes.                                                                11   we're allowed to do. And at that moment we were on public
12   Q. Now, you began your coverage located near the Fifth                 12   property, also not getting in anyone's way, and so based off
13   Precinct in Minneapolis; is that correct?                              13   my experience with the police in general is if the media
14   A. Yep.                                                                14   makes themselves known and is not interfering, then we have
15   Q. Were you aware that there were significant concerns that            15   the right to be places because that's our job.
16   the Fifth Precinct, like the Third, would be set afire?                16   Q. So the answer to my question is, yes, you believe that
17             MS. FOSTER: Objection --                                     17   you are not required to follow the directives of law
18             THE WITNESS: I was --                                        18   enforcement when covering protests?
19             MS. FOSTER: -- assumes facts not in evidence.                19               MS. FOSTER: Objection, argumentative.
20             THE COURT: Overruled. You are asking what he                 20               THE COURT: Sustained.
21   understood.                                                            21   BY MS. LANDRUM:
22             MS. LANDRUM: Thank you, Your Honor.                          22   Q. Now, you testified that you were somewhat close to
23   BY MS. LANDRUM:                                                        23   protesters, is that right, when the dispersal order was
24   Q. I will ask the question again, Mr. Ou. Were you aware               24   granted -- or given?
25   at that time, when you located yourself at the Fifth                   25   A. Yeah.
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                     Page 69 to Page 72
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 19 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                               July 28, 2021
                                                               73                                                                        75
 1   Q. About 12 to 15 feet away from protesters when the                 1   media?
 2   dispersal order was granted -- or given?                             2   A. That or exercising their First Amendment right to film.
 3   A. I guess somewhat -- so we were, by the time that they             3   Q. Okay. And you testified that you didn't see anybody on
 4   had granted -- they were saying that, we were off to the             4   that day, May 30, 2020, who was a member of the media that
 5   side, as I remember.                                                 5   was in any way antagonizing towards the Minnesota State
 6   Q. Now, when you were off to the side, you were technically          6   Patrol. Did I hear that correctly?
 7   between law enforcement and the protesters, is that correct,         7   A. Yeah.
 8   off to the side but between the law enforcement line and the         8   Q. Okay. We will wait to pull up Exhibit 14.
 9   line of protesters; is that correct?                                 9      (Pause)
10   A. We were behind the alcoves, so we were physically in             10   Q. You had testified that immediately prior to the law
11   between. If the protesters are here (indicating) and we             11   enforcement line moving north on Nicollet, that there were a
12   were here (indicating), we were here but behind alcoves.            12   couple of individuals that were somewhat antagonistic
13   Q. Understood. Stated differently, when that law                    13   towards the Minnesota State Patrol and yelling obscenities;
14   enforcement line started to move forward, you did not               14   is that correct?
15   disperse north with the protesters; is that correct?                15   A. [Inaudible.]
16   A. North is towards 31st, right? So, yes, that's true, we           16             THE COURT: I didn't hear your response.
17   did not, yes.                                                       17             THE WITNESS: Yes.
18   Q. Instead you attempted to stay in an alcove to the side?          18             MS. LANDRUM: And this is, for the record,
19   A. Yes. We thought that they would [audio distortion].              19   49 seconds into Plaintiffs' Exhibit 14.
20   Q. And ultimately if that --                                        20   BY MS. LANDRUM:
21             MS. LANDRUM: Sorry.                                       21   Q. Are these the individuals that were yelling those
22             THE COURT: I didn't hear what the witness said.           22   obscenities?
23   Would you please repeat your response?                              23   A. Yeah, and off a bit, I guess, to where the right area
24             THE WITNESS: Yeah. We were in the alcoves                 24   would be.
25   thinking they would pass us, the state troopers.                    25   Q. And this individual that we see at 49 seconds, do you
                                                               74                                                                        76
 1   BY MS. LANDRUM:                                                      1   see there it appears that he is either taking a photograph
 2   Q. And so you were intending to locate yourself behind that          2   or possibly livestreaming; would you agree?
 3   line of law enforcement as they were moving north, that was          3   A. Yes.
 4   your intention?                                                      4   Q. Do you recognize that individual?
 5   A. At that exact -- it depends on when you are referring             5   A. No.
 6   to. This is quite a dynamic situation. But we were                   6   Q. Do you recognize him as being a member of the media?
 7   intending to stay out of the way in these alcoves, yes.              7   A. No. I don't know who that person is.
 8   Q. So then at that point, had that been successful, you              8   Q. But it's your position that he is media based off the
 9   would have been facing -- you would have been further away           9   fact that he is holding up his phone in this image of your
10   from the protesters and you would have been looking at the          10   video?
11   law enforcement line from behind?                                   11   A. At this moment he's taking a picture. I don't know who
12   A. Yes.                                                             12   he is.
13             MS. LANDRUM: I would like to pull up Plaintiffs'          13   Q. Now, at this moment this gentleman is between other
14   Exhibit 14, please, if we may, Ms. Kosek, which has already         14   protesters that are farther north on Nicollet and the line
15   been entered into evidence, specifically at 49 seconds.             15   of police officers that are south; is that correct?
16   BY MS. LANDRUM:                                                     16   A. Can you say that one more time?
17   Q. And while we are pulling that up, Mr. Ou, I believe you          17   Q. Sorry. So at this point this gentleman that we see here
18   testified earlier this morning that persons who are                 18   in Exhibit 14 has positioned himself between -- directly
19   livestreaming during a protest are considered members of the        19   between the protesters that are north of him and the law
20   media. Did I hear that correctly?                                   20   enforcement officials that are south of him, correct?
21   A. I think people who are engaged in acts of journalism are         21   A. Yes.
22   members of the media.                                               22   Q. And that's contrary to one of your primary rules as a
23   Q. So it's your testimony that every person who is holding          23   journalist, is that right, not to get in between the
24   up a personal cell phone and livestreaming or taking                24   protesters and law enforcement?
25   photographs with their cell phone would be a member of the          25   A. Who are you talking about in this exact context, like
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                                   Page 73 to Page 76
                                                        EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 20 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                 July 28, 2021
                                                                 77                                                                       79
 1   what is contrary to?                                                 1   moment," and then what did you say?
 2   Q. I am talking about the gentleman that we see here at              2              THE WITNESS: At that moment it did not feel
 3   49 seconds in Exhibit 14. He has placed himself directly             3   tense. These people -- the protesters were saying things
 4   between protesters and law enforcement, correct?                     4   that were antagonistic, but there was nothing being thrown.
 5   A. Yes.                                                              5   And, you know, saying profanities towards the police at that
 6   Q. And that's contrary to your rule as a journalist to               6   moment, in my assessment, was not -- would not -- did not
 7   never, in fact, do that?                                             7   meet a threshold that, oh, something is going to happen
 8   A. That's inaccurate. We would be in those positions when            8   because of this, because there are profanities. So I
 9   it's safe. So I would very feasibly be in that position and          9   assessed at that moment for myself that it was still quite
10   then retreat to [audio distortion].                                 10   calm.
11                COURT REPORTER: I'm sorry. He's cutting out.           11   BY MS. LANDRUM:
12                THE COURT: Your voice is cutting out. Our audio        12   Q. But that, again, is not based on any law enforcement
13   is not helping us right now. So I don't know what                   13   expertise or training that you have, right, Mr. Ou?
14   adjustments can be made, but we did not hear your response. 14           A. No, it's not, but I guess it comes from just knowing or
15                THE WITNESS: I would be possibly, you know --          15   thinking of when there would be a proportionate response
16   it's not a hard-and-fast rule to never get in between. Like         16   from law enforcement and not to be in the middle of that if
17   I said previously, we would be in that position if we felt          17   there was one.
18   that that was a safe place to be at that exact moment and           18   Q. Now, at a certain point -- we heard about the injuries
19   maybe would get a shot or, you know, shoot what we need to          19   that you sustained that day. You became separated from the
20   shoot and then go somewhere else that was safer. So a lot           20   other journalists in your group; is that right?
21   of times it's these calculations that we make as we read the        21   A. I became separated from my colleagues, like, my direct
22   situation.                                                          22   colleague, the reporter I was working with and the security
23   BY MS. LANDRUM:                                                     23   team. So, yeah, we got separated, but I was with other
24   Q. You don't have any expertise in law enforcement; is that         24   colleagues, like, who were not working with NBC News but
25   right, Mr. Ou?                                                      25   were fellow journalists.
                                                                 78                                                                       80
 1   A. No, I'm not a law enforcement officer.                            1   Q. And I think you testified that after you experienced
 2   Q. So when you're making calculations as to when it's                2   your initial injuries, that you were blinded at that point;
 3   appropriate for you to get in between law enforcement and            3   is that right?
 4   protest activity, that's based off of your assessment of             4   A. Yes.
 5   your personal safety?                                                5   Q. But based off of your other senses, it was your
 6   A. Yes, and that's [audio distortion].                               6   experience or your belief that you were being corralled
 7   Q. And that's not --                                                 7   north towards the protesters; is that correct?
 8                COURT REPORTER: I heard, "Yes, and that's." I           8   A. Yes.
 9   didn't hear what he said after.                                      9   Q. And that was the movement of that enforcement line,
10                THE COURT: Did you have more to say in your            10   correct, that law enforcement was moving to disperse
11   response?                                                           11   everyone north; is that correct?
12                THE WITNESS: Yeah. Sorry. That's based off of,         12   A. Yes.
13   you know, my experience covering protests.                          13   Q. So your experience was that those law enforcement
14   BY MS. LANDRUM:                                                     14   officers were attempting to move you north as well?
15   Q. So outside of your personal factor -- your own personal          15   A. Yes, that is accurate.
16   safety, you are not factoring in the law enforcement needs          16   Q. But you, in fact, did not move out of that dispersal
17   when you are deciding to insert yourself in between                 17   area, did you?
18   protesters and law enforcement?                                     18   A. At which moment?
19   A. We are thinking of how we're perceived and we are                19   Q. So ultimately you ended up back in the alcove; is that
20   thinking of, like, at that moment is it tense, is it more           20   correct?
21   tense, is there -- you know, like, I think you are always           21   A. Just timeline-wise, we were in the alcoves off to the
22   making a calculation as to how appropriate would a law              22   side and when I was first hit by a projectile, I was already
23   enforcement response be. And at that moment it felt                 23   disoriented, so I was unable to kind of, like, figure out
24   [audio distortion].                                                 24   where to go. So I went further into the alcove thinking
25                THE COURT: I didn't hear what you said. "At that       25   that the police, if they want to disperse people, they would
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                                  Page 77 to Page 80
                                                          EXHIBIT A
            CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 21 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                 July 28, 2021
                                                                 81                                                                       83
 1   just -- they had the option to pass us and we were out of              1   Q. So I would like to talk to you next about your coverage
 2   the way.                                                               2   in Brooklyn Center.
 3   Q. So you remained in the area that law enforcement was                3             Now, I heard that prior to coming to Brooklyn
 4   attempting to disperse, right?                                         4   Center you were preparing to cover the Chauvin trial
 5   A. Yes.                                                                5   verdict; is that right?
 6   Q. Now -- let's see here. And after that point you had                 6   A. Yes.
 7   other interactions with law enforcement; is that right? You            7   Q. In anticipation of that, did you attend the Operation
 8   were asking for help; is that -- did I hear that correctly?            8   Safety Net press briefings that were happening weekly?
 9   A. So I just want to clarify. There were kind of, like,                9   A. No. There were a few things on YouTube or on Twitter,
10   two alcoves. The first time when I was pepper-sprayed, that           10   if I understand, that were -- that I watched a few times,
11   was alcove number one. And then we were corralled and then 11              but I did not physically attend.
12   we tried to get out to 31st Street, but then I ended up in            12   Q. Okay. So then you did see guidance from OSN in order to
13   another alcove. I don't know if it's an alcove, but a                 13   prepare for your coverage of the Chauvin verdict?
14   trapped, fenced-off area.                                             14   A. I wouldn't use the word "guidance" because, you know, as
15              And so that's -- the interaction happened twice.           15   journalists we monitor, we look at what's been tweeted out,
16   So the first time I was pepper-sprayed and then corralled             16   press conferences and stuff like that. So a lot of that is
17   from the alcoves, which is where we are looking at right now          17   passive. And it's our job to be informed of what people are
18   in this area on the screenshot. And then a second time I              18   saying.
19   interacted with the police again, that's when -- that's               19   Q. But it sounds like you were fully aware that OSN was
20   around that time that I filmed my colleague being shoved              20   reaching out in order to provide resources to the press in
21   over a wall and that's -- yes, I interacted with them.                21   anticipation of the Chauvin verdict; is that right?
22   Q. But that second alcove was still in the dispersal area,            22   A. As someone, just to be -- OSN, I am not familiar with
23   right, Mr. Ou?                                                        23   that acronym and, again, I'm based in New York, so I don't
24   A. Yes, the second place was in the dispersal area. At                24   regularly cover the Minneapolis/Minnesota state area, so I
25   that time we were trying to leave, but there was nowhere to           25   don't know what that -- can you clarify that acronym?
                                                                 82                                                                       84
 1   go, so that's when, I guess -- when I filmed my colleague,             1   Q. Sorry. I thought that you had said that you had seen
 2   Mike Shum, being shoved over the wall. If that is the idea             2   some of the YouTube videos from Operation Safety Net,
 3   of how we are to disperse, it felt like a very dangerous               3   specifically the press briefings that were being given on a
 4   one.                                                                   4   weekly basis. Did I mishear that?
 5   Q. So you indicated that after that point your vision was              5   A. Again, I would see them every so often, but it's not
 6   substantially impaired, correct?                                       6   like I regularly sought them out. When you are on Twitter,
 7   A. Yes.                                                                7   you just see videos. And especially when you are in
 8   Q. And in that state of impairment, it sounds like you had             8   New York, you are not making a distinction between this
 9   some other interactions with other law enforcement                     9   police department, that one, Brooklyn Center, Minneapolis.
10   officials, right?                                                     10   It kind of -- it just depends on -- you get more specific as
11   A. Yes.                                                               11   you get closer to what you are covering.
12   Q. But at that point -- and you recognize that there were             12   Q. Did you reach out to anyone, Minnesota State Patrol, the
13   other law enforcement officials on the ground outside of              13   Department of Public Safety, to get guidance about how you
14   Minnesota State Patrol, correct?                                      14   can be safe for purposes of the Chauvin trial coverage?
15   A. Yes. Is the question do I know if there was different              15   A. No, because it was pretty -- we shouldn't have to.
16   police departments, like MPD, et cetera?                              16   Again, my understanding is as long as we're not interfering
17   Q. Yes, that were present on the ground on May 20, 2020               17   with police activities or law enforcement activities,
18   where you were.                                                       18   there's no permissions or things to seek to be safe other
19   A. Yes.                                                               19   than just use your common sense and don't -- you know, like,
20   Q. Now, you didn't file a complaint with the Department of            20   that's not something that we, as journalists, generally
21   Public Safety Office of Internal Affairs, did you?                    21   should have to do.
22   A. No.                                                                22   Q. So you covered the unrest in Brooklyn Center from an
23   Q. And when the Office of Internal Affairs reached out to             23   apartment building; is that right?
24   you, you didn't respond; is that correct?                             24   A. Yes.
25   A. That's correct.                                                    25   Q. How many days were you there?
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                     Page 81 to Page 84
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 22 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                    85                                                                          87
 1   A. I was there for the duration of the week. I got there,                 1   BY MS. LANDRUM:
 2   I think, on a Monday or a Tuesday and I was there for a few               2   Q. Absolutely. Because of the nature of the dispersal
 3   days in and out.                                                          3   order, because of the content of it, where it specifically
 4   Q. So in the video, I believe it's Plaintiffs' Exhibit 8,                 4   said that the dispersal order applied to media, you were not
 5   you could hear quite clearly the dispersal order; is that                 5   confused that law enforcement believed that you were, in
 6   right?                                                                    6   fact, subject to the dispersal order, right?
 7   A. Yes.                                                                   7   A. Right, but, again, there's two things at play. I was in
 8   Q. And it was loud?                                                       8   private property at that exact moment, so I don't know where
 9   A. Yes.                                                                   9   I would have gone. And that certainly did not apply to me
10   Q. And it was -- it specifically indicated and instructed                10   at that moment because what would they tell me, that I would
11   media that the dispersal order did, in fact, apply to media;             11   not be able to interview people in their homes? That would
12   is that right?                                                           12   be a gross violation of many press freedoms and the First
13   A. I -- as journalists, we are there to be able to cover                 13   Amendment, to say I am not allowed to interview citizens in
14   things. And the other thing, too, is from my exact vantage               14   their apartments where I am directly invited. So it did not
15   point, I was in private property, so I wasn't outside.                   15   apply to [audio distortion].
16   Q. Going back to my question, though, Mr. Ou, that                       16              COURT REPORTER: I didn't hear the last part.
17   dispersal order specifically instructed you, as a member of              17              THE COURT: The last bit we didn't hear. Did you
18   media, that the dispersal order did, in fact, apply to you,              18   say so it did not apply to me that way?
19   correct?                                                                 19              THE WITNESS: At that exact moment. Because
20   A. Yes, that is true, except we, as journalists, should be               20   how -- in what open, free society would the police tell me
21   in places -- where the freedom of the press is recognized,               21   that I couldn't be in someone's private property at that
22   we should be able to film activities so long as we are not               22   moment? So that's why -- again, I was in someone's house,
23   interfering with law enforcement or taking a part in                     23   invited, filming from private property, so I was already not
24   anything. And so --                                                      24   outside.
25   Q. Let me just stop you there.                                           25   BY MS. LANDRUM:
                                                                    86                                                                          88
 1              THE COURT: No. Let him respond to your question                1   Q. Mr. Ou, did you review the governor's executive order
 2   and then you may ask a follow-up.                                         2   declaring the curfew in April 2021 before you came to
 3              You may finish your response.                                  3   Brooklyn Center?
 4              THE WITNESS: So in a lot of places, not just in                4   A. I didn't personally look at it, but in talking to
 5   protests, like a lot of the times as journalists we are                   5   colleagues, you know, et cetera, I knew generally what was
 6   often told, like, don't film here, get out of here,                       6   happening.
 7   et cetera, by law enforcement. And it's just a central                    7   Q. So you weren't aware, then, that that executive order
 8   tenet to the First Amendment, which is if we are filming on               8   specifically stated that even persons exempted from the
 9   public property, we, the media, are allowed to undertake our              9   dispersal order were not exempted from lawful orders from
10   job, which is why, as I understand it, you know, we are                  10   law enforcement, right?
11   exempt from curfew. During COVID we were able to go out                  11   A. I don't understand.
12   because our job is a very specific function of keeping an                12   Q. So you were not aware that that executive order
13   open society informed. And so that dispersal order, I felt,              13   specifically stated that even if exempt from the curfew,
14   did not apply to us because it is clear that we didn't need              14   individuals that had that exemption were not exempt from
15   to recognize the curfew.                                                 15   lawful orders from law enforcement, you were not aware of
16   BY MS. LANDRUM:                                                          16   that; is that right?
17   Q. Well, so because you heard the dispersal order, though,               17   A. I'm aware of that, but, again, I was in someone's
18   Mr. Ou, you could not have been confused that law                        18   private property. So just if I were to take that to its
19   enforcement believed that media was subject to the --                    19   logical conclusion, if I rented a flat or an apartment
20              MS. FOSTER: Objection --                                      20   across from there, would -- no law enforcement would have
21   Q. -- dispersal order, correct?                                          21   been able to tell me to stop filming or not exist -- I could
22              MS. FOSTER: -- argumentative.                                 22   very easily have had a flat there. And so I just don't
23              THE COURT: Overruled. You may answer if you can. 23                understand. It didn't apply to me, because if we're in a
24              THE WITNESS: Sorry. Can you say that one more                 24   world where the police can tell journalists to stop filming,
25   time?                                                                    25   this is not America.
                                                                 Lori A. Simpson, RMR-CRR
                                                                         651-848-1225
                                                                                                                        Page 85 to Page 88
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 23 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                    89                                                                        91
 1              MS. LANDRUM: I would like to pull up Plaintiffs'              1   like that. So if I were there in that spot, if someone were
 2   Exhibit 8 at 16 seconds, please, Ms. Kosek.                              2   to escalate that, it would be the police because I would --
 3   BY MS. LANDRUM:                                                          3   we're not getting in between anything. As I remember, at
 4   Q. This is Plaintiffs' Exhibit 8. This is a video that's                 4   that exact moment, and, again, many things happened that
 5   already been admitted into evidence. This is the view that               5   night, it was mostly people filming the police and a lot of
 6   you have from that apartment; is that correct?                           6   the clashes or the more escalated actions of protesters were
 7   A. Yes.                                                                  7   to the [audio distortion].
 8   Q. Now, in this still image at 16 seconds, you can see a                 8             COURT REPORTER: I'm sorry. I didn't --
 9   line of law enforcement to the left, right?                              9             THE COURT: The protesters were where when things
10   A. Yes.                                                                 10   escalated?
11   Q. And then it looks like there's protesters to the right.              11             THE WITNESS: Like at this exact moment, if you
12   What was beyond this scene to the right? Were there several             12   were to just take the exact dead center of this frame as,
13   more protesters to the right?                                           13   like, 12:00, I would say 2:00 or 3:00, kind of maybe to the
14   A. If you were looking where I'm looking now and you were               14   right, that's where a lot of the protesters were -- like
15   to pivot to, let's say, 2:00 to the right, as I recall,                 15   protester protesters and then people were throwing things
16   there was kind of like a clump of people who were protesters            16   and bottles at the police and stuff. Here the law
17   and then, like, that's, like, kind of, like, right up to the            17   enforcement was [audio distortion].
18   fence area but a bit further down the street, and then there            18             THE COURT: I didn't hear the last bit. "Here the
19   were kind of people here and there.                                     19   law enforcement," and then you could not be heard.
20   Q. So, then, these individuals that we see here at                      20             THE WITNESS: People here were being filmed by
21   16 seconds -- for example, we see someone holding up a phone            21   these people on the bottom, like the law enforcement on the
22   who may be livestreaming or taking a photo, right?                      22   left.
23   A. Yeah.                                                                23   BY MS. LANDRUM:
24   Q. And it looks like there might be a gentleman with a                  24   Q. And I think I heard you just testify that you witnessed
25   camera of some kind near him?                                           25   that individuals were throwing bottles and other objects at
                                                                    90                                                                        92
 1   A. Yes.                                                                  1   law enforcement; is that right?
 2   Q. Would you agree with me that these individuals are                    2   A. Yes.
 3   placing themselves between law enforcement and the                       3   Q. Now, you said at a certain point that a law enforcement
 4   protesters?                                                              4   official pointed something at you from the ground; is that
 5   A. Yes.                                                                  5   right?
 6   Q. Is it possible that they themselves are protesters?                   6   A. Yes.
 7   A. At this moment it looks like they're filming, so                      7   Q. But you don't know what that object was?
 8   they're -- they have a phone.                                            8   A. No. It was cylindrical.
 9   Q. Did you recognize these people, as you were there on the              9   Q. And you don't know which law enforcement agency was
10   scene, as colleagues of yours?                                          10   represented by this individual?
11   A. I saw colleagues there, but at this exact moment I was               11   A. No, I don't.
12   in private property filming from an apartment, so I didn't              12   Q. And you were not harmed in any way by law enforcement in
13   personally know these individuals.                                      13   April 2021 in Brooklyn Center, were you?
14   Q. And doesn't this again violate your general rule not to              14   A. No, I was not.
15   get between protesters and law enforcement?                             15   Q. Thank you.
16   A. I'm not these people over here. So are you asking me if              16             MS. LANDRUM: No further questions.
17   that's something that I would do or --                                  17             THE COURT: Anything further for this witness?
18   Q. Exactly. I'm saying these two individuals that appear                18             MS. FOSTER: Just very brief redirect.
19   to be taking photos or livestreaming, if they would be                  19             THE COURT: You may.
20   violating your rule getting -- if they are, in fact,                    20             MS. FOSTER: I would like to call up the long
21   journalists, if they are getting in between the law                     21   video. I think that's Plaintiffs' Exhibit 14.
22   enforcement line and the protesters.                                    22      (Video recording played)
23   A. I would say at this moment, because there isn't anything             23             MS. FOSTER: We can stop there at 42, 42 seconds.
24   being actively -- there's no hostility at this moment. It's             24
25   not like behind them anyone is throwing rocks or anything               25
                                                                Lori A. Simpson, RMR-CRR
                                                                        651-848-1225
                                                                                                                        Page 89 to Page 92
                                                               EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 24 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                    July 28, 2021
                                                                  93                                                                           95
 1                         REDIRECT EXAMINATION                             1   per photo and then they put them in their publication.
 2   BY MS. FOSTER:                                                         2   Q. Where do you currently live?
 3   Q. On that recording you heard the announcement to                     3   A. I live in Hayward, California, which is out near
 4   disperse. Did they say to disperse because of being in                 4   Oakland.
 5   violation of a curfew?                                                 5   Q. And where geographically do you work as a photographer?
 6   A. Yes.                                                                6   A. All over the place. I shoot concerts. I shoot events,
 7   Q. Was it your understanding that the curfew did not apply             7   shoot weddings. I shoot journalism. I go wherever the work
 8   to journalists?                                                        8   is, wherever the story is, wherever I can.
 9   A. Yes.                                                                9   Q. How do you decide where to go?
10   Q. Is that the reason why you did not disperse?                       10   A. This last year has been very different for me. Concerts
11   A. That is correct.                                                   11   and events were taken away, so I had to find a way to adapt.
12                MS. FOSTER: No further questions, Your Honor.            12   So I started covering protests and I went where the story
13                THE COURT: Anything further for this witness?            13   was. I tried to encapsulate different areas, mostly around
14                MS. LANDRUM: No, Your Honor. Thank you.                  14   social justice, you know, police brutality protests in
15                THE COURT: May the witness be excused?                   15   general.
16                MS. FOSTER: Yes, Your Honor, the witness may be          16   Q. How far in advance do you decide where you're going to
17   excused. Thank you.                                                   17   go?
18                THE COURT: Sir, you are excused. Thank you.              18   A. This really depends. Some events, like the march on
19                THE WITNESS: Thank you. Do I leave or --                 19   Washington, I planned to be at a couple months ahead of
20                MS. FOSTER: Just leave the Zoom session.                 20   time. I was out here covering the Derek Chauvin trial. I
21                THE WITNESS: Okay.                                       21   planned to do that. But mostly it's kind of on the fly.
22                MS. McGARRAUGH: Your Honor, are you ready for us         22   And I have a lot of other friends that -- for instance, when
23   to proceed with our next witness?                                     23   Daunte Wright was killed, he flew out the next morning. So
24                THE COURT: Yes, please.                                  24   it's one of those things where you can't really plan very
25                MS. McGARRAUGH: Plaintiffs call Chris Tuite.             25   well where you're going to be. You just have to go where
                                                                  94                                                                           96
 1                COURT REPORTER: Remain standing and raise your            1   the story is. And it makes it very tricky planning flights,
 2   right hand, please.                                                    2   planning hotels, but also very tricky, you know, making
 3      (Witness sworn)                                                     3   accommodations on where you are going to be.
 4                COURT REPORTER: If you could state your full              4   Q. If you were required to apply for city or state press
 5   name, spelling your first and last name, please.                       5   credentials in advance, would that be practical with the
 6                THE WITNESS: Christopher David Tuite. First name          6   schedule?
 7   Christopher, C-h-r-i-s-t-o-p-h-e-r. Last name Tuite,                   7   A. No, not in my opinion at all. I don't believe that
 8   T-u-i-t-e.                                                             8   press credentials are standard in any way. There are
 9                          (Christopher Tuite)                             9   certain cities, like New York, that does it, but it requires
10                          DIRECT EXAMINATION                             10   quite a while to apply. Like if I was able to do this, I
11   BY MS. McGARRAUGH:                                                    11   wouldn't be able to have been in Minnesota, Brooklyn Center.
12   Q. Thank you, Mr. Tuite. What is your profession?                     12   I'm up to Portland kind of on a whim. I spent four days up
13   A. I'm a freelance photographer.                                      13   there. There's no way I could have applied and been able to
14   Q. What publications have your photographs been published             14   be out there covering, documenting anything.
15   in?                                                                   15   Q. So you mentioned earlier that you were in Minneapolis
16   A. New York Times, New York Post, Washington Post, Rolling            16   covering the Derek Chauvin trial. When did you arrive in
17   Stone, Time magazine, People magazine, Wall Street Journal,           17   Minneapolis?
18   FOX News, CNN, lots of places.                                        18   A. I arrived on March 27th. I was there for an entire
19   Q. Are you employed by any particular news organization?              19   month.
20   A. I'm not.                                                           20   Q. Of 2021?
21   Q. How do your photographs end up in these publications?              21   A. Correct.
22   A. I work for a place that's called the wire, a place                 22   Q. And you were there for a month. So until late April
23   called imageSPACE, and from imageSPACE my photos get pushed 23             of --
24   out to lots of other places, Associated Press, ZUMA. And              24   A. Yes.
25   then publications that want to run things, they buy things            25   Q. -- 2021?
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                      Page 93 to Page 96
                                                             EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 25 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                    97                                                                         99
 1              So you were present in the Twin Cities when the               1   BY MS. McGARRAUGH:
 2   Daunte Wright protests came up?                                          2   Q. Have you had a chance to look at that Exhibit 3?
 3   A. I was. I was covering another protest in St. Paul and                 3   A. Yeah. I will flip all the way through.
 4   the word got out that Daunte Wright had been killed. We                  4      (Witness reviews exhibit)
 5   went directly from there to the area he was killed and then              5   A. Okay.
 6   followed the protests to the Brooklyn Center Police                      6   Q. Do you recognize this exhibit?
 7   Department.                                                              7   A. Yes, I do. This is my Instagram posts that I was
 8   Q. What days or nights did you cover the protests in                     8   covering from this specific day.
 9   Brooklyn Center related to Daunte Wright?                                9   Q. When you say "this specific day," you mean Tuesday,
10   A. I covered the entire thing until numbers got very small.             10   April 13th?
11   So it would be seven or eight days I was out there every                11   A. Correct. When I make my posts, I go home at night, I
12   single day and night covering, documenting everything.                  12   have a chance to cull my photos, which means go through the
13   Q. Okay. I would like to walk through some of the                       13   photos, select them, dump my photos onto the hard drive, and
14   experiences that you had in Brooklyn Center.                            14   then I essentially write a little post that summarizes the
15   A. Sure.                                                                15   day's events.
16   Q. So, first, what law enforcement agencies did you observe             16   Q. Okay. This first page -- actually, let me go back. So
17   there?                                                                  17   this says, "April 14"?
18   A. State troopers. I observed National Guard. I observed                18   A. Yes.
19   the sheriff's department. I observed what appeared to be                19   Q. Why does it say, "April 14" on --
20   Brooklyn Center Police Department, but they were usually a              20   A. It was done after midnight. By the time I got home,
21   little ways away. There was a fence after the first night,              21   took a Lyft ride back to --
22   and they were generally out towards the building and they               22                MR. HSU: Objection. The witness is testifying to
23   weren't very identifiable.                                              23   a document not submitted in evidence.
24   Q. How did you recognize state troopers?                                24                MS. McGARRAUGH: Fair point. Plaintiffs offer --
25   A. They were very recognizable. They had the long-sleeve                25                THE COURT: Sustained. Do you wish to offer the
                                                                    98                                                                         100
 1   yellow arms. They had the state logo on the chest. You                   1   exhibit?
 2   could see them in the daytime. In the night it would                     2                MS. McGARRAUGH: I do. Plaintiffs offer
 3   really, really reflect with the police lights or flashlights             3   Exhibit 3.
 4   or whatever. They were very, very identifiable.                          4                MR. HSU: We would object to the admission as
 5   Q. All right. I would like to direct your attention                      5   hearsay.
 6   specifically to the evening of Tuesday, April 13th. Do you               6                THE COURT: Any response?
 7   recall that evening?                                                     7                MS. McGARRAUGH: Well, so --
 8   A. I do.                                                                 8                THE COURT: Is it offered for the truth of the
 9   Q. Were you in Brooklyn Center?                                          9   matter asserted or is it offered --
10   A. I was.                                                               10                MS. McGARRAUGH: So the caption on the first page
11              MS. McGARRAUGH: All right. I would like to pull              11   is offered only to refresh his recollection. And the
12   up Plaintiffs' Exhibit 3. Can he see it on his screen?                  12   photographs, I think, are not hearsay, and it's my
13              THE WITNESS: Yeah.                                           13   understanding that the hearsay rule doesn't necessarily
14              MS. McGARRAUGH: Okay. Great. Leslie, do you                  14   apply in a preliminary injunction hearing with the
15   mind scrolling through this for him so he can see the pages?            15   limitation on witnesses. And the Court certainly can take
16              THE COURT: Let's just stop right here. Can you               16   the evidence for, you know, what its weight deserves.
17   turn on my screen?                                                      17                THE COURT: Do you wish to be heard, sir?
18              LAW CLERK: You can't see it?                                 18                MR. HSU: We would state even the photographs are
19      (Pause)                                                              19   paired with the written commentary related to the event and,
20              THE COURT: Thank you. You may proceed, Counsel. 20                accordingly, the whole document would be submitting hearsay
21              MS. McGARRAUGH: Your Honor, may I approach and               21   statements. And while the burden may differ from an
22   give him the book? It will be easier for him to see the                 22   injunction, the admissibility of evidence is still a key
23   multipage exhibit.                                                      23   aspect.
24              THE COURT: Yes, you may.                                     24                THE COURT: The objection is overruled. You may
25      (Witness reviews exhibit)                                            25   proceed. It is admitted.
                                                                Lori A. Simpson, RMR-CRR
                                                                        651-848-1225
                                                                                                                        Page 97 to Page 100
                                                             EXHIBIT A
             CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 26 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                  101                                                                         103
 1   BY MS. McGARRAUGH:                                                     1   the grass. It created a fairly dangerous situation.
 2   Q. So you made this post in the early morning hours of                 2             Do you want me to proceed with what happened after
 3   April 14th?                                                            3   that?
 4   A. That's correct.                                                     4   Q. Sure, yeah. What happened next?
 5   Q. All right. During that evening did you hear any                     5   A. So we got to the corner of the gas station across from
 6   dispersal orders in Brooklyn Center?                                   6   the Pump N Munch. I actually in my first deposition said
 7   A. Yes, I did.                                                         7   Pump N Munch. It's the one across the street from the
 8   Q. Can you tell -- what did those dispersal orders sound               8   Pump N Munch -- I wanted to correct that right now -- on the
 9   like?                                                                  9   other corner.
10   A. They were generally given over some sort of a loud                 10   Q. When you said "deposition," do you mean declaration?
11   speaker. I believe it was a mobile loud speaker that one of           11   A. Yes. Excuse me. Declaration. Sorry.
12   them was carrying, one of the state police officers, state            12             We got up to the corner. I recognized a
13   troopers. They formed a line out coming from the south side           13   photographer. His name was Josh McFadden. He is a New York
14   of the department on the street of about, I would say, a              14   Times freelance photographer. He is based out of upstate
15   hundred officers. They were saying people need to disperse.           15   New York and he was out here covering the entire trial as
16   They were very specifically focusing on media. They said,             16   well as the Daunte Wright protests.
17   "Media need to leave the area." They said it nearly 50                17             We were trying to figure out a way to get out
18   times over the loud speaker. And being a journalist, I                18   because it was very hectic. There were -- as soon as we
19   believe I know my rights and I did not disperse because I             19   turned the corner, there were cars that came screeching in,
20   needed to be there to document what's happening in public.            20   officers jumped out, including National Guard. Mostly the
21   Q. So you said that order was given maybe 50 times. Over              21   state troopers were around tackling people, grabbing them,
22   what period of time?                                                  22   saying, "Get on the ground," arresting people before they
23   A. I would say an hour or so.                                         23   could actually disperse.
24   Q. Do you have a sense -- excuse me. You referred to a                24   Q. Were you able to get back to your car?
25   line of maybe a hundred officers. Were those -- could you             25   A. Our car was on the -- actually, I came with Lyft, but I
                                                                  102                                                                         104
 1   tell what agency they were affiliated with?                            1   asked him if I could get a ride earlier and he said that was
 2   A. Yes. They were state troopers. I believe every single               2   fine. So I saw him. And it was a Good Samaritan that
 3   one of them was. There might have been one in between that             3   offered to give us a ride.
 4   was not, but to my recollection, they were all state                   4   Q. Why didn't you go to Mr. McFadden's car?
 5   troopers.                                                              5   A. His car was on the opposite side of the protest and it
 6   Q. Do you have any sense of -- well, from your observation,            6   was all blocked by vehicles and state troopers. We were not
 7   could you perceive what triggered the transition from 50               7   allowed to go that direction. So I asked -- he actually
 8   dispersal orders to the line moving through?                           8   asked for a ride and this lady said, "Sure, I'll give you a
 9   A. I'm sorry. Can you repeat that?                                     9   ride back." We hopped in the car, buckled our seat belts
10   Q. In your observation, what changed that went from 50                10   and were surrounded by state troopers with their weapons
11   dispersal orders being given over an hour to the line moving          11   pulled screaming, "Get out of the vehicle, get out of the
12   through?                                                              12   vehicle." And frantically I took my press pass, put it up
13   A. To them chasing people?                                            13   to the window and screamed, "Press, press, press, press,
14   Q. Yeah. What was -- what did you perceive the trigger to             14   press," like 50 times. One trooper grabbed me out. He
15   be?                                                                   15   actually listened to me, but they took Josh. He threw him
16   A. Well, I believe that they wanted to clear the area, but            16   up into the car, and it took me telling them 50 times he was
17   they waited a long time. It was an hour, hour and a half.             17   also press and he was with me. He had also said, "Press" at
18   It was essentially protesters expressing their displeasure            18   least ten times, had it around his neck, very identifiable
19   verbally to the line of officers. It stayed fine.                     19   was press, multiple cameras on his sides.
20               A small fire was started in the street,                   20   Q. Were you also carrying a camera at that time?
21   essentially like a campfire shape with some pieces of wood.           21   A. I was.
22   The second that happened, all the troopers started rushing,           22   Q. How large is your camera?
23   running after people, and it chased everyone down, including          23   A. I have two. I have one with a bigger lens. So the
24   cars. Cars were driving in the opposite direction. People             24   bigger lens would have been about this big (indicating), and
25   were running north away from the area on the sidewalk, on             25   the other one is about that big (indicating) with the
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                 Page 101 to Page 104
                                                            EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 27 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                  105                                                                        107
 1   smaller lens because they -- very similar size.                         1   perspective.
 2               THE COURT: You need to describe what "that big"             2   BY MS. McGARRAUGH:
 3   is.                                                                     3   Q. Are you confident that the officers that pulled you out
 4               THE WITNESS: Okay. The 70 to 200 millimeter lens            4   of that car are state troopers?
 5   is used for medium and zoom range and it's about, I would               5   A. I am 100 percent confident.
 6   say, six to eight inches in length. The wider lenses I                  6   Q. How do you know?
 7   have, I have a 17 to 35 millimeter and a 24 to 70. Those                7   A. I saw the very identifiable sleeves with the Minnesota
 8   are about three to five inches in length. I believe I had               8   state logo on their chest.
 9   the 24-70, which was probably four-ish inches.                          9   Q. How did that incident affect your ability to do your job
10   BY MS. McGARRAUGH:                                                     10   on that night?
11   Q. And Mr. McFadden had similar equipment?                             11   A. Well, we had to leave the area. As soon as we got out
12   A. Yes.                                                                12   of the car, we were negotiating on how to get back to our
13   Q. And you were wearing a press pass?                                  13   car. We didn't know how we were going to do that because
14   A. I was.                                                              14   they closed off all the roads that got there. It was only
15   Q. What did that look like?                                            15   National Guard that offered to okay us to walk through this
16   A. It was an independent pass. So this is the tricky thing             16   specific area, and even the same time we walked very slowly.
17   about not having standard passes and why it's not possible             17             What we did first, though, before we left, we went
18   to do this, because there's people that go all over the                18   into the church, which was a safe haven for protesters and
19   place. They are assignment based and there's no                        19   for everyone alike. We got a little bit of something to
20   standardized press pass for people to get. So I have an                20   drink and a snack. And Josh had to process his photos and
21   independent pass that was made up for me. It has my                    21   he had to take a few minutes to wind down from the
22   picture, identifies me as independent press. That's                    22   encounter. It shook him up a little bit. And he had to
23   basically all it is. It is has a little scanner on the                 23   send it to The New York Times and he had to text his editor
24   bottom that goes right to my social media on there. It just            24   at The New York Times telling him what happened; and, of
25   has my picture as independent press on it.                             25   course, they were concerned.
                                                                  106                                                                        108
 1   Q. Did you have the opportunity to see Mr. McFadden's press             1             So once we left the church, we talked to
 2   pass?                                                                   2   the Guard. We obviously had to get back to our car. No one
 3   A. I did. It was a National Press Photographers                         3   was letting us go through here. Everything was blocked off.
 4   Association pass, which is a pretty standardized one, but               4   They said, "That's fine." But the whole time we walked like
 5   you have to apply to get it and it costs money to get. So               5   this (indicating). I had my pass up, hand out, because I
 6   there's a barrier there, but anyone can get that.                       6   didn't want to spook anyone because we had to go back to an
 7   Q. Did you perceive a difference in how your press                      7   area that was essentially closed all the way across the
 8   credentials were received versus his press credentials?                 8   protest. It was very uncomfortable. He was not
 9   A. I don't know exactly why they listened to me. He did                 9   comfortable. I told him, "It will be okay. I'll go first.
10   the same thing I did. All I can tell you is that I am white            10   I'll hold this." He's like, "I don't know about this." He
11   and he is black, and we are covering social justice                    11   thought we were going to have an issue. And once that
12   protests.                                                              12   happened, we got back to our car. I asked permission from
13   Q. Was it your impression that he was not believed that he             13   the Guard, "Can we leave here?" And he said, "Yes, you're
14   was a journalist?                                                      14   fine."
15   A. That's my impression. He has spoken -- this happened to             15   Q. Were you able to take photographs as you walked with
16   him multiple times in other areas as well.                             16   your hands up?
17               MR. HSU: Objection, hearsay.                               17   A. No.
18               THE COURT: Overruled.                                      18   Q. So you were not able to do your job during -- after that
19               THE WITNESS: This is a problem right now. A lot            19   portion of the evening?
20   of agencies are being criticized for not sending                       20   A. (Shaking head.)
21   African-American photographers to cover social justice                 21   Q. I would like to move to the evening of April 16, 2021.
22   things and there's been a very conscious effort over the               22   That's a Friday. Where were you on that evening?
23   last couple of years to make sure that they're included and            23   A. I was at Brooklyn Center.
24   their voices are being heard and this sort of thing, and               24   Q. What time did you arrive in Brooklyn Center?
25   they're not treated the same way in many situations from my            25   A. I would say about 7:00.
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                   Page 105 to Page 108
                                                              EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 28 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                 July 28, 2021
                                                                 109                                                                      111
 1   Q. What was the crowd like on that evening?                           1   Q. Okay. So going back to Friday night, did you hear any
 2   A. There was a smaller number than the previous night. I              2   dispersal orders on Friday night?
 3   would say there was about 150 protesters out there. People            3   A. Not that I recall.
 4   were mostly standing in place talking around the outside of           4   Q. Did you observe a mass arrest on Friday night?
 5   the fence. At this point, to my recollection, there was a             5   A. I did.
 6   second fence that had been installed outside the department.          6   Q. About what time did that occur?
 7   The first night we got there, the night that Daunte was               7   A. I would say 10:02.
 8   killed, there was no fence, so protesters got all the way up          8   Q. Do you have -- what was your perception of what
 9   to the department up in front. And then the next night we             9   triggered that mass arrest starting?
10   came back, there was one fence there and then they had put a         10   A. I believe that officers were using the curfew as grounds
11   secondary protective fence up at this point. So people were          11   to make a mass arrest. I personally did not see anything
12   kind of standing around. There were some umbrellas. People           12   that night that warranted a mass arrest or arrest of anyone,
13   were hanging out and chatting for the most part.                     13   any individual. I believe their attempt was to quell future
14   Q. Did you see any fireworks?                                        14   protests.
15   A. I did.                                                            15               MR. HSU: Objection, speculation.
16   Q. Did you see them -- what direction did they go off?               16               THE COURT: Overruled.
17   A. Directly up or back behind the apartment complexes. So            17               THE WITNESS: So I can answer?
18   they were straight up in the air. I actually have some               18   BY MS. McGARRAUGH:
19   photos that were taken, you know, from those areas that were         19   Q. You can go ahead.
20   just fireworks that were nowhere near the department that I          20   A. So I do believe that their plan was to make a mass
21   saw. They were mostly straight up.                                   21   arrest and to scare people from coming back. I don't
22   Q. Did you personally observe any fireworks fired in the             22   believe there were grounds to make a mass arrest or make any
23   direction of law enforcement?                                        23   arrests in general. I thought that was their tactic.
24   A. I did not.                                                        24               I also believe that the previous night there were
25   Q. Did you observe anybody throwing bottles?                         25   a lot of -- there was a drone flying frequently, as well as
                                                                 110                                                                      112
 1   A. Yes.                                                               1   a helicopter, and I do believe they used it as intel on how
 2   Q. In your opinion, was the crowd violent?                            2   protesters dispersed from the area.
 3   A. No.                                                                3               And as soon as 10:02 hit, state troopers came in
 4   Q. Was it riotous?                                                    4   from the south and the east, sheriff in came from the corner
 5   A. Was not.                                                           5   of the fence, and they plugged up those areas instantly. He
 6   Q. How did it compare to the sort of atmosphere of the                6   said, "Plug the hole in the fence. Go over here." They
 7   crowd on the prior evening, that Thursday?                            7   watched exactly how activists left the area by using that as
 8   A. It was very similar. I would say it was even more                  8   intel.
 9   peaceful than the night before. It was very interesting.              9   Q. So you mentioned that you observed both the state
10   The night before word got out, I believe it was through              10   troopers and the sheriff during that rush. What happened in
11   Signal, which is an encrypted app that people use on their           11   that initial rush?
12   phone to talk to each other, and the word got out that there         12   A. It was pretty chaotic. No one expected to be rushed
13   was a kettle being set up around the protest by state                13   like this because nothing happened the previous night. It
14   troopers. A kettle is when they surround the protest in a            14   was very similar. It was just from the east there was a
15   circle and do a mass arrest. So this word got out very               15   line of probably 20 to 25 state troopers that came running
16   quickly between journalists, activists, everyone that was            16   in, as well as from the south, and they met with the sheriff
17   out there, and people started to disperse, like we don't             17   kind of in a jumble. They came in screaming, "Get on the
18   want to get arrested. We're -- no reason to be arrested,             18   ground, get on the ground, get on the ground," and they
19   we're just standing around, but we don't want to mess with           19   started taking people down to the ground and started
20   this. So this dispersal occurred over probably a 20-minute           20   arresting them.
21   period. By the time curfew hit, people were pretty much              21   Q. Where did you go?
22   dispersed.                                                           22   A. I stayed inside the kettle because I believed it was my
23   Q. Did you observe a confrontation between law enforcement           23   duty to document the arrests that were happening at the
24   and protesters or journalists on Thursday, April 15th?               24   time. That is generally the job of media, is to document
25   A. Not that I recall.                                                25   people in power to make sure their power is not being
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                 Page 109 to Page 112
                                                         EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 29 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                 July 28, 2021
                                                                 113                                                                      115
 1   abused.                                                                1             THE COURT: Would you publish it just so that I am
 2   Q. Can you turn to Exhibit 4 in your book, Plaintiffs'                 2   sure that we are on the same page as to what is being
 3   Exhibit 4. Just take a minute to page through it. Then                 3   offered, and then I'll hear from opposing counsel if there's
 4   when you are ready, let me know what this is.                          4   anything to be heard.
 5      (Witness reviews exhibit)                                           5             MS. McGARRAUGH: Just that call-out. Just the
 6   A. Okay.                                                               6   photograph.
 7   Q. What is this, Mr. Tuite?                                            7             THE COURT: Is there any objection?
 8   A. This is my Instagram post talking about what happened on            8             MR. HSU: No objection, Your Honor.
 9   April 16th. Again, this is posted on April 17th because I              9             THE COURT: It is received in the manner in which
10   got back after midnight.                                              10   you have offered it.
11               MS. McGARRAUGH: Plaintiffs offer their Exhibit 4.         11             MS. McGARRAUGH: Yes. And we will submit a copy
12               MR. HSU: State objects. The document is hearsay           12   of just this excerpt --
13   and presents hearsay testimony.                                       13             THE COURT: Please do.
14               THE COURT: Is it offered for the truth of the             14             MS. McGARRAUGH: -- following the hearing.
15   matter asserted?                                                      15             THE COURT: Thank you.
16               MS. McGARRAUGH: No, it's not. We're going to              16   BY MS. McGARRAUGH:
17   just talk about the photographs.                                      17   Q. All right. And then turning to the following page in
18               THE COURT: What's the purpose of the exhibit?             18   this document, which we can -- we don't have to publish
19               MS. McGARRAUGH: The purpose of the exhibit is to          19   this. We're going to do the same exercise again with this
20   refresh his recollection of what he saw and also to look at           20   next picture. What is the photograph on the following page,
21   the photographs that are included. From our perspective, we           21   page 4 of that Exhibit 4?
22   can disregard the text.                                               22   A. This is a state trooper making an arrest on the lawn
23               THE COURT: The objection is sustained. You may            23   inside of the kettle. Back behind them is a flashlight
24   use it to refresh recollection, but you don't admit exhibits          24   being shown on me from a state trooper.
25   to refresh recollection.                                              25   Q. Did that state trooper say anything to you as --
                                                                 114                                                                      116
 1               MS. McGARRAUGH: Okay.                                      1   A. Yes, he did.
 2   BY MS. McGARRAUGH:                                                     2   Q. What did he say to you?
 3   Q. All right. So if you can look at page 3 of this                     3   A. He said, "Media" -- do I have permission to cuss, to say
 4   document --                                                            4   in quotes for this?
 5               THE COURT: Or I should say you don't admit                 5             THE COURT: You may state what you heard.
 6   exhibits to refresh recollection.                                      6             THE WITNESS: "Media, get the fuck out of here
 7   BY MS. McGARRAUGH:                                                     7   now."
 8   Q. What is this page, speaking just about the photograph in            8   BY MS. McGARRAUGH:
 9   the center on page 3 here?                                             9   Q. Did you understand from that interaction that this state
10   A. Did you ask me what it is?                                         10   trooper recognized you as a member of the media?
11   Q. Yes.                                                               11   A. Yes, I did. Not only did he say, "Media, get the fuck
12   A. So this is when I'm inside the kettle and the mass                 12   out of here now," I held up my pass and he acknowledged that
13   arrests are happening. This is a photo of two protesters              13   I was media.
14   being arrested while holding hands by the sheriff's                   14             MS. McGARRAUGH: Okay. So plaintiffs offer just
15   department right in front of me. Back behind them there is            15   the photograph, this one as Exhibit 4-B --
16   a very large line of state troopers.                                  16             THE COURT: Okay.
17               MS. McGARRAUGH: Plaintiffs offer just this                17             MS. McGARRAUGH: -- in the same manner.
18   page -- and we will redact out the text -- just the                   18             THE COURT: I just want to make sure that I
19   photograph. We can call it Exhibit 4-A, and we will provide           19   understand what exhibit we are talking about. It's the
20   a redacted-out copy following the hearing.                            20   exhibit that's on the screen, correct?
21               THE COURT: This is Exhibit 4, page 3 that you're          21             MS. McGARRAUGH: Yes, just this call-out that
22   offering?                                                             22   pictures a state trooper standing over someone and then a
23               MS. McGARRAUGH: Yes, Your Honor. Just the part            23   light flashing in the photographer's lens right here.
24   that Ms. Anderson has excerpted on the screen, so just the            24             THE COURT: Okay. Any objection?
25   photograph.                                                           25             MR. HSU: No objection, Your Honor.
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                Page 113 to Page 116
                                                           EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 30 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                  July 28, 2021
                                                                   117                                                                     119
 1             THE COURT: That exhibit is received.                         1   I can see a member of the media holding their press pass up,
 2             MS. McGARRAUGH: Thank you.                                   2   which is inside the kettle, as they are being detained
 3   BY MS. McGARRAUGH:                                                     3   inside of the kettle.
 4   Q. What happened after you took this photograph?                       4             MS. McGARRAUGH: Plaintiffs offer their Exhibit 1.
 5   A. He charged up to me, along with about four other state              5             MR. HSU: No objection.
 6   troopers. He walked up and said, "Media, get the fuck out              6             THE COURT: Exhibit 1 is received.
 7   of this area now. You have to get the fuck out of here."               7             MS. McGARRAUGH: Permission to publish?
 8   And I said, "I am allowed to document." He said, "Get the              8             THE COURT: Yes, you may.
 9   fuck out of here now." And I put my hands up and I said,               9             MS. McGARRAUGH: Thank you.
10   "Okay, okay, okay."                                                   10   BY MS. McGARRAUGH:
11             I turned to my right as I was walking and I saw             11   Q. Zooming in on the center of this picture, in between
12   someone on the ground, which was being pinned by the foot of          12   those two state troopers, what do you see here?
13   a police officer. I took photos for a total of four                   13   A. I see a photographer that has a gas mask on holding up
14   seconds. I looked at the metadata inside. When you take a             14   the press credential while he's inside the kettle.
15   photo, it shows you exactly when each photo was taken. Four           15   Q. Where did the state troopers eventually direct you?
16   seconds. That turned out to be Tim Evans, a photographer.             16   A. One trooper came out and said, "You need to leave the
17             I then went to walk again. He told me to walk               17   area." And we said, "Why do we have to leave the area? We
18   north, and I was grabbed from behind by a trooper. He                 18   are trying to take photos." He said, "No. You need to
19   grabbed my hood, pulled me backwards and said, "You're under 19            leave the area now." We're like, "This is public. We can
20   arrest," and pulled me enough to rip the neck of my shirt.            20   document in public. We are not obstructing you in any way."
21   Q. What happened after that?                                          21   He said, "No. You need to leave immediately." He said, "Go
22   A. Another state trooper, who may have been a captain, came           22   two blocks up to the gas station on the corner."
23   and he grabbed my arm and pulled me away from that trooper.           23   Q. From that vantage point, could you see the ongoing
24   He said, "Come this way" and he said, "Go north." He walked           24   arrests in the kettle?
25   me up to the back side of the apartment building. And I was           25   A. Could I see what?
                                                                   118                                                                     120
 1   listening to him, going north. I get around the corner and             1   Q. From the gas station two blocks up, could you see the
 2   I have five more troopers come up to me and get into my face           2   ongoing arrests in the kettle?
 3   and say, "What the fuck did you not hear? I told you to                3   A. Absolutely not.
 4   leave." One trooper came up and put pepper spray in my                 4   Q. Could you do your job from there?
 5   face. He said, "You had your fucking free pass. What, are              5   A. I was not even allowed to do my job. They made us get
 6   you stupid? We told you to fucking leave the area."                    6   into a line here and they said we need to have our faces
 7   Q. What happened then?                                                 7   photographed, our media credentials, as well as our IDs. I
 8   A. I continue to leave the area, and apparently I wasn't               8   tried to walk to the right to take a photo of someone
 9   walking fast enough. They said, "Go fucking faster, go                 9   getting arrested. He said, "Get back in line. You are not
10   fucking faster, go, go, go, go faster," just very                     10   allowed to document. Get back in line," the state trooper
11   aggressively kind of pounding their chest, trying to                  11   to me.
12   intimidate me to not be able to do my job anymore. I got              12             So we get into the line. I was forced to take my
13   past the fence. After that happened, they directed us to              13   gas mask off as well as my helmet to have my face
14   this area outside of the kettle. The area outside of the              14   photographed at close range on their -- keep in mind it's
15   kettle was behind a line of state troopers. They were                 15   also a pandemic. The officer did not have a mask on. So I
16   obstructing our view completely of what was happening inside          16   had to take all protective gear off to get my face
17   the kettle.                                                           17   photographed before I could leave the kettle. People that
18   Q. All right.                                                         18   were inside the kettle were not allowed to leave until we
19   A. They told us to document from there.                               19   let them photograph us.
20   Q. So I would like to look at Plaintiffs' Exhibit Number 1.           20   Q. So drawing your attention to Exhibit 5 here, Plaintiffs'
21   Can you tell me what this exhibit is.                                 21   Exhibit 5 --
22   A. This is the view that they gave us to document from                22             MS. LANDRUM: Your Honor?
23   outside of the kettle. As you can see, there are state                23             THE COURT: Yes.
24   troopers standing there with their backs turned. Sometimes            24             MS. LANDRUM: The defense would --
25   their face is to us. You can basically just see their legs.           25             COURT REPORTER: Is your microphone on?
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                 Page 117 to Page 120
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 31 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                July 28, 2021
                                                                121                                                                     123
 1               MS. LANDRUM: Oh, I'm sorry.                               1                MS. McGARRAUGH: I would like to publish it.
 2               THE COURT: If it is, you may be seated and remain         2                THE COURT: You may.
 3   seated while you are speaking, just so that we have access            3                MS. McGARRAUGH: Thank you.
 4   to the microphone and it's comfortable for you to express             4   BY MS. McGARRAUGH:
 5   yourself.                                                             5   Q. While we're looking at this, I want to talk just briefly
 6               MS. LANDRUM: Absolutely. I apologize, Your                6   about the press pass that you were wearing. Is this the
 7   Honor.                                                                7   press pass that you were wearing the entire time that you
 8               Just as it was becoming published, I just wanted          8   were in Brooklyn Center?
 9   to note for the record that driver's license data is                  9   A. Yes, it is.
10   protected under the Data Practices Act. I understand that            10   Q. Okay. And how are you wearing it?
11   this is this witness's photograph and that later a driver's          11   A. Around my neck. There's a lanyard that pulls all the
12   license is going to be displayed with his permission. I              12   way around my neck and then it sits in front of my chest.
13   just wanted to note that for the record.                             13   Q. You were carrying two photographs, I believe you
14               THE COURT: Okay. The record is so noted.                 14   testified?
15   BY MS. McGARRAUGH:                                                   15   A. I was carrying what?
16   Q. On this Exhibit 5, whose photograph is on this page?              16   Q. Excuse me. Not two photographs. Two cameras?
17   A. That is a picture of me that was taken from the state             17   A. Correct.
18   trooper.                                                             18   Q. What other gear did you have?
19   Q. Okay. And then below that, do you see a map?                      19   A. I had a helmet, a full-face gas mask. I had a
20   A. Yes, I do.                                                        20   bulletproof vest with plates inside of it. I had a cup. I
21   Q. Is that map approximately where your face was                     21   had shin guards.
22   photographed by state troopers?                                      22   Q. Why do you wear protective equipment?
23   A. Yeah, it looks accurate to me.                                    23   A. This documentation can be very dangerous in a lot of
24   Q. And do you see in the corner that there is a text that            24   ways. Many times I find myself dodging rubber bullets,
25   says, "STATEDEF0000148"?                                             25   ducking. I had a flash-bang go off directly on my head
                                                                122                                                                     124
 1   A. Yes, I do.                                                         1   before, exploded on top of my helmet. Thankfully I had the
 2               MS. McGARRAUGH: Plaintiffs offer their Exhibit 5.         2   helmet. I also usually use earplugs because the flash-bangs
 3               MR. HSU: No objection.                                    3   are very loud and they are generally thrown
 4               THE COURT: The exhibit is received.                       4   indiscriminately. Flash-bangs, they just kind of chuck them
 5   BY MS. McGARRAUGH:                                                    5   up over a fence. They want to make sure people are
 6   Q. Is it your understanding that this is the photograph               6   uncomfortable and they want them to leave. Those
 7   that was taken of you by the state troopers?                          7   flash-bangs are very rattling. You can feel it in your
 8   A. Yes, it is.                                                        8   bones. It's essentially like an explosion. It is not
 9   Q. Looking at Exhibit 6, what's photographed at the top of            9   comfortable at all.
10   this page?                                                           10                I know photographers that have been hit and
11   A. That's my independent press pass, and then below it is            11   wounded severely by rubber bullets. I have met people who
12   my driver's license.                                                 12   have lost their eyes by being shot by a rubber bullet.
13   Q. Okay. You see that any identifying information on the             13   Soren Stevenson, if you recall, last year here in Minnesota
14   driver's license has been redacted out?                              14   lost his eye from a rubber bullet.
15   A. Yes, I do.                                                        15   Q. All right. On the evening of April 16 through -- or 11
16   Q. And the map right below that, does this again depict              16   through 16, 2021, that's a Sunday through Friday, did you
17   approximately where these photographs were taken, to your            17   observe anyone claiming to be a journalist who was not?
18   knowledge?                                                           18   A. I did not.
19   A. To my knowledge, yes, it does.                                    19   Q. What is your experience covering protests?
20               MS. McGARRAUGH: Defendants offer -- excuse me.           20   A. It is a wide range of experience. I was fortunate to be
21   Plaintiffs offer their Exhibit 6.                                    21   able to travel the country this last year to document this.
22               THE COURT: Exhibit 6, is that what --                    22   I spent time in Portland; in Seattle; in Louisville,
23               MS. McGARRAUGH: Yes, Your Honor.                         23   Kentucky; here; New York City; Washington, D.C.; Richmond,
24               MR. HSU: No objection.                                   24   Virginia; Philadelphia.
25               THE COURT: Exhibit 6 is received.                        25   Q. Have you observed other law enforcement agencies
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                Page 121 to Page 124
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 32 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                July 28, 2021
                                                                  125                                                                      127
 1   handling protests?                                                   1   be a response.
 2   A. Many.                                                             2              MS. McGARRAUGH: Sure.
 3   Q. Which ones, if you can recall?                                    3   BY MS. McGARRAUGH:
 4   A. LMPD, which is Louisville, Kentucky, Police Department.           4   Q. Why did you think it was important for journalists to be
 5   I observed Capitol Police handling Stop the Steal rallies.           5   able to cover the Derek Chauvin verdict?
 6   I observed D.C. Metro Police. I observed in Portland a wide          6   A. Because I believe that the truth needed to be told. I
 7   variety. So when I was in Portland was the time they were            7   believe that this documentation of this time in our life is
 8   protecting the federal courthouse. So there were federal             8   very important to show what's actually happening. I believe
 9   officers there protecting the courthouse. There was BORTAC.          9   that, with the way social media is these days, there is a
10   There was ICE. There was Department of Homeland Security. 10             lot of information that is not checked. I believe that
11   There were a lot of officers there protecting the                   11   sources need to have accurate documentation as well as
12   courthouse. I also saw officers in Seattle, so Seattle PD,          12   photographic evidence of what's actually happening.
13   as well as Richmond PD and NYPD.                                    13              People believe almost anything these days with
14   Q. How does your experience with Minnesota state troopers'          14   social media. People are going to YouTube for information.
15   treatment of you as a journalist compare to your                    15   We're seeing social media play huge parts in understanding
16   observations of other law enforcement's interactions with           16   of basically anything. Opinions are swayed on a YouTube
17   journalists?                                                        17   video.
18   A. The state troopers, to me directly, were by far the most         18              So I do believe that people being out and on the
19   aggressive and intimidating. I --                                   19   ground here and doing real documentation is a service that
20   Q. What's different about how Minnesota state troopers              20   is integral to our democracy.
21   interacted with you?                                                21              MS. McGARRAUGH: I have nothing further.
22   A. They tried to intimidate me from being in an area.               22              THE COURT: Is there cross examination for this
23   Generally in other areas, if you're not obstructing an              23   witness?
24   officer while they are making arrest, if you are a safe             24              MR. HSU: Yes, Your Honor.
25   distance, you're allowed to do your job. If you get too             25              THE COURT: Counsel, I think we should take our
                                                                  126                                                                      128
 1   close, they say, "Back up, back up, back up." Not once did           1   lunch break now, and we will begin again at 1:00. Okay? So
 2   I ever have an officer get in my face and say, "Get the fuck         2   everyone please be ready to resume the hearing at 1:00 p.m.
 3   out of here," not once, including federal officers, like I           3       (Lunch recess taken at 12:28 p.m.)
 4   said, ICE, LNPD, NYPD, not once was I threatened like that           4                        * * * * *
 5   with arrest.                                                         5       (1:15 p.m.)
 6   Q. If an officer asks you to back up, do you comply with             6                          IN OPEN COURT
 7   that kind of direction?                                              7              THE COURT: We are ready to resume.
 8   A. Absolutely.                                                       8              MR. HSU: Is the podium all right?
 9   Q. Why did you contact the ACLU?                                     9              THE COURT: I didn't hear you.
10   A. I was very concerned with what was happening here. I             10              MR. HSU: Is the podium permissible for the cross?
11   was here to cover the Derek Chauvin trial. I knew what              11              THE COURT: Yes, it is. And you may adjust the
12   happened last year. I was scared this was going to happen           12   height if you need to.
13   to us with the verdict coming in. I didn't feel safe. I             13              MR. HSU: My understanding is the mask can be
14   didn't feel that we would be allowed to do our jobs. We             14   removed as well?
15   didn't know what was going to happen with the verdict,              15              THE COURT: You may.
16   obviously, but if stuff started to hit the fan, we thought          16                        CROSS EXAMINATION
17   we were going to be detained because State Patrol, to my            17   BY MR. HSU:
18   knowledge, has jurisdiction in the state. So I assumed              18   Q. Good afternoon, sir. My name is Alexander Hsu. I'm
19   that --                                                             19   here today representing the state defendants in this matter,
20             MR. HSU: Objection, speculation, foundation.              20   Minnesota Department of Public Safety and the Minnesota
21   This witness has no basis to testify as to the                      21   State Patrol.
22   jurisdictional authority.                                           22              And just to make sure I'm saying it right, it's
23             THE COURT: Sustained.                                     23   Mr. Tuite?
24             THE WITNESS: Okay. So I --                                24   A. Correct.
25             THE COURT: Let's pose a question and there will           25   Q. To begin, I would like to talk with you about your
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                               Page 125 to Page 128
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 33 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                              July 28, 2021
                                                                  129                                                                  131
 1   experience on April 13, 2021 that you described previously.          1            COURT REPORTER: Excuse me. I think you are just
 2   You stated that the State Patrol was issuing dispersal               2   talking over him. If you would just wait until he is done
 3   orders to the crowd; is that correct?                                3   with his question, we can hear your answer.
 4   A. Correct.                                                          4            THE WITNESS: Sorry.
 5   Q. About -- you heard about 50 times that order was issued?          5            MR. HSU: I can repeat the question.
 6   A. 50 times specifically talking about media need to leave           6            THE COURT: You may.
 7   the area, yes.                                                       7   BY MR. HSU:
 8   Q. A general order was also being issued to the crowd?               8   Q. You didn't recognize the individual driving the car
 9   A. My recollection, yes, but generally it was targeted,              9   prior to that evening?
10   saying, "Media leave the area." That's what I recall,               10   A. No, I did not.
11   "Media leave the area" about 50 times.                              11   Q. And that vehicle wasn't marked as press or media, was
12   Q. And that was issued over the course -- those 50 times            12   it?
13   was issued over the course of approximately an hour?                13   A. No.
14   A. Yes, sir.                                                        14   Q. And when you got in the vehicle, you were riding in the
15   Q. And dispersal orders across that time were also being            15   back seat; is that correct?
16   issued to the crowd?                                                16   A. Yes, sir.
17   A. Yes, sir.                                                        17   Q. Was Mr. McFadden in the back seat as well?
18   Q. And you stated that a fire was started in the middle of          18   A. Yes, sir.
19   the street near --                                                  19   Q. And officers then detained that vehicle and asked you to
20   A. Yes.                                                             20   leave the vehicle?
21   Q. -- the police department?                                        21   A. They pulled the driver out of the car. I never saw them
22             And it was after that fire started that officers          22   again.
23   began to advance towards the crowd?                                 23   Q. Officers detained you and pulled you out of the car as
24   A. Yes, sir.                                                        24   well?
25   Q. So the fire was the trigger for the advance?                     25   A. Yes, sir.
                                                                  130                                                                  132
 1   A. It appeared to be that way, yes.                                  1   Q. And they pulled Mr. McFadden out of the car?
 2   Q. And you testified previously that you witnessed officers          2   A. Yes, sir.
 3   arresting and detaining individuals throughout the crowd as          3   Q. And you showed your press badge to the officers?
 4   they advanced?                                                       4   A. Yep. I held it up to the window, screamed it 50 times,
 5   A. Yes.                                                              5   and then after I got out of the car as well, yes.
 6   Q. And they did so after they had issued the previous                6   Q. And after they pulled you out of the car, they
 7   dispersal orders over the preceding hour?                            7   subsequently released you after they confirmed you were
 8   A. Yes, sir.                                                         8   press?
 9   Q. But the crowd did not disperse in response?                       9   A. Yes, sir.
10   A. [Inaudible.]                                                     10   Q. And they also subsequently released Mr. McFadden after
11             COURT REPORTER: I didn't hear the answer.                 11   they confirmed that he was press?
12             THE WITNESS: I said, "No." Sorry.                         12   A. After I helped them confirm he was press, yes, sir.
13   BY MR. HSU:                                                         13   Q. And you testified today that you didn't have any further
14   Q. Is it correct that you attempted to leave the area in            14   issue after you were released following that brief encounter
15   response to the dispersal orders?                                   15   near the vehicle?
16   A. I attempted to leave the area in a car, yes, sir.                16   A. No physical issue, no, but I was not allowed to document
17   Q. And that car was driven by, you described, a Good                17   inside the area anymore.
18   Samaritan?                                                          18   Q. But you were free to leave the area?
19   A. Yes.                                                             19   A. Yes, sir.
20   Q. Did you know who that person was --                              20   Q. I would like to move to the events of April 15, 2021.
21   A. [Inaudible.]                                                     21   You testified that during that evening the crowd dispersed;
22   Q. -- to that night?                                                22   is that correct?
23             THE COURT: You have to answer with words. I did           23   A. Yes, sir.
24   not hear your words.                                                24   Q. And that was prior to the curfew?
25             THE WITNESS: I'm sorry. I did not.                        25   A. To my recollection, it was just before the curfew and it
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                             Page 129 to Page 132
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 34 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                  July 28, 2021
                                                                  133                                                                         135
 1   kind of filtered through the curfew. So maybe 10:20, 10:30             1               MS. McGARRAUGH: He has the plaintiffs' book.
 2   everyone seemed to be just about gone.                                 2               MR. HSU: Permission to approach, Your Honor?
 3   Q. And you didn't observe any encounters between protesters            3               THE COURT: You may.
 4   and law enforcement officers on that evening?                          4   BY MR. HSU:
 5   A. Not to my recollection, no. Nothing of a serious                    5   Q. I'm showing you what's been marked as Defense
 6   nature, no.                                                            6   Exhibit 25. Mr. Tuite, you have that document in front of
 7   Q. And there were dispersal orders issued that evening as              7   you and it's entitled Second Declaration of Chris Tuite; is
 8   well; is that correct?                                                 8   that correct?
 9   A. From my recollection, there were.                                   9   A. Yes, sir.
10   Q. And the crowd dispersed in response to them?                       10   Q. And that's your name, correct?
11   A. The crowd dispersed, yes.                                          11   A. Chris Tuite, yes.
12   Q. I would like to now talk about the events of April 16,             12   Q. Do you recall signing a declaration similar to this
13   2021. On that evening you were located near the Brooklyn              13   document?
14   Center Police Department, correct?                                    14   A. Yes.
15   A. Yes, sir.                                                          15   Q. I'll give you a chance to review it. Would you -- is
16   Q. And you testified that fireworks were being shot off in            16   this a true and accurate copy of the declaration that you
17   the area?                                                             17   submitted?
18   A. Yes, sir.                                                          18      (Witness reviews exhibit)
19   Q. Multiple fireworks?                                                19   A. Yes, sir.
20   A. Yes. Up in the air, yes, sir.                                      20   Q. And this was a sworn declaration; is that correct?
21   Q. And the dispersal order was issued at that time as well;           21   A. Yes, sir.
22   is that correct?                                                      22   Q. On the last page, that's your signature?
23   A. Not that I recall, sir.                                            23   A. Yes, sir.
24   Q. You don't recall any dispersal order?                              24   Q. Dated May 30, 2021?
25   A. I don't recall a dispersal order.                                  25   A. Yes, sir.
                                                                  134                                                                         136
 1   Q. Is it possible that you didn't hear any dispersal order             1   Q. And you were telling the truth when you signed this
 2   that was issued?                                                       2   declaration; is that correct?
 3   A. I was standing near the fence and I'm pretty perceptive.            3   A. Yes, sir.
 4   I'm pretty sure I would have heard the order.                          4   Q. And you just testified that no dispersal order was
 5   Q. So is it your testimony today that no dispersal order               5   issued on the evening of April 16th; is that correct?
 6   was issued on April 16th?                                              6   A. Not that I recall.
 7   A. I do not recollect a dispersal order being issued.                  7   Q. Mr. Tuite, I would ask you to please read silently along
 8               MR. HSU: Your Honor, we would ask to publish to            8   as I read aloud on page 4, paragraph 9, of the declaration.
 9   the Court and to the witness what's been previously marked             9   A. Whoa. I don't have a page 4. I have page 1, 3, and 5.
10   as Defense Exhibit 25.                                                10   Q. Mr. Tuite, are they double-spaced on the back side?
11               THE COURT: Is there any objection?                        11   A. Oh. There we go.
12               MS. McGARRAUGH: No.                                       12   Q. And I will direct you again to page 4, paragraph 9.
13               THE COURT: Okay. You may.                                 13   A. Yes, sir.
14               MR. HSU: Excuse me, Your Honor. One moment. May 14             Q. "My recollection is that on April 16, no dispersal order
15   I retrieve a paper from counsel table?                                15   was issued" --
16               THE COURT: Yes, you may.                                  16               THE COURT: Are you asking him to refresh his
17      (Pause)                                                            17   recollection?
18   BY MR. HSU:                                                           18               MR. HSU: Yes, Your Honor.
19   Q. Mr. Tuite, do you have Exhibit Number 25 in front of you           19               THE COURT: Okay. So he can look at it. You
20   right now?                                                            20   don't need to read it for him. And then you can pose your
21   A. Yes, sir. It's a few pages.                                        21   question.
22   Q. And this document is titled the Second Declaration of              22   BY MR. HSU:
23   Chris Tuite; is that correct?                                         23   Q. Mr. Tuite, I would ask you to please read through that
24   A. I don't see that in Number 25, no. I see a letter from             24   paragraph. Let me know when you have read it.
25   Paul Schnell.                                                         25      (Witness reviews exhibit)
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                 Page 133 to Page 136
                                                             EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 35 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                               July 28, 2021
                                                                137                                                                  139
 1   A. Okay.                                                            1   Q. And when he grabbed you, you were still within that mass
 2   Q. Does that refresh your recollection of the events of             2   arrest area --
 3   April 16, 2021?                                                     3   A. Yes, sir.
 4   A. Well, it was essentially simultaneous saying, "Get on            4   Q. -- is that correct?
 5   the ground." That was what I am trying to say here. When            5              You were -- eventually another officer pulled you
 6   they said, "Get on the ground," they didn't say, "You have          6   away from that encounter; is that right?
 7   ten minutes to disperse," if that makes sense. Like by              7   A. That's correct.
 8   10:02 there was a swarm.                                            8   Q. And that was a state trooper?
 9   Q. And officers were directing the crowd to --                      9   A. Yes, sir.
10   A. Get on the ground.                                              10   Q. And he directed you to move north out of the area?
11   Q. You testified that officers were conducting a mass              11   A. Yes, sir.
12   arrest --                                                          12   Q. And that's when you ended up near a gas station; is that
13   A. Yes, sir.                                                       13   correct?
14   Q. -- on April 16th?                                               14   A. There's time in between that. So in between that we
15               And officers were attempting to encircle the           15   were out of the zone and directed to the area behind the
16   crowd; is that correct?                                            16   kettle, which is the photo that they put into the exhibit
17   A. Yes.                                                            17   where there's an obstructed view with a person holding up a
18   Q. And you recognized that they were conducting a mass             18   press pass. So I attempted to photograph there before
19   arrest at that time --                                             19   another trooper came over and said, "You need to leave the
20   A. Yes, sir.                                                       20   area completely."
21   Q. -- when they started the encirclement?                          21   Q. And then he directed you to move north?
22   A. Yes, sir.                                                       22   A. He said, "Leave the area now. Go to the gas station."
23   Q. And you chose intentionally to remain within the                23   Q. And you obeyed his order at --
24   encirclement; is that --                                           24   A. Yes, sir.
25   A. Yes. I stayed there to document the arrests, yes, sir.          25   Q. -- that time?
                                                                138                                                                  140
 1   Q. Officers directed you specifically to leave the area; is         1              And you testified that as you were moving that
 2   that correct?                                                       2   way, that one trooper held what appeared to you as a
 3   A. Yes, sir.                                                        3   chemical dispersal -- dispersant?
 4   Q. And you continued to stay within the mass arrest area?           4   A. Yes, sir.
 5   A. Yes, sir. I stood on the sidewalk and in the grass in            5   Q. But he didn't fire that at you, did you?
 6   an area that was not obstructing to them.                           6   A. No.
 7   Q. That remained within the encirclement area; is that              7   Q. He didn't use it on you?
 8   correct?                                                            8   A. He did not.
 9   A. Yes, sir.                                                        9   Q. Did you have any further physical interaction with
10   Q. And officers repeatedly directed you to leave the area;         10   troopers prior to arriving at the gas station?
11   is that correct?                                                   11   A. Between that time?
12   A. Yes, sir.                                                       12   Q. Yes.
13   Q. Is it your standard practice to disobey police orders?          13   A. I do believe there was a small shove in the back when I
14   A. No, sir.                                                        14   wasn't walking fast enough, but nothing other than that.
15   Q. Yet when police ordered you to leave the area, you              15   Q. And was that -- it was at the gas station that you were
16   refused; is that correct?                                          16   photographed?
17   A. I stood to take photos.                                         17   A. Yes, sir.
18   Q. Within a mass arrest zone?                                      18   Q. And those are the exhibits that you testified to?
19   A. Yes, sir.                                                       19   A. Yes, sir.
20   Q. Despite the fact that officers were directing you to            20   Q. After those photographs were taken, you were allowed to
21   leave that area?                                                   21   leave; is that correct?
22   A. Yes, sir.                                                       22   A. We were told to go across the street from the gas
23   Q. And you testified that you were -- one officer grabbed          23   station, and all the media was kind of lined up right there.
24   you by your coat; is that correct?                                 24   This is murky because the roads are all blocked. So being
25   A. Yes, sir.                                                       25   able to leave means going through a zone of an active
                                                           Lori A. Simpson, RMR-CRR
                                                                   651-848-1225
                                                                                                             Page 137 to Page 140
                                                         EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 36 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                               July 28, 2021
                                                                141                                                                        143
 1   protest with police. So I would say, no, I was not able to           1   only documents are discussed. It's my understanding that
 2   leave at that time.                                                  2   the procedure is going to be to close the courtroom to
 3   Q. Were you arrested?                                                3   anyone other than the parties during that period of time.
 4   A. No, sir.                                                          4   There's some folks in the gallery. I don't know if now is a
 5   Q. Were you detained?                                                5   good time to make that determination or the Court would just
 6   A. No, sir.                                                          6   prefer to wait, but I figured, since I'm standing here, I
 7                MR. HSU: No further questions.                          7   would raise it.
 8                THE COURT: Anything further for this witness?           8             THE COURT: Does counsel wish to be heard on this
 9                MS. McGARRAUGH: Just very briefly.                      9   matter?
10                THE COURT: You may.                                    10             MS. LANDRUM: Your Honor, attending with state
11                        REDIRECT EXAMINATION                           11   defendants are counsel for state defendants.
12   BY MS. McGARRAUGH:                                                  12             THE COURT: I'm going to ask you either to be
13   Q. You just testified about a state trooper holding pepper          13   seated or you can come to the podium. I'm sorry for the
14   spray up to you?                                                    14   logistics, but we have --
15   A. Yes, sir.                                                        15             MS. LANDRUM: Absolutely.
16   Q. Did you understand that to be a threat?                          16             THE COURT: -- to make sure that we can hear and
17   A. I did.                                                           17   make --
18   Q. All right. And then --                                           18             MS. LANDRUM: Absolutely. Of course, Your Honor.
19   A. He screamed at me, "You had your free pass. Are you              19   Present with state defendants today, Your Honor, are,
20   fucking stupid?"                                                    20   outside of Commissioner Harrington and our witness, Major
21   Q. During the time that you were being photographed by the          21   Dwyer, are our general counsel for Minnesota State Patrol as
22   gas station -- about how long did that take?                        22   well as counsel for the Department of Public Safety. We
23   A. I would say the line took about ten minutes to get to            23   would like for them to remain as a part of our legal team,
24   the front.                                                          24   of course. We also have someone from the Attorney General's
25   Q. Were you allowed to document the proceedings during that 25           Office. One of our law clerks who is here observing is a
                                                                142                                                                        144
 1   time?                                                                1   part of the Attorney General's Office. And we also have
 2   A. No. I tried. There was an arrest happening to the                 2   Bruce Gordon with us, who is the director for Department of
 3   right, and I walked over there. I got about ten seconds and          3   Safety with regard to communications. These are all
 4   the state trooper walked up and said, "Get back in line.             4   high-level officials for the Department of Safety. Because
 5   That's enough."                                                      5   the Department of Safety is sued in its official capacity,
 6                MS. McGARRAUGH: We have nothing further.                6   we would like for them to be able to stay for that purpose.
 7                THE COURT: Anything further for this witness?           7   And the other two individuals in the back I don't actually
 8                MR. HSU: No, Your Honor.                                8   recognize on state defendants' side.
 9                THE COURT: Okay. You may be excused.                    9             With regard to parties, Your Honor, the defendants
10                THE WITNESS: Thank you, Your Honor.                    10   would take the position that Mr. Tuite is not a party and
11      (Pause)                                                          11   that's because he is not a named plaintiff in this case. It
12                MR. RIACH: Excuse me, Your Honor. Can I ask a          12   is a putative class action, but the class action hasn't been
13   question of the Court?                                              13   certified. So to the extent that those documents are being
14                THE COURT: You may.                                    14   referenced, those types of -- even though he was a witness
15                MR. RIACH: Mr. Tuite is finished testifying. May       15   today, I believe he would have to leave the courtroom.
16   he remain in the courtroom?                                         16             THE COURT: So your view is Mr. Tuite does need to
17                THE COURT: Yes. Has he been excused as a               17   leave the courtroom?
18   witness?                                                            18             MS. LANDRUM: That's correct, Your Honor.
19                MS. McGARRAUGH: Yes.                                   19             THE COURT: Okay. And then you said there are
20                THE COURT: Okay. He may remain, yes.                   20   other individuals in the rear who are members of your
21                MR. RIACH: Thank you, Your Honor.                      21   organization; is that correct?
22                And then one more kind of housekeeping point, Your     22             MS. ROBERTSON: I'm sorry, Your Honor. I am
23   Honor. I think before we begin with the State's witnesses,          23   Heather Robertson. I'm the attorney for the City of
24   it might be a good idea to just make sure we understand who         24   Minneapolis, here with my co-counsel, Sharda Enslin and
25   will need to be excused when confidential or attorneys' eyes        25   Kristin Sarff. And Mr. Joe Kelly, who is the attorney for
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                               Page 141 to Page 144
                                                          EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 37 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                    145                                                                       147
 1   Defendant Robert Kroll, is also present here.                          1             THE COURT: Are we ready to proceed?
 2                THE COURT: Okay. Thank you. Is there any                  2             MR. HSU: Yes, Your Honor.
 3   objection to these individuals remaining in the courtroom?             3             THE COURT: You may.
 4                MS. LANDRUM: Because they are counsel, no, Your           4                           (John Harrington)
 5   Honor. They would have received these documents under the              5                           DIRECT EXAMINATION
 6   protective order.                                                      6   BY MR. HSU:
 7                THE COURT: Okay. Anything further to address as           7   Q. Commissioner Harrington, good afternoon.
 8   to who is present in the courtroom at this time?                       8   A. Good afternoon.
 9                MR. RIACH: I think that covers everybody, Your            9   Q. Could you please tell the Court where you are currently
10   Honor, and we are in agreement with the State --                      10   employed.
11                THE COURT: Very well.                                    11   A. I'm currently employed as the commissioner of the
12                MR. RIACH: -- on how to proceed. We are fine --          12   Minnesota Department of Public Safety.
13                THE COURT: We are ready to proceed. I'm sorry.           13   Q. And how long have you been serving as a commissioner?
14   I spoke over everyone else. So please finish what you said            14   A. I've been serving as commissioner since January of 2019.
15   and make sure that we have a clear record.                            15   Q. Can you briefly describe your job duties as the
16                MR. RIACH: Nothing else to say, Your Honor.              16   commissioner of Public Safety.
17                THE COURT: Okay. Are we ready to proceed, then?          17   A. The commissioner of the Department of Public Safety is a
18   Okay. You may.                                                        18   cabinet-level official reporting to the governor. I oversee
19                MR. HSU: Your Honor, the State would call                19   the Department of Public Safety, which is comprised of
20   Commissioner John Harrington as a witness.                            20   14 divisions that oversee public safety in both the law
21                THE COURT: Please.                                       21   enforcement sense and the fire and emergency management
22                COURT REPORTER: Would you raise your right hand,         22   sense. Also oversees victim services and driver's license
23   please.                                                               23   and vehicle services.
24      (Witness sworn)                                                    24   Q. Prior to that role, were you employed in the law
25                COURT REPORTER: You can have a seat in the               25   enforcement field?
                                                                    146                                                                       148
 1   witness stand. If you would state your name, spelling your             1   A. Yes, I was.
 2   first and last name, please.                                           2   Q. Can you briefly describe that prior experience.
 3                THE WITNESS: My name is John Mark Harrington.             3   A. Absolutely. I started policing in 1977 with the City of
 4   Last name is spelled H-a-r-r-i-n-g-t-o-n.                              4   St. Paul as a police officer. I rose through the ranks over
 5                THE COURT: And, Commissioner Harrington, as you           5   the course of the next 30 years or so to the rank of senior
 6   are comfortable, you may remove your mask if you would like            6   commander, and then promoted from there by Mayor Randy Kelly
 7   to, but I will --                                                      7   as the chief of police in 2004. I served as chief of police
 8                THE WITNESS: Thank you very much, Your Honor.             8   for the City of St. Paul from 2004 to 2010. At the end of
 9                THE COURT: -- leave you to do as you would like.          9   my term, I was elected to the Minnesota State Senate for the
10                And you may proceed.                                     10   biennium year, so 2010 to 2012, and then returned to law
11                MR. HSU: Your Honor, we're just going to put --          11   enforcement as the chief of police for the Metropolitan
12   we have a physical copy of the exhibits for ease. I'm just            12   Transit Police, where I served from 2012 until twenty --
13   going to put it in front of the witness and --                        13   until I left to take this assignment with Governor Walz.
14                THE COURT: You may.                                      14   Q. In total, how many years of law experience would you
15                MR. HSU: -- request permission as we move.               15   estimate you have?
16                THE COURT: And I don't know what the other               16   A. 44 years, I would say. That's a pretty good ballpark.
17   exhibit -- does the other exhibit book need to be there at            17   Q. And you've already touched on some of it, but I would
18   this time?                                                            18   like to get a little more background on the Department of
19                MR. RIACH: Your Honor, I can -- with permission          19   Public Safety. Could you describe its role and what the
20   to approach, I can come get our exhibit book.                         20   Department serves in terms of state functions.
21                THE COURT: I think just because of the size, if          21   A. Certainly. The Department of Public Safety is the
22   we can remove one and make sure that Commissioner Harrington          22   agency that both serves and protects Minnesotans on a
23   has enough space to be able to look at the documents, that            23   statewide basis. We do that through administration of
24   would be great.                                                       24   programs, such as officer justice programs, where we serve
25      (Pause)                                                            25   victims; officer traffic safety, where we work to increase
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                 Page 145 to Page 148
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 38 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                July 28, 2021
                                                               149                                                                        151
 1   traffic safety. But we also serve it in education in terms           1   Q. Why not?
 2   of educating the public in terms of victims rights,                  2   A. The state of Minnesota is made up of 87 counties and
 3   services.                                                            3   then countless individual local jurisdictions, each of which
 4               And then what is probably most notable in this           4   has local policing authority over what happens in their
 5   context is we serve as the enforcement arm of the state, at          5   jurisdiction, whether it's in their town or their city or
 6   least in some part, because we oversee the Minnesota State           6   within their county.
 7   Patrol, the Minnesota Bureau of Criminal Apprehension, and           7            The Minnesota State Patrol's jurisdiction is
 8   the Alcohol and Gambling Enforcement. That's not all of the          8   statewide in the sense that it is on any of the trunk
 9   officers or peace officers that work for the State, DNR has          9   highways that cross the state from north to south or east to
10   a separate section and they are run by that agency, but the         10   west, but we have no local jurisdiction to investigate
11   majority of peace officers in the state of Minnesota work           11   crimes outside of our primary purview.
12   under the Department of Public Safety.                              12   Q. Does the State Patrol have any authority over city or
13   Q. Does the Department of Public Safety have an Internal            13   county law enforcement entities?
14   Affairs Division?                                                   14   A. No, it does not.
15   A. Yes, it does.                                                    15   Q. And you mentioned that the State Patrol and Department
16   Q. Is that a separate division from the Minnesota State             16   of Public Safety can assist local entities. What role does
17   Patrol?                                                             17   the State Patrol play in that regard?
18   A. Yes, it is.                                                      18   A. The State Patrol's role when we're called to assist, we
19   Q. Why is that?                                                     19   try to meet the local jurisdiction's needs where they are.
20   A. We believe that an independent review of cases brought           20   So in some cases we're there because they need traffic
21   where there was an allegation of misconduct ensures an              21   control. For example, in the case of an emergency or a
22   independent and a thorough investigation. We also believe           22   flood, we might be there to do traffic control and traffic
23   that it increases the transparency for the public when they         23   direction. In other cases we would be there because they
24   have a complaint about any member of the Department of              24   need accident reconstruction or they need an accident
25   Public Safety staff.                                                25   investigation and we have a high level of expertise in crash
                                                               150                                                                        152
 1   Q. What is the mission of the Department?                            1   investigations, as you would expect.
 2   A. We are there to serve and protect Minnesotans. The                2            We, because of the State Capitol, have also been
 3   Department has a very broad mission, as I mentioned, with a          3   trained in crowd control and so we have been called upon by
 4   wide range of organizations. So protecting them from fires           4   other jurisdictions to assist them in crowd control when
 5   with the state fire marshal, protecting them from traffic            5   they have felt the need.
 6   collisions with officer traffic safety and the Department --         6            But we typically try and meet the needs that the
 7   State Patrol, investigating crimes with the Bureau of                7   local agency is asking us to fulfill if we have both the
 8   Criminal Apprehension, and then also working to -- working           8   resources and/or the expertise or the competence to do that.
 9   in partnership with local jurisdictions to assist them when          9   Q. Does the State Patrol require a request from a local
10   they have needs, whether it is in criminal investigation, in        10   entity before it provides those resources?
11   traffic crash reconstruction, or facilitating their                 11   A. Yes, it does.
12   administration of justice.                                          12   Q. What is the typical process for that type of request?
13   Q. And you mentioned Minnesota State Patrol and its role            13   A. Typically you would see either -- the local
14   there. Are there any jurisdictional limits on the authority         14   jurisdiction's on-duty officer, for example, chief of police
15   of the State Patrol?                                                15   or a police captain, would request the State Patrol to come
16   A. Minnesota State Patrol's primary jurisdiction is the             16   in to do an accident reconstruction in some cases.
17   state trunk highways. That is really what their primary             17            In the case of an emergency, typically it is a
18   role is. They also have assignments to protect the State            18   chief-to-chief correspondence where the chief of a local
19   Capitol and they also provide the executive protection for          19   jurisdiction would request Colonel Matt Langer, who is the
20   the governor.                                                       20   colonel and chief of the State Patrol, to assist or we may
21   Q. What is the source of those jurisdictional limits?               21   get a request through the duty officer, which is a 24/7
22   A. The Minnesota State Patrol's jurisdictional limits are           22   operation out of the BCA where any emergency requests for
23   set in statute.                                                     23   state aid are received and then can be transferred to the
24   Q. Is the Minnesota State Patrol a statewide police force?          24   proper jurisdiction.
25   A. No, it is not.                                                   25   Q. Commissioner, what is the Mobile Response Team?
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                              Page 149 to Page 152
                                                           EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 39 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                       July 28, 2021
                                                                    153                                                                         155
 1   A. The MRT or Mobile Response Team is a team of state                     1   BY MR. HSU:
 2   troopers who have been trained to do crowd control and to                 2   Q. And I will ask, Commissioner, if you could just please
 3   respond as an emergency services response team. Primarily                 3   review the document briefly.
 4   they were trained to respond to crises at the State Capitol,              4   A. Certainly. It's scrolling still.
 5   but over the course of the last few years we have been                    5      (Witness reviews exhibit)
 6   called upon to expand where they respond to in the cases of               6   Q. Commissioner, do you recognize this document?
 7   an emergency.                                                             7   A. Yes, I do.
 8   Q. You mentioned crowd control. Are there any other types                 8   Q. What is this document?
 9   of events that they would respond to in terms of                          9   A. It's Minnesota Department of Public Safety. It's an
10   emergencies?                                                             10   administrative policy published in 1996. It describes --
11   A. They have responded to parades, civil unrest, and they                11   it's from the Office of the Commissioner. It was approved
12   also have worked simply large-scale special events. For                  12   by the commissioner and it describes -- thank you very much.
13   example, they were involved I believe at the Republican                  13   I was going to have to get spectacles out. It describes
14   National Convention.                                                     14   conduct unbecoming a peace officer.
15   Q. Is the Mobile Response Team involved in any disaster                  15   Q. And how do you recognize this document?
16   relief responses?                                                        16   A. I reviewed this document when I took over the
17   A. The Mobile Response Team has capabilities to do that                  17   organization, and I review it on an annual basis.
18   also. It depends on where the disaster would occur and what              18   Q. Is this a true and accurate copy of that?
19   the logistics are for responding, having troopers respond.               19   A. Yes, it so appears.
20   So if it was in greater Minnesota in the far north, it might             20              MR. HSU: Your Honor, the state defendants would
21   be more logistically feasible to send local troopers there               21   move to admit Exhibit 15 into evidence.
22   than it would be to send MRT from the Twin Cities, but in                22              THE COURT: Any objection?
23   some cases where the disaster is sustained and where there's             23              MR. RIACH: No objection, Your Honor.
24   going to be a long-term need for troopers there that work in             24              THE COURT: Exhibit 15 is received.
25   a very close-knit team environment, you would see them sent              25   BY MR. HSU:
                                                                    154                                                                         156
 1   there also.                                                               1   Q. Commissioner, you've touched on it a bit already, but
 2   Q. When the State Patrol assists local law enforcement, who               2   could you please describe this exhibit for the Court and its
 3   is in charge regarding the setting of law enforcement goals?              3   role in terms of the Department and its actions.
 4   A. The local agency sets the overall mission that we're                   4   A. The document spells out the purpose for it, first of
 5   attempting to respond to. However, within the context of                  5   all. So the purpose is to define conduct unbecoming, which
 6   that overall mission, the Minnesota State Patrol retains its              6   helps bracket for an officer what is conduct that should
 7   own jurisdiction and its own responsibility for the                       7   be -- how we should operate. So while it defines the thou
 8   direction of its actual officers. So while we may be called               8   shall not effectively, it also defines what you should be
 9   to a city to assist, the captain or the lieutenant of the                 9   doing also.
10   State Patrol would be the person who is actually directing               10              It's a policy specifically geared toward law
11   the activities of the State Patrol.                                      11   enforcement, so it's geared for peace officers, sworn peace
12   Q. Does the State Patrol assume any control over the local               12   officers within the organization, and it talks about the
13   agency when it's assisting?                                              13   fact that we recognize that our effectiveness is dependent
14   A. No, it does not.                                                      14   upon community support and community respect and that that's
15   Q. Commissioner, does the Department of Public Safety set                15   a two-way street and that we understand that without
16   forth any standards of conduct for officers acting under its             16   community respect and without their confidence, that our
17   umbrella?                                                                17   ability to function is at best de minimis.
18   A. Yes, we do.                                                           18              The scope applies to all officers of the
19             MR. HSU: Your Honor, we would request permission               19   Department, so it applies to -- whether you're a BCA agent,
20   to publish to the witness and the Court what's been marked               20   State Patrol, or in AGE. And it doesn't matter where you
21   as Exhibit 15 --                                                         21   are in the state of Minnesota, it applies to all of them
22             THE COURT: You may.                                            22   equally.
23             MR. HSU: -- of the defendants' exhibits. I think               23              And then it outlines principles or pillars that
24   Ms. Kosek is going to pull it up on the screen here. I                   24   talk about what are the background for that. So Principle
25   would ask, could you please just scroll through it.                      25   One, for example, talks about all peace officers conducting
                                                                 Lori A. Simpson, RMR-CRR
                                                                         651-848-1225
                                                                                                                         Page 153 to Page 156
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 40 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                   157                                                                     159
 1   themselves in accordance with the Constitution of the United            1   schools, they are all partners that we should be working
 2   States, Minnesota Constitution, and applicable laws. It is              2   with.
 3   effectively the oath of office that every peace officer                 3             The media is given particular attention as we talk
 4   takes when they are sworn in as a peace office or when                  4   about community policing because we recognize that
 5   they're promoted.                                                       5   especially in the -- law enforcement has an educational
 6   Q. Commissioner, how would an officer become aware of this              6   goal. The media becomes really an essential partner with us
 7   document?                                                               7   in trying to make sure that the information we want to get
 8   A. Every peace officer who works with the State of                      8   out, whether it's about distracted driving or drunk driving
 9   Minnesota would be trained in this document. For example,               9   or about a curfew that we want people to abide by, the media
10   the Minnesota State Patrol, which offers a state police                10   plays an essential role in doing that. And they also play
11   academy at Camp Ripley, they would be instructed in this               11   an essential role as sort of a watchdog for the community,
12   document during their academy and then it's also reviewed              12   bringing to our attention crime, in some cases, or
13   with them on an annual basis during performance reviews.               13   misconduct.
14   Q. Commissioner, I want to draw you to -- your attention to            14   Q. With all of those concerns in mind, what steps does the
15   the language on page 2 under the second principle, item                15   Department of Public Safety and Minnesota State Patrol take
16   number 4, and that states that an officer shall take no                16   to maintain their relationship with the media?
17   action knowing it will violate the constitutional rights of            17   A. The Department of Public Safety at the commissioner's
18   any person.                                                            18   level operates an Office of Communications, which has -- it
19             How do you understand that as it applies to peace            19   has, frankly, one of the more robust staffs that I've ever
20   officers under the Department?                                         20   worked with in terms of communication.
21   A. My understanding of rule number 4 is that as we look at             21             So almost all the divisions have a communications
22   the United States Constitution and the Minnesota                       22   person that works with them and their job is to make sure
23   Constitution, those amendments, the right to free speech,              23   that they have ongoing relations with the media, both in
24   the right to assembly, the right to not be searched without            24   terms of advising the media when we have information or a
25   warrant, the right against self-incrimination, all of those            25   press release, but also fielding the day-to-day questions
                                                                   158                                                                     160
 1   rights are to be protected under this rule and that no                  1   the media has about incidents that happened across the
 2   officer should take any action that knowingly violates these            2   state.
 3   constitutional rights, because if they do, they then are                3             In addition to that role, we've also done an
 4   subject to discipline.                                                  4   extensive amount of outreach to the media, especially over
 5   Q. Would the intention of targeting members of the media or             5   the last few years, to try and make sure that we are
 6   the press be a violation of these standards?                            6   operating with the media under best practices. And so
 7   A. Yes, it would.                                                       7   whether it is at the commissioner's level, at the State
 8   Q. I believe you mentioned the importance of partnership.               8   Patrol level or the BCA level or any of the other agencies,
 9   Is it important for the Department and State Patrol to                  9   we oftentimes find ourselves having regular dialogue with
10   maintain a relationship with members of the media?                     10   the media and bringing them in to make sure they know what's
11   A. Yes, it is.                                                         11   going on within the Department of Public Safety. We believe
12   Q. Why is that?                                                        12   that transparency is our best vehicle.
13   A. I was brought up as a community policing cop, that was              13   Q. Commissioner, I would like to move to more specifically
14   how St. Paul trained their cops, and it's the philosophy               14   the unrest that occurred in Minneapolis in May 2020
15   that I have operated under for the 40 years that I've been             15   following the death of George Floyd. Was the Department of
16   in the business.                                                       16   Public Safety or Minnesota State Patrol involved in those
17             The basic philosophy of community policing, which            17   events?
18   is generally recognized by everyone as the most effective              18   A. Yes, we were.
19   and the most authentic form of policing, essentially says              19   Q. And how did the Minnesota State Patrol become involved?
20   that the public and the police have to work together.                  20   A. After George Floyd was murdered and after the video
21             And then as we think about how we break down who             21   became public, the duty officer made me aware of the crowds
22   is the public, we -- the media is one of those major                   22   that were gathering in protest.
23   components. It's one of those groups that we recognize as              23             As we coordinated with Minneapolis, asking
24   being a part of the public, just as we recognize elected               24   Minneapolis and Hennepin County what they needed and we
25   officials, community groups, nonprofit organizations,                  25   received requests from them, one of the concerns that was
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                   Page 157 to Page 160
                                                           EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 41 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                              July 28, 2021
                                                                 161                                                                     163
 1   voiced was that with a very large crowd that was moving in           1             And it also didn't have -- what we oftentimes work
 2   the direction of the freeway, that we might well have a              2   with when we're dealing with protests or events, it didn't
 3   freeway protest, which brought great concern to the State            3   have any clear defined leaders who you could work with to
 4   Patrol. We have seen people killed on the freeway. We've             4   help with the organization of the protest, to be able to
 5   seen people run over on the freeway in those kind of                 5   work out what do they want to do, where do they want to go,
 6   traffic-blocking events. So we began having the State                6   how can we facilitate their movement along streets and
 7   Patrol position themselves to assist -- to be in position to         7   highways.
 8   assist if we did have a freeway protest.                             8             So those all complicated the response to the
 9            We received requests from the City of Minneapolis,          9   protests as a matter of planning.
10   through the police department, to also assist them in the           10             And then as the protests continued, we saw two new
11   Third Precinct area down off of Lake Street because they            11   elements that we had not seen really in my police career.
12   were seeing very large crowds and they were concerned about 12           We saw the use of arson and we saw organized looting go on
13   their ability to respond to those crowds.                           13   with the protests.
14   Q. And were you involved in the State Patrol and the                14             And so while the protests would be going on in one
15   Department of Public Safety responses in your role as               15   place, we would have a car parts place or liquor store,
16   commissioner?                                                       16   oftentimes those seemed to be the two places that got hit
17   A. Yes, I was.                                                      17   first, they would be set on fire.
18   Q. Can you describe, based on your experiences as the               18             Once those were on fire, you would see stores
19   commissioner and your role there, what was happening on the 19           nearby looted, which further depleted city and county
20   ground during those events and what were the concerns faced 20           resources to respond as they were trying to figure out how
21   by the State Patrol and the Department?                             21   to get the fire department to the fires and then how to
22   A. There were several concerns, some expressed initially by         22   respond to the looting incidents.
23   the City of Minneapolis and Hennepin County, others that we         23             The fire department, in fact, ended up calling to
24   saw once we actually got on the ground.                             24   say they needed, in fact, protection because they couldn't
25            And then part of my role is I'm the homeland               25   get out of their fire --
                                                                 162                                                                     164
 1   security advisor for the governor and so one of my jobs is           1             MR. RIACH: Your Honor, I am going to --
 2   also to make sure the governor is aware of major critical            2      (Simultaneous indiscernible crosstalk)
 3   events within the state of Minnesota that might affect or            3             THE WITNESS: -- because they were being -- had
 4   involve state assets or require state resources to respond.          4   rocks thrown at them.
 5            As we progressed through the first and second day,          5             THE COURT: Is there an objection?
 6   the crowds were gathering. We noted with some distress that          6             MR. RIACH: Withdrawn, Your Honor. Withdrawn.
 7   there were, in fact, multiple crowds and there was not just          7   BY MR. HSU:
 8   one protest. There were, in fact, several protests spread            8   Q. Commissioner, I believe you touched on this in your
 9   out over a larger geographic area, which made the city's             9   answer, but in your 44 years of experience, have you ever
10   response more complicated and it was far more taxing to try         10   dealt with the level of unrest that was faced in May 2020?
11   and have enough peace officers to respond to any one of             11   A. No, I have not.
12   those crowds, some of which estimated in the eight to ten           12   Q. And you touched on a few of the points. What made it
13   thousand range at one point or another.                             13   stand out in your experience?
14            There was also calls from MPD that talked about            14   A. The size of the groups were far larger, the geographic
15   the need for this to become a sustained element, that they          15   spread, and what seemed to almost be a coordinated effort,
16   didn't expect that this was going to end appropriately --           16   that if you went to one area to meet a group, that group
17   not appropriately. In a timely fashion.                             17   sometimes would leave, but it would pop up in another area.
18            Many special events we respond to have a set               18   And so the level of coordination. The use of fire and arson
19   beginning and a set end time and so you can plan for this is        19   as a tactic was also a new element.
20   a four-hour protest or this is an all-day protest. But in           20             And then the looting that seemed to go on and went
21   this case, because the protests seem to be more organically         21   on in places that did not seem to have any local connection
22   or spontaneously driven, it didn't have any boxes around it         22   to the precipitating event. For example, we responded to
23   in terms of where the protest was going to be. It didn't            23   looting in West St. Paul on Robert Street and we responded
24   have any boxes around it in terms of how long the protest           24   to looting in Anoka County and we responded to looting in --
25   was going to last.                                                  25   the Lakeville City Hall was fire-bombed, none of which
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                              Page 161 to Page 164
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 42 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                    July 28, 2021
                                                                  165                                                                         167
 1   seemed to have any direct connection to George Floyd or the           1   A. I believe one of the first nights that the State Patrol
 2   Minneapolis Police Department protests.                               2   was out on Lake Street we got calls that we had arrested
 3   Q. In light of those challenges and those experiences from            3   members of the media, and part of the question we had was
 4   that time, can you describe for the Court what lessons were           4   how do we determine who is a member of the media and so we
 5   learned by the Department or by the State Patrol in terms of          5   began asking the question of what credentials would clearly
 6   handling these types of events.                                       6   identify members of the media so that we could expedite
 7   A. There were several lessons learned. I would say from               7   their release if they were arrested or avoid arresting them
 8   the State Patrol's perspective, we learned that we needed to          8   if that was possible. So credentials became a topic very
 9   find a way to quickly mobilize large numbers of State Patrol          9   early on.
10   to be able to respond to an area, and that was something             10               From that point on, I think virtually every event
11   that we had not really -- had never had to do before.                11   since then we have reminded the media via Twitter or social
12              In the few events where the State Patrol had been         12   media to please have credentials with them and visible if at
13   called in to a major special event, it had been a special            13   all possible so that we can avoid any unnecessary encounters
14   event, like the Super Bowl or like the Republican National           14   with the media and so that we can facilitate -- in those
15   Convention, where we knew months in advance it was coming.           15   cases where we do end up making an arrest with the media, so
16   You could plan and stage for this.                                   16   we can expedite their release as quickly as possible.
17              But an organically spontaneous event calling upon         17   Q. With regards to both those actions related to media and
18   us to not just move a couple hundred troopers, but literally         18   broadly, what other actions did the Department take to act
19   to strip every highway in the state of Minnesota of all of           19   or implement the lessons learned from May of 2020?
20   the troopers they had to try and respond was an                      20   A. There have been several. I would say the ones that come
21   extraordinary event that we had never seen.                          21   most -- come to mind, we tasked Bruce Gordon, who is the
22              So how to mobilize them, how to work with the             22   director of communications for the Commissioner's Office, to
23   National Guard was also a lesson learned. We learned about           23   work with the media to talk about best practices, lessons
24   what -- the capabilities of the Minnesota National Guard,            24   learned to try and figure out what we should gather from the
25   how quickly they could mobilize.                                     25   May 2020 events.
                                                                  166                                                                         168
 1              We also had to work through emergency declarations         1               Beyond that, we committed to having a more robust
 2   by the governor, the activation of the National Guard, and            2   schedule of briefings and trainings with the media, which we
 3   then how to actually get them into theater and get them into          3   did do, as we got into what we call OSN, the Operation --
 4   appropriate positions.                                                4   OSN, which is the Chauvin trial preparation. We did
 5              We learned that -- communication became one of the         5   trainings with them. We worked with the media before that.
 6   key points that I think we learned probably most acutely in           6   We embedded media into our ranks, asked them to come join us
 7   especially the May 2020 events. Communication with the                7   within -- on the inside of the line to help facilitate their
 8   media was -- right away that was one of the points that we            8   understanding of what we were doing.
 9   recognized that we needed to do more with, but also                   9               And subsequent to those events we have contracted
10   communication with our elected officials and communications          10   with 21CP, 21st Century Policing, which is a nonprofit
11   with community groups were all part and parcel of, I think,          11   organization or a think tank organization. They were the
12   some of the lessons learned that we've applied as we moved           12   group that facilitated the Deadly Force Encounters Working
13   forward from that day.                                               13   Group that Keith Ellison and I put together. But we asked
14   Q. Commissioner, as a clarification, how many troopers were          14   them to do an outreach to the media subsequent to --
15   mobilized in response to May 2020?                                   15               MR. RIACH: Your Honor, I am going to object to
16   A. Every trooper that was able and ready in the state of             16   the narrative.
17   Minnesota was mobilized and brought into the Twin Cities to          17               THE COURT: You object to the narrative?
18   respond.                                                             18               MR. RIACH: Object that the witness is delivering
19   Q. And that had never happened before?                               19   a narrative answer. We have had multiple questions now
20   A. That had never happened before.                                   20   where Mr. -- or Commissioner Harrington has talked for
21   Q. Commissioner, were there any lessons learned regarding            21   three, four, five minutes at a time. Don't have a problem
22   the importance of media credentials or identification of             22   with the information coming out, but we would just prefer
23   press members?                                                       23   some interplay between counsel and Commissioner Harrington.
24   A. Yes, there were.                                                  24               THE COURT: I believe the question was what type
25   Q. What were those lessons?                                          25   of -- state the question that you asked.
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                  Page 165 to Page 168
                                                           EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 43 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                  169                                                                      171
 1             MR. HSU: What did the Department or the State               1   during the trial. That plan was being conducted through the
 2   Patrol do to act on the lessons learned from May 2020.                2   fall.
 3             THE COURT: Okay. Overruled. You may continue                3              And in January of 2021 the State reviewed the
 4   with your answer.                                                     4   plan, because there was then a request from the City of
 5             THE WITNESS: Thank you. I was just wrapping up.             5   Minneapolis for potentially National Guard and State Patrol
 6             But we did contract with 21CP. They have                    6   and DNR assets to be assigned to this plan. The plan was
 7   surveyed, conducted focus groups and conducted interviews             7   under-resourced in our opinion and at that time the State
 8   with members of the media, and I believe within the next              8   Patrol, Minnesota National Guard, DNR, and others joined
 9   month we will have a document which will document some                9   with Minneapolis and Hennepin County into unified command
10   additional best practices, that the Department of Public             10   for a planning effort to revise the Operation Safety Net
11   Safety paid for their work, to make sure that we are                 11   plan, and we worked together through -- from January through
12   reaching out to the media.                                           12   the end of the trial, when we demobilized and went through
13             We have had multiple meetings with the media               13   what we call phase four.
14   throughout to have this conversation with them to try and            14   Q. Commissioner, was the State Patrol and the Department of
15   figure out where there are concerns and how do we best meet          15   Public Safety, did they join OSN in response to requests
16   them.                                                                16   from Minneapolis?
17   BY MR. HSU:                                                          17   A. Yes, we did.
18   Q. Thank you, Commissioner. Were there any lessons or                18   Q. And was the State Patrol or the Department of Public
19   actions taken with regard to the efficacy of mass arrest             19   Safety responsible for any other law enforcement agencies
20   actions following May 2020?                                          20   involved with OSN?
21   A. Yes, there were.                                                  21   A. No, we were not.
22   Q. What were those?                                                  22   Q. What is unified command?
23   A. Two in particular.                                                23   A. Unified command is a concept that originally came out of
24             One, we made a directive, and it has been                  24   the fire service, but it comes out of FEMA or NIMS, the
25   repeated -- ordered to be repeated at every roll call before         25   National Incident Management System. It is the recognition
                                                                  170                                                                      172
 1   a team would go out, to remind them of First Amendment                1   that there are certain events, catastrophes that occur that
 2   protest policies and to make sure that they were avoiding             2   are too big for any one department to be able to handle on
 3   arresting the media if at all possible.                               3   its own.
 4             In addition to that, we also began working on a             4              And when you bring in multiple other jurisdictions
 5   policy to expedite release. If we did have a media person             5   and multiple other departments to respond to whether it's a
 6   that came into contact with the State Patrol, to get them             6   special alarm fire, a tornado, a flood, or a civil
 7   released as quickly as possible thereafter.                           7   disturbance, there has to be a format for how the entities
 8   Q. Commissioner, were those policies and practices in                 8   that are joining into the effort work together.
 9   effect in April of 2021?                                              9              And so unified command brings the senior staffs of
10   A. Yes, they were.                                                   10   those organizations together so that they can work in
11   Q. And you mentioned it briefly, but could you please                11   concert and in a coordinated fashion to respond to whatever
12   describe for the Court, what is Operation Safety Net?                12   it is that you are responding to, once again, natural or
13   A. Operation Safety Net was the plan for how the City of             13   man-made disaster.
14   Minneapolis and the County of Hennepin and, by extension,            14   Q. Who directs the mission goals under a unified command
15   the State of Minnesota would be prepared for potential               15   structure?
16   protests in the wake of the Derek Chauvin trial.                     16   A. The local jurisdiction has the -- is the decision-maker
17             From a historical perspective, if we look at LA,           17   under unified command. While it's a unified command and
18   Oakland, Ferguson, there are oftentimes riots that happen            18   everybody is at the table together, ultimately the decision
19   when the precipitating event started, but there are also at          19   of what you do in a particular case in a particular
20   times riots or civil disturbances that occur when the jury's         20   jurisdiction resides with the local jurisdiction that has
21   verdict comes out and it is not viewed favorably by the              21   that.
22   public.                                                              22              So, for example, if we have a crisis that happens
23             Having no pre-knowledge of how the court case              23   in St. Paul, while the State Patrol may well be there as
24   would resolve, Minneapolis began planning in July of 2020            24   part of unified command, the St. Paul Police Department and
25   for how they should be prepared for potential protests               25   Todd Axtell would be the decision-maker for that particular
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                Page 169 to Page 172
                                                          EXHIBIT A
            CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 44 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                         July 28, 2021
                                                                      173                                                                         175
 1   incident.                                                                   1   charge of the mission goals?
 2   Q. And would State Patrol -- in the context of Operation                    2   A. At the beginning Brooklyn Center Police Department was
 3   Safety Net, would the State Patrol retain control over its                  3   in charge, and then within a day or so the mayor relieved
 4   own troopers?                                                               4   the chief of police of his position and there was a period
 5   A. Yes. The State Patrol would have command staff that                      5   where it was unclear who was in charge of the Brooklyn
 6   would be responsible for the direction of its own personnel                 6   Center policing effort.
 7   while we're operating under -- whether in mutual aid or                     7             And during that time frame Hennepin County Sheriff
 8   under the Operation Safety Net under unified command.                       8   Dave Hutchinson assumed command of the incident when there
 9   Q. And would State Patrol have any authority to direct the                  9   was a vacuum in place. He remained in command of the
10   conduct or actions of other agencies under Operation Safety                10   incident for the next four or five days until the new
11   Net?                                                                       11   appointed -- newly-appointed interim chief for Brooklyn
12   A. No, we have no legal authority over any other agencies                  12   Center re-assumed command of the operation.
13   other than our own.                                                        13   Q. At any point did Minnesota State Patrol or the
14               THE COURT: Other than?                                         14   Department of Public Safety assume command of the incident?
15               THE WITNESS: Other than our own. Sorry.                        15   A. No, at no point were we in charge of the incident.
16   BY MR. HSU:                                                                16   Q. Was the Department of Public Safety or State Patrol ever
17   Q. Commissioner, turning to the events in Brooklyn Center                  17   responsible for any other law enforcement agency at Brooklyn
18   in April 2021, how did the Department of Public Safety and                 18   Center?
19   State Patrol become involved there?                                        19   A. No, we were not.
20   A. On April 11th, as I recall, the Brooklyn Center Police                  20   Q. Was the Department of Public Safety or the Minnesota
21   Department had an officer-involved shooting. BCA does the                  21   State Patrol ever issuing commands to other law enforcement
22   investigations on the officer-involved shootings and so DPS,               22   agencies in Brooklyn Center?
23   under the auspices of BCA, and the use of force team were                  23   A. No, we were not.
24   sent to do the investigation there.                                        24   Q. Thank you, Commissioner.
25               Shortly after their arrival at the scene, there                25             MR. HSU: I have no further questions.
                                                                      174                                                                         176
 1   was a report that crowds had gathered at the crime scene and                1             THE COURT: Cross examination? And we can take a
 2   that there was cars being broken, windows being broken,                     2   stretch break at this time. I will take one. If anyone
 3   there was a crowd that was refusing to leave.                               3   else would like to join me, you may, just at your seats.
 4               Brooklyn Center had not been part of Operation                  4      (Pause)
 5   Safety Net. The Hennepin County chiefs or what we would                     5             THE COURT: We are ready to resume.
 6   call the west metro chiefs of police had made a decision                    6             MS. McGARRAUGH: We just lost our questioning
 7   that they would create a mobile field force of their own,                   7   lawyer.
 8   but that they were not going to move into Minneapolis as                    8             THE COURT: Okay.
 9   part of Operation Safety Net. Brooklyn Center was one of                    9      (Pause)
10   those departments.                                                         10             THE COURT: We are ready to proceed.
11               And so as the protests grew at the crime scene,                11             MR. RIACH: Thank you, Your Honor.
12   they called in the West Metro Command Team and they                        12                        CROSS EXAMINATION
13   responded there. They were able to disperse the crowd from                 13   BY MR. RIACH:
14   there, but shortly thereafter we got reports that that crowd               14   Q. Good afternoon, Commissioner Harrington. My name is
15   was now moving to the Brooklyn Center Police Department over 15                 Kevin Riach. I'm an attorney for the plaintiffs.
16   on Humboldt. The West Metro Command went with them to                      16   A. Good afternoon.
17   protect the Brooklyn Center Police Department and City Hall.               17   Q. Now, you are familiar with the Police Officer Standards
18               Hennepin County, which is -- was part of Operation             18   and Training Board, correct?
19   Safety Net and where Brooklyn Center resides, was part of                  19   A. Yes, I am.
20   Operation Safety Net and so as the crowd grew on that first                20   Q. That's a board that's organized within the Department of
21   night, Hennepin County was asked to join in. And the State                 21   Public Safety, correct?
22   was asked to work with Hennepin County and with Brooklyn                   22   A. No, it is not.
23   Center to assist them as there did not appear to be                        23   Q. It's not a board organized within the Department of
24   sufficient resources to respond to Brooklyn Center.                        24   Public Safety?
25   Q. And in Brooklyn Center, was it the local entity in                      25   A. No, it is not.
                                                                   Lori A. Simpson, RMR-CRR
                                                                           651-848-1225
                                                                                                                     Page 173 to Page 176
                                                             EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 45 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                  177                                                                       179
 1   Q. What is it organized within?                                         1   Plaintiffs' Exhibit 71 and the title is Background on Draft
 2   A. The POST Board is an independent standard and training               2   Model Policy on Public Assembly and First Amendment
 3   board that is appointed by the governor. The Department of              3   Activity; is that accurate?
 4   Public Safety did up until fairly recently provide their HR             4   A. That's correct, sir.
 5   department, but it has its own board of directors, it has               5   Q. Have you reviewed this document?
 6   its own appointed executive director, and it does not report            6   A. No, I don't believe I have reviewed this document.
 7   to the Department of Public Safety.                                     7   Q. Can you just briefly --
 8   Q. Are the Board employees employees of the Department of               8             MR. RIACH: Well, let's do this. Turn ahead to
 9   Public Safety?                                                          9   page 8, Ms. Anderson.
10   A. No, they're not.                                                    10             MR. HSU: Objection, Your Honor. This document
11   Q. All right. But you're familiar with the operations of               11   hasn't been admitted into evidence.
12   the Board, correct?                                                    12             MR. RIACH: First of all, I'm just looking to ask
13   A. Yes. I have one member -- the BCA has one member that               13   some questions to see if I can lay foundation. Then if the
14   sits on the POST Board on the training section.                        14   State still has an objection on hearsay grounds, I'll be
15   Q. Okay. And you're aware that they from time to time                  15   prepared to argue that, if that's okay with the Court.
16   promulgate model policies for law enforcement to use to                16             THE COURT: Overruled.
17   guide their practices, correct?                                        17             MR. RIACH: Flip ahead to the next page, please.
18   A. Yes, I am.                                                          18   BY MR. RIACH:
19   Q. Sometimes those model policies are adopted and become               19   Q. You see that there's a section of this document entitled
20   mandatory policies; is that correct?                                   20   Media, Commissioner Harrington?
21   A. If they propose a model policy and it is voted upon by              21   A. Yes, I do.
22   the Board, it can become a mandatory policy for all state              22   Q. Were you aware that the POST Board was drafting a model
23   peace officers or POST agencies, yes.                                  23   policy on law enforcement interaction with the media?
24   Q. It has to go through the rulemaking process at that                 24   A. Yes, I knew that was one of the topics they were
25   point; is that right?                                                  25   entertaining.
                                                                  178                                                                       180
 1   A. I'm not positive about whether it has to go through                  1   Q. How did you know that?
 2   rulemaking or not.                                                      2   A. I believe I saw it in the media actually, so.
 3   Q. Okay. It goes through some kind of legislative                       3   Q. Okay. Did anyone at the Board consult with you about
 4   sausage-making and becomes mandatory for state law                      4   this policy?
 5   enforcement, though, if that's the course the Board chooses             5   A. Not with me particularly, no.
 6   to take with the model policy?                                          6   Q. There is a representative of the Department of Public
 7   A. That has been my experience, yes.                                    7   Safety on the Board, though, correct?
 8   Q. Okay.                                                                8   A. The BCA training -- the BCA director is, in fact, on the
 9              MR. RIACH: Ms. Anderson, can you call up                     9   POST Board, yes.
10   Exhibit 71, please, Plaintiffs' 71.                                    10   Q. Okay. Is he there to represent the interests of the
11   BY MR. RIACH:                                                          11   Department of Public Safety?
12   Q. We'll see if you can see these on the screen. If that               12   A. He's there to represent the BCA's interests as one of
13   works, we'll just stick with the electronic version. Is                13   the premiere training departments within the state of
14   that okay, Commissioner?                                               14   Minnesota. So he's not a DPS or the commissioner's
15   A. Sure.                                                               15   representative, although he is a state employee and does
16   Q. All right. Now, what you are looking at is a document               16   work for the Department of Public Safety, but he is in
17   labeled Plaintiffs' Exhibit 71. It says, "Background on                17   command of his own police department effectively.
18   Draft Model Policy on Public Assembly and First Amendment              18   Q. Okay. And you see under subparagraph E here it
19   Activity" at the top of this document.                                 19   states -- this is the model policy that we're discussing and
20              THE COURT: Okay. You have to raise your voice or            20   laying some foundation for here -- it states, "Even after a
21   speak into the microphone, but we can't mumble what the                21   dispersal order has been given, clearly identified media
22   document says.                                                         22   must be permitted to carry out their professional duties
23              MR. RIACH: All right. Sorry, Your Honor.                    23   unless their presence would unduly interfere with the
24   BY MR. RIACH:                                                          24   enforcement action."
25   Q. You are looking at a document. This is marked                       25             Were you aware that this particular policy was
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                 Page 177 to Page 180
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 46 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                    July 28, 2021
                                                                   181                                                                        183
 1   under discussion at the POST Board?                                    1   such that the Court would need to use it?
 2   A. Not in particular, no.                                              2               MR. RIACH: This exhibit is being offered to show
 3   Q. Okay. Now, the POST Board maintains a website, correct?             3   that -- and we can include this argument in our briefing
 4   A. That's correct.                                                     4   subsequent to this hearing.
 5   Q. And that's located within the Department of Public                  5               THE COURT: Is it offered for the truth of the
 6   Safety website, correct?                                               6   matter asserted? What's its purpose?
 7   A. There's a link to the POST Board from the Department of             7               MR. RIACH: It's not, Your Honor. It's offered to
 8   Public Safety, but the POST Board has its own website.                 8   show that a model policy has been developed that is --
 9   Q. Okay. But you can get there from the Department of                  9               THE COURT: The relevance of a model policy is
10   Public Safety website, correct?                                       10   what?
11   A. I'm certain you can.                                               11               MR. RIACH: The relevance of the model policy is
12   Q. Go to the section that says, "Boards" and click on it              12   it shows that law enforcement officers from multiple
13   and it says, "Department" -- or it says, "POST Board," and            13   agencies, who came together to promulgate this process with
14   you click on that and then it takes you through to the POST           14   community activists, have determined that provisions similar
15   Board website?                                                        15   to those contained within the plaintiffs' proposed
16   A. I have no doubt that we can get there from there.                  16   injunction are feasible and, in fact, going to be adopted as
17   Q. All right. Very good. Are you aware that model                     17   best practices.
18   policies are regularly posted on the Peace Officer Standards          18               I don't want to get into argument here during my
19   and Training Board website for review prior to discussion by          19   cross examination, but this policy is relevant because it
20   the POST Board at their sessions?                                     20   shows that what the plaintiffs have proposed is something
21   A. Yes, I am.                                                         21   that's been viewed as reasonable by multiple law enforcement
22   Q. Okay.                                                              22   officers.
23              MR. RIACH: Your Honor, we would move to admit              23               The members of the ad hoc committee that developed
24   Document 71, the POST Board model policy we've been                   24   this policy were made up of four community activists and
25   discussing.                                                           25   four law enforcement officers, including the head of the
                                                                   182                                                                        184
 1              THE COURT: Any objection?                                   1   Sheriffs Association and the Minnesota Peace Officers
 2              MR. HSU: Yes, Your Honor. The State would object            2   Association. They came together and put this document
 3   to the admission of this document on several grounds, both             3   together. It went before the POST Board last week, at the
 4   it's hearsay and lack of foundation. The Commissioner has              4   end of the week. The POST Board adopted it as a model
 5   testified he's not previously reviewed this document or was            5   policy and advanced it through for review as a mandatory
 6   ever involved in the creation or drafting of the same.                 6   policy. That adoption was unanimous by the entire POST
 7              Furthermore, the document at issue appears to be a          7   Board.
 8   draft policy, not a model policy approved through rulemaking           8               It's relevant because it shows that what we're
 9   process, and therefore should have no basis there.                     9   asking for makes sense. Now, Commissioner Harrington hasn't
10   Furthermore, this exhibit was disclosed to state defendants           10   reviewed it, so there's a limited amount of what I can ask
11   yesterday and we would further object as an untimely                  11   him about within the document, but given the nature of this
12   disclosure of an exhibit as we didn't have sufficient time            12   proceeding and the importance of the questions that the
13   to review and prepare in response to the same.                        13   Court has to consider here, this is the kind of evidence
14              THE COURT: Anything further on this matter?                14   that should be before the Court.
15              MR. RIACH: Your Honor, with respect to the                 15               If the state defendants want to contest the
16   hearsay and the other evidentiary objections, I would just            16   accuracy of this document, its validity, think it's full of
17   reiterate what's contained in our briefing on the State's             17   errors, it's fraud, whatever, if they have some evidence
18   motion in limine, that in proceedings such as the one we              18   that this isn't what it purports to be, they can certainly
19   have here, a preliminary injunction proceeding, especially            19   advance that in their briefing, but it should at least be
20   when there's limited time and opportunity to present live             20   before the Court. And I can represent this is pulled from
21   testimony about things like this policy, flexible standards           21   the Department of Public Safety website link that goes to
22   of admission are allowed to permit the Court to have the              22   the POST Board.
23   information it needs to make the decision on the motion at            23               THE COURT: Counsel, do you wish to be heard?
24   issue in --                                                           24               MR. HSU: Yes, Your Honor. We would stress again
25              THE COURT: What is this exhibit being offered for          25   that, as plaintiffs' counsel pointed out, this policy has
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                  Page 181 to Page 184
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 47 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                         July 28, 2021
                                                                    185                                                                         187
 1   yet to be passed as any sort of permanent rulemaking                      1              MR. RIACH: Not yet. Not yet. And it may not
 2   authority. It exists as a draft policy reviewed by the POST               2   have any when I'm done, Your Honor, but I would like to at
 3   Board and that's all it is at this point.                                 3   least show Mr. -- Commissioner Harrington the first section
 4              Furthermore, to the extent that counsel alleges                4   of the video and ask him foundational questions. If he has
 5   that this is a model policy crafted by experts in the field,              5   none, I still intend to offer it as an exhibit. The State,
 6   we would further dispute this exhibit as an undisclosed                   6   I anticipate, will object on hearsay and foundational
 7   expert opinion since plaintiff is offering it as apparent                 7   grounds. I'll make my argument. Then the Court can decide
 8   best practices without any supporting expert testimony or                 8   what it would like to do. But it should be pretty brief.
 9   disclosures to support that inference.                                    9              THE COURT: You may proceed as you have indicated.
10              THE COURT: The Court will admit it as an exhibit              10   The matter -- the exhibit is not admitted. You're seeking
11   of the Court, and its weight and merit will be -- is                     11   to lay foundation for it, correct?
12   evident, frankly, based on the arguments made by counsel.                12              MR. RIACH: That's correct, Your Honor.
13   So for limited purposes, frankly, informational and not any,             13              THE COURT: Okay.
14   it appears, bearing on the issues before the Court, it will              14              MR. RIACH: Okay. Can you play the first minute
15   be admitted.                                                             15   of the video, Ms. Anderson.
16              MR. RIACH: Thank you, Your Honor.                             16      (Pause)
17              You can take that down, Ms. Anderson.                         17   BY MR. RIACH:
18   BY MR. RIACH:                                                            18   Q. While we are awaiting the video -- oh, maybe we've got
19   Q. Commissioner Harrington, am I correct that no state                   19   it here.
20   trooper has been disciplined for arresting a journalist                  20      (Video recording played)
21   during your tenure as the commissioner of Public Safety?                 21   Q. Having watched the first minute or so of this video, do
22   A. Not to my knowledge.                                                  22   you recall having seen this video before?
23   Q. Has any state trooper been disciplined for using force                23   A. I don't recall it particularly, no.
24   against a journalist during your tenure as commissioner of               24   Q. Are you familiar with the arrest of Omar Jimenez in May
25   Public Safety?                                                           25   of 2020?
                                                                    186                                                                         188
 1   A. Not to my knowledge.                                                   1   A. I'm not particularly -- I do not recall that in
 2   Q. And has any state trooper been disciplined for using                   2   particular, no.
 3   chemical weapons against a journalist during your tenure as               3   Q. Okay. Do you recall discussion during the George Floyd
 4   commissioner of Public Safety?                                            4   protests of a CNN news crew being arrested while they were
 5   A. Not to my knowledge.                                                   5   covering the protests?
 6              MR. RIACH: Ms. Anderson, can you call up                       6   A. Yes, I do.
 7   Exhibit 68, please.                                                       7   Q. Okay. And what do you recall about that discussion?
 8   BY MR. RIACH:                                                             8   A. That there was a complaint, that we were told that a CNN
 9   Q. Do you recognize the image that you are seeing on the                  9   group was arrested. We got a call -- I believe the
10   screen there, Commissioner Harrington?                                   10   governor's office received a call from the CEO of CNN. The
11   A. No, I do not.                                                         11   governor responded. And CNN did not ever file a complaint
12   Q. Okay.                                                                 12   with internal affairs alleging any misconduct against the
13              MR. RIACH: Can you play the first part of this --             13   State Patrol subsequent to that.
14   the first minute of this video, Ms. Anderson.                            14   Q. Did you have any conversations with Governor Walz about
15              MR. HSU: Objection, Your Honor. The video has                 15   that arrest?
16   not been offered into evidence and on its face it appears to             16   A. Nothing in particular. I heard from Governor Walz his
17   be a hearsay statement.                                                  17   displeasure at having news media arrested, so that was very
18              MR. RIACH: Your Honor, I'm simply seeing if we                18   clear from his public statements and the statements we had
19   can get some foundation on this. If not, I am going to                   19   as we were coordinating resources.
20   offer it as an exhibit anyways and if the State has a                    20   Q. Did you have any discussions with Colonel Langer, the
21   hearsay objection, I'll address that when the State makes                21   State Patrol commander, about the arrest of the CNN crew?
22   its objection. I'm sorry if the Court can't hear me. I'll                22   A. We had the same level of conversation about that that
23   try to move --                                                           23   was not the way we wanted to be doing business and that we
24              THE COURT: I couldn't hear you. You said you                  24   needed to make sure that we could identify and expedite --
25   have no foundation?                                                      25   in those cases where someone was arrested, that we could
                                                                 Lori A. Simpson, RMR-CRR
                                                                         651-848-1225
                                                                                                                     Page 185 to Page 188
                                                             EXHIBIT A
              CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 48 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                  189                                                                         191
 1   expedite their release as quickly as possible.                          1   permission to do at this time.
 2   Q. Did you ask any questions of Colonel Langer about what               2             THE COURT: Okay. And you said you want him to
 3   happened?                                                               3   see it for what it is. What is "it"?
 4   A. No, not in particular.                                               4             MR. RIACH: It's a video of the arrest of Omar
 5   Q. All right. Were you concerned that you heard a report                5   Jimenez, the CNN crew and the reporter that we were just
 6   that state troopers had arrested a CNN crew?                            6   discussing during my cross examination of Commissioner
 7   A. Yes, I was.                                                          7   Harrington.
 8   Q. And why were you concerned?                                          8             THE COURT: Okay. Counsel?
 9   A. As I said earlier, I really do believe that the media is             9             MR. HSU: Yes, Your Honor. As counsel
10   a partner that we need to work with and it is -- whenever              10   anticipated, we object to the admission of this exhibit on
11   you are making an arrest, I think, especially an arrest of             11   the grounds of hearsay and also on the grounds of
12   the media, I think that's something that should be -- that             12   foundation, authentication. Commissioner Harrington has
13   is concerning. It is not something that we do every day.               13   testified he hasn't seen this video before.
14   It is an exceptional -- it should be an exceptional event.             14             Furthermore, while we recognize the important
15   And even in the context of what was a fairly massive amount            15   issues before this Court, the issues with presenting a video
16   of civil unrest, it still was concerning that it happened.             16   like this unauthenticated is it appears to be an edited news
17              And, frankly, there also was just a concern of              17   clip. So we don't have the full extent, context, or scope
18   what were -- what happened behind the scene there. And so I 18              of the footage or the events preceding or subsequent to.
19   was assuming that we would have a complaint from them that             19             And as Commissioner Harrington has stated, he
20   would then be investigated and we would have some facts that 20             doesn't have the foundation to testify to those events
21   would come out of that. They never did choose to make the              21   specifically either. Accordingly, admitting this exhibit
22   complaint and so I don't know that there was any                       22   and presenting it here would risk misconception of the
23   investigation beyond the initial complaint about it.                   23   events at hand and offers an improper view as portrayed by
24   Q. So there was no complaint, so the State Patrol, as far              24   this video.
25   as you know, never investigated the event further?                     25             THE COURT: Any response?
                                                                  190                                                                         192
 1   A. Not that I'm aware of, no.                                           1             MR. RIACH: We would just ask that the Court
 2              MR. RIACH: Your Honor, at this time I would move             2   afford the evidence the weight the Court believes it
 3   to admit Plaintiffs' Exhibit 68. I anticipate the State                 3   deserves. I would --
 4   will have a number of objections. I'll make the same                    4             THE COURT: Is there foundation for it? Is it a
 5   arguments right out of the gate, which is this is a very                5   complete -- how do I know that it's not edited? I just
 6   important matter for the Court to -- I'm sorry. I can tell              6   don't have -- I am trying to get some sense of
 7   now that I am in mike range. This is a very important                   7   authentication.
 8   matter for the Court, making this decision, and the Court               8             MR. RIACH: Sure, Your Honor. And I'll represent
 9   should see and hear all the relevant evidence that can be               9   to the Court that this is a video that I downloaded from the
10   put before it.                                                         10   CNN website. And we can watch the video. I don't think
11              We're constrained by the nature of this hearing             11   there are any visible edits in the video. It's a matter of
12   and these proceedings from duly authenticating things like             12   public record, frankly. It's been viewed many times around
13   this video. But if the State has any argument, after                   13   the world, including by Governor Walz. Really it's the
14   viewing the video, that it doesn't -- that it purports to              14   conduct that is seen in the video that is what I would like
15   show something that didn't happen, that it's inaccurate,               15   to ask Commissioner Harrington about. If the Court has
16   that it's fraud, I would certainly welcome them presenting             16   concerns that there's something amiss with the video,
17   that evidence. Otherwise we would like to admit it for what            17   obviously the Court can reject this testimony and ignore
18   it is.                                                                 18   what we see here.
19              And I do have a few more questions for                      19             I would note that there are multiple affidavits,
20   Commissioner Harrington. I would like to watch the video               20   declarations that have already been submitted in support and
21   with him and ask him a few follow-up questions based on                21   opposition of this motion that contain hearsay, evidence
22   what's in the video. I am not sure that intrudes into                  22   without foundation. It's just the nature of these kinds of
23   hearsay because I'm going to be asking him if what he sees             23   proceedings that some of these evidentiary rules have to be
24   is consistent with the policies he discussed on his direct             24   viewed flexibly. Otherwise important information is not
25   examination. But that's what I would ask the Court for                 25   considered as part of the process.
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                  Page 189 to Page 192
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 49 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                   193                                                                        195
 1             THE COURT: And do the Rules of Evidence apply?                 1             MR. HSU: No, Your Honor. Our position is that
 2             MR. RIACH: Well, I don't think they do, Your                   2   the Rules of Evidence still apply. While that degree may or
 3   Honor, quite frankly. I think that in these kinds of                     3   may not differ, the lack of foundation as to this video, the
 4   proceedings the Court, especially with the experience that               4   lack of authentication to determine the full scope of the
 5   Your Honor has, you having seen testimony and viewed                     5   events portrayed within the video, or lack thereof, are
 6   evidence many, many times over the years, can give the                   6   dispositive on the matter of its admissibility.
 7   evidence the weight it deserves.                                         7             We are -- the State is not taking the position
 8             The Tenth Circuit Court of Appeals has said                    8   that there's bad faith or insincerity as to that, but the
 9   explicitly the Rules of Evidence do not apply in                         9   mere framing of the events as portrayed in the video, which
10   preliminary --                                                          10   we don't know whether it is edited or not, can shift the
11             THE COURT: And the Eighth Circuit?                            11   perspective and remove context, which informs those facts.
12             MR. RIACH: -- injunction proceedings. The Eighth              12             THE COURT: I'll overrule the objection and give
13   Circuit, as far as I know, has not weighed in on this                   13   the evidence the weight it deserves.
14   question, Your Honor, one way or the other.                             14             MR. RIACH: Thank you, Your Honor.
15             THE COURT: Counsel?                                           15             Ms. Anderson, can you press play.
16             MR. HSU: Yes, Your Honor. With regards to the                 16      (Video recording played)
17   Rules of Evidence specifically, we would note that as the               17             MR. RIACH: You can stop the video now.
18   Court -- the case the Court cited in its recent order notes             18             THE COURT: And so let's address the exhibit that
19   that while likelihood of success is a basis of preliminary              19   has been admitted. The purpose of that exhibit -- it is
20   injunction, success is still an aspect of that to whatever              20   being admitted for what? Because it needs to have some
21   degree the Court should weigh it.                                       21   limiting purposes, correct? You are not indicating that the
22             And to that end the admissibility of the evidence             22   statements of the reporter are offered for the truth of the
23   should still be weighed, particularly in cases like this                23   matter asserted; is that right?
24   where the authentication issue presents grave concerns about            24             MR. RIACH: That's correct, Your Honor. The
25   the video itself, that plaintiffs can't prove their case                25   purpose of this exhibit is to ask Commissioner Harrington
                                                                   194                                                                        196
 1   through evidence like this because of some of the                        1   some questions about the State Patrol conduct that's
 2   admissibility issues and the core aspects of them.                       2   displayed in the video and the propriety of that conduct
 3             THE COURT: What are the grave concerns as to the               3   under the Department of Public Safety policies that were
 4   authenticity of what is being reflected here?                            4   discussed on direct examination.
 5             MR. HSU: Yes, Your Honor. As it pertains to this               5             THE COURT: So the description of what is going on
 6   one, the circumstances and facts surrounding this video, the             6   by the reporter is not evidence, it is the visual depiction
 7   actions portrayed within are not fully informed because we               7   of what is going on that is evidence; is that what you are
 8   don't know the scope of this video and its full recording.               8   indicating?
 9             THE COURT: So you think it was a staged event and              9             MR. RIACH: That's correct, Your Honor.
10   did not happen?                                                         10             THE COURT: Okay. Just for clarification.
11             MR. HSU: No, Your Honor. I'm certainly not                    11             MR. RIACH: Thank you.
12   stating that, but the dynamic circumstances of these types              12             Can you please call up Defense Exhibit 15 and turn
13   of crowd situations require a full contextual consideration.            13   to page 2 of that exhibit, Ms. Anderson. Can you close the
14   The difficulties with presenting this video here,                       14   exhibit, please. Defense Exhibit 15, please. Thank you.
15   particularly with Commissioner Harrington, is that he has               15   There we go, page 2. Actually, can you move -- here we are.
16   stated he doesn't have the foundation to address those                  16   BY MR. RIACH:
17   contextual concerns with this exhibit.                                  17   Q. One of the rules that's listed on this exhibit,
18             And admitting it with him and through him would               18   Commissioner Harrington, under Principle Two, rule number 4,
19   prejudice the State particularly -- unfairly, we would                  19   is: "Peace officers shall take no action knowing it will
20   argue, particularly in light of the argument of time issues.            20   violate the constitutional rights of any person."
21   This video has existed, as counsel portends. He has had                 21             Is the conduct that we just witnessed, is it the
22   opportunity to find the source if he chose to.                          22   position of the Department of Public Safety that that
23             THE COURT: I don't understand. You're saying                  23   conduct is consistent with this rule?
24   there's a problem of timing and that there's been some bad              24   A. Having not been at the scene and having only seen this
25   faith on the part of the proponent of this evidence?                    25   video, I do not know the full context of why they were
                                                                Lori A. Simpson, RMR-CRR
                                                                        651-848-1225
                                                                                                                    Page 193 to Page 196
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 50 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                               July 28, 2021
                                                                197                                                                     199
 1   arrested or what the circumstances that surround that are.           1   hour and 15 minutes of testimony, which includes both of our
 2   So I'm unable to give you an answer based on what I've just          2   cross examinations.
 3   seen.                                                                3             So I understand that there's a hard stop today at
 4   Q. Okay. Rule number 6 states, "Peace officers learning of           4   3:30 and that Your Honor has other things on her schedule.
 5   conduct or observing conduct which is in violation of any            5   I just want to mention that, as a result, we will not get as
 6   law or policy of this department shall take action and/or            6   much time to put on our affirmative testimony as plaintiffs
 7   report the incident to the officer's immediate                       7   were allotted.
 8   supervisor...."                                                      8             THE COURT: Okay. Are there witnesses that you
 9              Are you aware of any internal reports or                  9   are planning to excuse because of that?
10   complaints based on this incident?                                  10             MS. LANDRUM: No, Your Honor. We were thinking
11   A. I'm not sure what you mean by "internal reports."                11   that we were going to be spending more than 40 minutes with
12   Q. Fair point. Let me rephrase the question. Are you                12   Major Dwyer inasmuch as there's a lot of ground to cover
13   aware of any state troopers who reported this incident to           13   here with regard to the unrest in May of 2020, as well as
14   their supervisor?                                                   14   April of 2021.
15   A. I cannot say that I know in particular. I know that              15             So, from that standpoint, I have been trying to
16   State Patrol documents all arrests as a matter of general           16   cut questions on my outline here to make sure that we cover
17   practice and procedure. So it would be unusual in my                17   everything that we believe Your Honor would need to hear.
18   experience for them not to document an arrest.                      18   That being said, I am nervous about being done by 3:30. And
19   Q. Okay. But no trooper, to your knowledge, reported this           19   then, of course, plaintiffs will want to cross-examine.
20   arrest as a violation of the rules that we're looking at            20             THE COURT: Certainly. And so it may mean that we
21   right now; is that correct?                                         21   need to schedule more time for the hearing.
22   A. None that I'm aware of, no.                                      22             MS. LANDRUM: I will move as quickly as humanly
23   Q. And you haven't -- prior to today you hadn't seen this           23   possible, Your Honor, but I worry that we won't be able to
24   video, correct?                                                     24   cover everything that we had hoped.
25   A. I don't remember seeing this particular video.                   25             THE COURT: I think we need to proceed as you see
                                                                198                                                                     200
 1   Q. Okay. And you hadn't looked into this incident at all,            1   fit to proceed professionally. If we need to have more time
 2   correct?                                                             2   for this hearing, we will have more time. The Court's
 3   A. No, other than to check whether -- I knew that there had          3   schedule is not going to impede the ability to fairly
 4   been CNN reporters arrested. I checked to see if a                   4   adjudicate this issue. Okay?
 5   complaint had been lodged by CNN; and when I found that              5             MS. LANDRUM: Absolutely.
 6   there was no complaint lodged by CNN, I didn't pursue the            6             THE COURT: And so I'm not going to end the
 7   matter further than that.                                            7   hearing and the submission of evidence and the presentation
 8   Q. Okay.                                                             8   of witnesses and close and take the matter under advisement
 9              MR. RIACH: Your Honor, it's my understanding we           9   based on the 3:30 stop. Okay?
10   have a hard stop at 3:30; is that correct?                          10             MS. LANDRUM: Okay, Your Honor.
11              THE COURT: That's correct.                               11             THE COURT: So if we need to, we will reconvene.
12              MR. RIACH: Well, I will end my cross examination         12             MS. LANDRUM: Thank you, Your Honor. We call
13   now. Thank you, Commissioner Harrington.                            13   Major Dwyer to the stand. Thank you.
14              THE WITNESS: Thank you.                                  14      (Witness sworn)
15              THE COURT: Is there anything further for this            15             COURT REPORTER: You can have a seat. If you
16   witness?                                                            16   could state your name, spelling your first and last name,
17              MR. HSU: Nothing further, Your Honor.                    17   please.
18              THE COURT: May the witness be excused?                   18             THE WITNESS: Joseph Jason Dwyer. Last name
19              MR. HSU: Yes, Your Honor.                                19   D-w-y-e-r.
20              THE COURT: Sir, you are excused.                         20                          (Joseph Dwyer)
21              MS. LANDRUM: Your Honor, the defense calls Major         21                         DIRECT EXAMINATION
22   Joseph Dwyer.                                                       22   BY MS. LANDRUM:
23              And, Your Honor, while we're waiting for Major           23   Q. Good afternoon, Major. Are you currently employed?
24   Dwyer, I would just like to note for the record that based          24   A. Yes, ma'am, I am.
25   off our rough timekeeping, we've put on approximately an            25   Q. Where is that?
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                              Page 197 to Page 200
                                                           EXHIBIT A
            CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 51 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                 July 28, 2021
                                                                 201                                                                      203
 1   A. With the Department of Public Safety, specifically the             1   conduct of sworn members.
 2   Minnesota State Patrol.                                               2   Q. Does this appear to be an accurate copy of this policy
 3   Q. And how long have you been working for the Minnesota               3   as Ms. Kosek is cycling through it?
 4   Department -- or for Minnesota State Patrol?                          4   A. Yes, it is.
 5   A. Since May of 1997. 24 years.                                       5             MS. LANDRUM: State defendants move to admit
 6   Q. What is your current title?                                        6   Exhibit 12 into evidence, Your Honor.
 7   A. I hold the rank of major.                                          7             THE COURT: Any objection?
 8   Q. And could you describe for the Court briefly your                  8             MR. RIACH: No objection, Your Honor.
 9   duties.                                                               9             THE COURT: Exhibit 12 is received.
10   A. Certainly. As a rank of major, we oversee an                      10   BY MS. LANDRUM:
11   operational region. So at this time or in the near future            11   Q. Major, what's the purpose of this conduct policy?
12   it will be the southern region of the state of Minnesota.            12   A. That is to provide guiding principles for all of our
13   And then currently I'm also on special assignment in the             13   members to abide by and to not only set the parameters of
14   realm of demonstration preparedness.                                 14   how they'll conduct themselves during their work hours, but
15   Q. Major, does Minnesota State Patrol have a mission                 15   also outside of those.
16   statement?                                                           16   Q. Major, I would like to talk to you next about training.
17   A. It does.                                                          17   Are you familiar with the training required to become a
18                MS. LANDRUM: Your Honor, permission to publish          18   Minnesota State Patrol trooper?
19   Exhibit 1 to the witness?                                            19   A. Yes, I am.
20                THE COURT: You may.                                     20   Q. Can you describe that briefly for the Court.
21                MS. LANDRUM: Ms. Kosek, would you please. Thank 21           A. So our agency requires that members receive or hold a
22   you.                                                                 22   two- or four-year degree in law enforcement or criminal
23   BY MS. LANDRUM:                                                      23   justice or there is reciprocity through -- from military
24   Q. Major, do you recognize Exhibit 1?                                24   partners, but we also have a law enforcement training
25   A. I do.                                                             25   opportunities program where an individual can hold a two- or
                                                                 202                                                                      204
 1   Q. What is it?                                                        1   four-year degree in any realm and then our agency, through
 2   A. That is our General Order, specifically the policy                 2   the use of MnSCU universities, will provide condensed law
 3   related to the mission statement, vision statement, and core          3   enforcement training for them to attend our academy.
 4   values.                                                               4   Q. And then can you briefly describe what's required for
 5   Q. Does this appear to be an accurate copy of that mission            5   the academy.
 6   statement?                                                            6   A. So our academy is a 16-week residential academy where
 7   A. Yes, it does.                                                      7   cadets are exposed to a vast variety of topics related to
 8                MS. LANDRUM: State defendants move to admit              8   the State Patrol.
 9   Exhibit 1.                                                            9   Q. Do troopers receive any dedicated training on how to
10                THE COURT: Any objection?                               10   respond to mass unrest or mass violence?
11                MR. RIACH: No objection.                                11   A. So there is a module in the academy and that's an
12                THE COURT: Exhibit 1 is received.                       12   eight-hour course.
13   BY MS. LANDRUM:                                                      13   Q. Do troopers receive any dedicated training on how to
14   Q. Major, are there any expectations regarding trooper               14   interact with the media during incidents of mass unrest or
15   conduct as they work to achieve this mission as we see here          15   mass violence?
16   in Exhibit 1?                                                        16   A. They do.
17   A. Most certainly.                                                   17   Q. Can you describe that for the Court.
18                MS. LANDRUM: Your Honor, permission to publish to       18   A. So that is a part of the eight-hour module, and they
19   the witness Exhibit 12?                                              19   also receive another block on media relations.
20                THE COURT: You may.                                     20   Q. Has there been any additional training of Minnesota
21   BY MS. LANDRUM:                                                      21   State Patrol troopers since the unrest that occurred in
22   Q. Major, do you recognize Exhibit 12?                               22   Minneapolis in May of 2020?
23   A. I do.                                                             23   A. There has been.
24   Q. What is it?                                                       24             MS. LANDRUM: Permission, Your Honor, to publish
25   A. That is our General Order again, our policy related to            25   Exhibit 19 to the witness?
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                Page 201 to Page 204
                                                         EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 52 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                   205                                                                          207
 1               THE COURT: You may.                                          1   BY MS. LANDRUM:
 2   BY MS. LANDRUM:                                                          2   Q. Major, what's the purpose of this First Amendment
 3   Q. Major, do you recognize Exhibit 19?                                   3   policy?
 4   A. I do.                                                                 4   A. Much like our other policies, it's to provide us
 5   Q. And as Ms. Kosek is going through it, can you just                    5   guidance and those guiding principles on how troopers will
 6   describe what this is to the Court.                                      6   conduct themselves in, this instance, First Amendment
 7   A. So it is a joint venture with the Department of Public                7   assemblies.
 8   Safety and the Department of Natural Resources on the topic              8   Q. Are troopers trained on this policy?
 9   of media relations.                                                      9   A. Yes, they are.
10   Q. Does this appear to be an accurate copy of the training              10   Q. Can you explain that to the Court.
11   that you were just referencing?                                         11   A. So during the course of the academy, all of our policies
12   A. Yes, it does.                                                        12   are introduced and they, through training, the cadets,
13               MS. LANDRUM: Your Honor, state defendants move to           13   trooper candidates, need to have an understanding of that
14   admit Exhibit 19.                                                       14   policy before they sign off on that.
15               THE COURT: Any objection?                                   15   Q. Major, I would like to talk to you a little bit about
16               MR. RIACH: No objection.                                    16   trooper performance. Does Minnesota State Patrol have a
17               THE COURT: It is received in evidence,                      17   process in place for evaluating trooper performance?
18   Exhibit 19.                                                             18   A. We do.
19               MS. LANDRUM: Thank you, Your Honor.                         19   Q. Can you describe that to the Court.
20   BY MS. LANDRUM:                                                         20   A. So we engage in annual evaluations, and they are
21   Q. Major, why were troopers required to take this training?             21   delivered by March 15th of each year. And even though
22   A. This was an initiative prior to the operation known as               22   there's an annual performance evaluation delivered on a
23   Safety Net in the city of Minneapolis leading up to the                 23   specific -- or by a specific date, there's feedback that
24   trials in an effort to provide them additional training.                24   each trooper will receive during the course of the year so
25   Q. Did troopers have to certify that they took this                     25   they can make corrective actions as necessary so it's not
                                                                   206                                                                          208
 1   training?                                                                1   memorialized in the document if they change their
 2   A. They did.                                                             2   trajectory.
 3   Q. Was there a date upon which they had to certify that?                 3   Q. For purposes of providing that feedback throughout the
 4   A. It was prior to April 1st.                                            4   year, Major, if discipline were to become necessary, does
 5   Q. Major, does Minnesota State Patrol -- April of 2021, did              5   Minnesota State Patrol have a procedure for that?
 6   you say?                                                                 6   A. Yes, we do.
 7   A. Yes, that is correct, ma'am.                                          7   Q. Can you describe that to the Court.
 8   Q. Does Minnesota State Patrol have any policies or                      8   A. So our discipline process implements the use of an
 9   procedures pertaining to the treatment of media, Major?                  9   outside agency, if you will, or outside entity. It's housed
10   A. Yes, we do.                                                          10   under the Department of Public Safety, but it is the
11               MS. LANDRUM: Permission to publish Exhibit 2 to             11   Internal Affairs Division.
12   the witness, Your Honor?                                                12   Q. Going back to discipline, though, that you might issue
13               THE COURT: You may.                                         13   to someone under your ranks, is there a policy or a
14   BY MS. LANDRUM:                                                         14   procedure for that?
15   Q. Major, do you recognize Exhibit 2?                                   15   A. There is.
16   A. Yes, I do. That's our First Amendment assemblies                     16   Q. Could you describe that to the Court.
17   policy, General Order.                                                  17   A. So that would actually fall under the bargaining unit,
18   Q. And Ms. Kosek has just cycled through the pages here on              18   collective bargaining, and the troopers' MLEA contract.
19   the screen. Does it appear to be an accurate copy of that               19   Q. If a trooper were found to have violated a Minnesota
20   First Amendment policy?                                                 20   State Patrol policy pertaining to the treatment of media or
21   A. It does.                                                             21   any of the policies that we've discussed this afternoon,
22               MS. LANDRUM: Your Honor, defendants move to admit 22             would they be subject to discipline?
23   Exhibit 2 into evidence.                                                23   A. Yes, they would be.
24               MR. RIACH: No objection, Your Honor.                        24   Q. Now, you just mentioned the Internal Affairs Department.
25               THE COURT: Exhibit 2 is received.                           25             MS. LANDRUM: I would like permission from the
                                                                Lori A. Simpson, RMR-CRR
                                                                        651-848-1225
                                                                                                                    Page 205 to Page 208
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 53 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                    209                                                                       211
 1   Court to publish to you Exhibit 11.                                       1   A. There were.
 2             THE COURT: You may.                                             2   Q. As a state agency, statewide agency, was Minnesota State
 3             MS. LANDRUM: Thank you, Your Honor.                             3   Patrol in charge of any of those other law enforcement
 4   BY MS. LANDRUM:                                                           4   agencies?
 5   Q. Do you recognize Exhibit 11, Major?                                    5   A. They were not.
 6   A. Yes, I do.                                                             6   Q. Why not?
 7   Q. And what is this?                                                      7   A. So our statutory existence from 299D is that of a
 8   A. Our policy specific to investigations, and then the                    8   separate entity. So we do not hold any authoritative power
 9   Minnesota Department of Public Safety's guidelines as well.               9   over any local jurisdiction or sheriff's jurisdiction of any
10   Q. And Ms. Kosek has just cycled through on the screen the               10   of our allied agencies.
11   pages. Does this appear to be an accurate copy of the                    11   Q. Does Minnesota State Patrol give orders to other law
12   internal affairs policy?                                                 12   enforcement agencies?
13   A. It does.                                                              13   A. We do not.
14             MS. LANDRUM: Defendants move to admit Exhibit                  14   Q. When did Minnesota State Patrol's involvement on the
15   Number 11, Your Honor.                                                   15   ground in Minneapolis began in 2020?
16             MR. RIACH: No objection, Your Honor.                           16   A. So specifically to our Mobile Response Team, we were
17             THE COURT: Exhibit Number 11 is received.                      17   requested on Tuesday, May 26th.
18   BY MS. LANDRUM:                                                          18   Q. Requested by who?
19   Q. Major, do Minnesota State Patrol troopers or lieutenants              19   A. That would have been the Minneapolis Police Department.
20   or even members of your rank participate directly when                   20   Q. And when did Minnesota State Patrol's involvement end in
21   internal affairs complaints are being investigated and                   21   that unrest that was happening?
22   making investigatory decisions?                                          22   A. So we were involved in demobilization. It would have
23   A. So this is an independent process. There will be                      23   been June 7th, which was a Sunday.
24   initial conversations that will initiate the disciplinary                24   Q. So I know we're talking about a substantial amount of
25   process, but as far as our insertion, no.                                25   time here and there's a lot of details to cover, but I want
                                                                    210                                                                       212
 1   Q. And why is that?                                                       1   to focus from your perspective as a law enforcement official
 2   A. To provide transparency and to rule out any type of                    2   on the ground the key events that Minnesota State Patrol
 3   nepotism that may be claimed, independent from our agency.                3   participated in, going in chronological order to the best
 4   Q. Major, I would like to switch gears here and talk about                4   that you can.
 5   May of 2020. Do you have any personal knowledge of what                   5             What was the first major event that Minnesota
 6   occurred in Minneapolis in May of 2020 following the murder               6   State Patrol was involved in on the ground?
 7   of George Floyd?                                                          7   A. So that Tuesday we were asked to provide site security
 8   A. Yes, I do.                                                             8   basically outside of the Third Precinct, but not an overt
 9   Q. And how did you develop that personal knowledge?                       9   presence, standing behind a line of Minneapolis police
10   A. So I was -- at that time held the rank of captain and                 10   officers. That night was drawn to a conclusion as most
11   was a commander of our Mobile Response Team.                             11   nights were, there was a pinnacle event and then activity
12   Q. And during the testimony of Commissioner Harrington, he               12   subsided.
13   testified a little bit about what was occurring on the                   13             The very next evening -- I should say that all of
14   ground, but could you testify from your personal experience              14   our troopers returned to their home destinations throughout
15   what was occurring on the ground during that time in                     15   the state and the very next evening was, like, the same
16   Minneapolis.                                                             16   cycle, notified at approximately the same time and then
17   A. So at the time that our state assets were inserted,                   17   tasked with security again outside of the Minneapolis Police
18   specifically the Mobile Response Team and then progressing               18   Department.
19   to the entire State Patrol, it was an evolution of an event,             19   Q. What precinct?
20   reaching, you know, to various pinnacles of riotous                      20   A. The Third Precinct.
21   behavior. At times, you know, reflecting back, it was                    21   Q. And what day was this? So you testified that you're
22   complete pandemonium and, as far as details, just utter                  22   securing the Third Precinct and this is the second night.
23   chaos.                                                                   23   What day is that?
24   Q. Were there any other law enforcement agencies involved                24   A. So that is Wednesday.
25   in the response in Minneapolis in May of 2020?                           25   Q. And what significant event happened there?
                                                                 Lori A. Simpson, RMR-CRR
                                                                         651-848-1225
                                                                                                                    Page 209 to Page 212
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 54 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                      July 28, 2021
                                                                    213                                                                       215
 1   A. So that was the -- again, escalation and really the                   1             MS. LANDRUM: Oh, it's actually quite short. Can
 2   introduction of fires and continued looting, and the night               2   you play it again.
 3   ended with automatic gunfire in a Target parking lot across              3             THE COURT: Let me ask you: Are these received in
 4   the street from our location.                                            4   evidence?
 5   Q. Can you describe that in a little bit more detail. So                 5             MS. LANDRUM: I was trying to lay the foundation
 6   you mentioned fires. What was on fire? And you mentioned                 6   and then I was going to offer them.
 7   gunfire. What are you referring to?                                      7             THE COURT: Okay. So you are playing for him --
 8   A. Most certainly. So during the course of the evening the               8             MS. LANDRUM: Yes.
 9   fires had commenced. Actually, the one parts store,                      9             THE COURT: -- to lay the foundation?
10   AutoZone, had been the subject of arson previously. That                10             MS. LANDRUM: Yes. Just to show it one more time.
11   fire had restarted and it was totally engulfed at one point.            11   Sorry.
12   There was also a high-rise residential complex behind that              12      (Video recording played)
13   that was fully engulfed. So really it's this surreal                    13   BY MS. LANDRUM:
14   environment of fire and smoke and loud boisterous crowds and            14   Q. Does this appear to be an accurate video, a copy of a
15   riotous behavior, projectiles, and then holding firm through            15   video that you took?
16   the night.                                                              16   A. It does.
17                There was an incident over in the Target parking           17             MS. LANDRUM: Defendants move to admit Exhibit 42,
18   lot with multiple gunshots, which led our troopers being out            18   both videos.
19   in the open struggling to find concealment or cover. So our             19             MR. RIACH: No objection.
20   whole team was, like, piled on top of each other behind like            20             THE COURT: They are received.
21   a three-foot Jersey barrier trying to avoid any harm to our             21             MS. LANDRUM: Thank you, Your Honor. And was Your
22   team.                                                                   22   Honor able to view those as they were being seen or would
23   Q. Major, did you take any videos of what occurred that                 23   Your Honor prefer to see them again?
24   night with the fires?                                                   24             THE COURT: I would like to see them again,
25   A. I took a variety of photos, and on the iPhone platform               25   please.
                                                                    214                                                                       216
 1   some of those are saved as live photos, which convert to                 1             MS. LANDRUM: Perfect. Ms. Kosek, if you could
 2   videos, yes.                                                             2   play them both in succession.
 3                MS. LANDRUM: Permission to publish to the witness           3      (Video recording played)
 4   and to the Court Exhibit 42, which are two videos taken by               4             MS. LANDRUM: And the second one, if you could
 5   Major Dwyer?                                                             5   enlarge the screen.
 6                THE COURT: Any objection?                                   6      (Video recording played)
 7                MR. RIACH: No objection, Your Honor.                        7   BY MS. LANDRUM:
 8                THE COURT: You may.                                         8   Q. So we just discussed what happened on that night in
 9      (Video recording played)                                              9   front of the Third Precinct. From your standpoint, Major,
10   BY MS. LANDRUM:                                                         10   what was the next major event that Minnesota State Patrol
11   Q. Do you recognize this video, Major?                                  11   was involved in?
12   A. I do.                                                                12   A. So on the next shift cycle, which would have been
13   Q. Was this a video you took?                                           13   Thursday, we were actually removed from the Third Precinct
14   A. I did, yes.                                                          14   and that security aspect and given an assignment downtown
15   Q. Does this appear to be an accurate copy of the video you             15   outside the First Precinct to provide security and then also
16   took?                                                                   16   to prevent any type of looting on Nicollet Mall.
17   A. It is.                                                               17   Q. So you were reassigned away from the Third Precinct.
18   Q. And is this the scene from the Third Precinct?                       18   What happened that night at the Third Precinct?
19   A. It is, the intersection of Lake and Minnehaha.                       19   A. So that was the evening that the Third Precinct was
20                MS. LANDRUM: Exhibit 42, Your Honor, actually has          20   abandoned and destroyed.
21   two videos within it. Permission to play the second one?                21   Q. The mission that Minnesota State Patrol was called to on
22                THE COURT: You may.                                        22   Nicollet Avenue that evening, can you just briefly describe
23      (Video recording played)                                             23   how that went.
24   BY MS. LANDRUM:                                                         24   A. Yes. We progressed through the evening. There were a
25   Q. Major --                                                             25   variety of various crowds down in that downtown area, some
                                                                Lori A. Simpson, RMR-CRR
                                                                        651-848-1225
                                                                                                                   Page 213 to Page 216
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 55 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                               July 28, 2021
                                                                217                                                                        219
 1   scheduled events outside the First Precinct, but ultimately          1   Q. And so you mention "the next cycle." Where did that
 2   criminal and dangerous activity was curbed. There was some           2   happen; where was that?
 3   instance of damage to property on Nicollet Mall, but by and          3   A. So on this particular day we were provided an assignment
 4   large it was evaded.                                                 4   to respond to the area of the Fifth Precinct. There was a
 5   Q. What was the next key event for purposes of Minnesota             5   large demonstration outside there. Based on concerns of
 6   State Patrol's participation during the unrest in                    6   what had happened at the Third Precinct, we were asked to
 7   Minneapolis in May 2020?                                             7   respond and try to prevent, you know, a similar situation of
 8   A. So it would have been that very same day, the Thursday            8   arson and damage and just harm to citizens in that area. So
 9   evening into the early morning hours of Friday, we were              9   we did respond to that area. Immediately the crowd
10   tasked or I was advised that we needed to go down and               10   dispersed, and that was after curfew, so at that point we
11   establish as large as perimeter, based on the Third Precinct        11   initiated patrolling the streets on foot patrol and issuing
12   dynamic, as large as perimeter as possible to provide like a        12   curfew citations, curfew enforcement basically.
13   safety barrier so that the events that occurred on Tuesday,         13   Q. Okay. And that's around the area of the Fifth Precinct?
14   Wednesday, Thursday would not occur again.                          14   A. Yes, ma'am.
15   Q. So was there significant concerns, safety concerns,              15   Q. What happened next?
16   around the area of the Third Precinct despite the fact that         16   A. So working collaboratively with Minneapolis Police
17   it now been sort of abandoned and lit on fire?                      17   Department, we did try to effect a mass arrest.
18   A. Without a doubt based on the previous night's activity,          18   Q. And the Court has heard today that phrase, "mass
19   criminal and otherwise, yes.                                        19   arrest," but it would be helpful, I think, if you would just
20   Q. We've heard testimony when you were not in the room,             20   explain to the Court from your perspective. What is a mass
21   Major, about the arrest of CNN -- a CNN crew. Were you              21   arrest?
22   aware that that happened?                                           22   A. Yes. So in the arena of crowd control or crowd
23   A. I am.                                                            23   management, there are a couple of different tactics that we
24   Q. Are you aware of approximately when that happened?               24   can employ.
25   A. It would have been that early morning hours of Friday.           25              One of it is crowd dispersal. The issue with
                                                                218                                                                        220
 1   Q. So was that the same time when Minnesota State Patrol             1   crowd dispersal, and especially given the environment that
 2   was being called to establish a larger perimeter in that             2   we were transgressing through, it just pushes the, if you
 3   area?                                                                3   will, problem area to another area or allows it to occur,
 4   A. Yes, it is.                                                       4   you know, the next evening. So that's the cycle. It really
 5   Q. Was that a safe area?                                             5   doesn't culminate to an end.
 6   A. Based on what we had seen transpire the previous two              6              A mass arrest situation, working in conjunction
 7   nights, the evacuation of the Third Precinct and the arson           7   with various departments, if you have enough resources to
 8   that occurred, it was not.                                           8   encircle a group, putting pieces of the puzzle into place
 9   Q. Were individuals being dispersed or otherwise arrested            9   systematically, and I like to call it like a choreography,
10   in that area because of the safety concerns there and the           10   so that it's built in a timely fashion, allowing people
11   looting and rioting and fires?                                      11   to -- you know, an avenue of exit and then if there's
12   A. Yes, they were.                                                  12   noncompliance, that final piece comes into place and then
13   Q. Now, in order to establish the perimeter that you just           13   there's enforcement action taken.
14   mentioned, what did Minnesota State Patrol do to assist             14   Q. You mentioned there that dispersal on its own was not
15   Minneapolis?                                                        15   always effective. Is that a lesson that Minnesota State
16   A. So really the first time in the history of our agency,           16   Patrol was learning on the ground in Minneapolis in May of
17   we had called every state trooper and activated them in the         17   2020?
18   early morning hours to respond to the city of Minneapolis.          18   A. Yes, we were.
19   Q. Had that ever happened before?                                   19   Q. Are mass arrests common?
20   A. Not to my knowledge.                                             20   A. Previously, no. Over the last 18 months it has been
21   Q. What's the next significant event that occurred?                 21   more common based on the environment that we're working
22   A. So we did establish that perimeter, just a large,                22   through.
23   multiple-block area. And then upon successfully doing that,         23   Q. Now, you mentioned that you attempted to do a mass
24   we started the next cycle, which would have been Friday             24   arrest. Where did that -- where was that occurring?
25   evening into Saturday morning.                                      25   A. After navigating through the city streets, in the area
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                              Page 217 to Page 220
                                                         EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 56 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                  221                                                                            223
 1   of Lake and Grand there was a large crowd of demonstrators.             1   particular day, but a residual from the previous evening.
 2   There was actually a fire built within the middle of that               2   So it was that, again, volatile, agitated state of the
 3   intersection. And based on reports, aerial with the use of              3   crowd.
 4   a helicopter or otherwise monitoring different entities of              4   Q. And were you physically there on the ground witnessing
 5   this crowd, we were able to set up a larger perimeter blocks            5   what you just described to the Court?
 6   out and, you know, move in. Unfortunately, one of the lines             6   A. Yes, I was.
 7   broke down and a large majority of that crowd was able to               7   Q. Was Minnesota State Patrol the only law enforcement
 8   escape.                                                                 8   agency present?
 9   Q. What about in the area of the Fifth Precinct, did                    9   A. We were not.
10   Minnesota State Patrol participate in any attempt to do a              10   Q. Can you explain from a law enforcement perspective what
11   mass arrest there?                                                     11   that line in the video, the line of law enforcement that was
12   A. Yes, we did.                                                        12   moving through the video, what were they attempting to do?
13   Q. Major Dwyer, are you familiar with the Declaration of               13   A. So in, again, field force operations there's some basic
14   Edward Ou?                                                             14   formations, the line maybe being the easiest to implement.
15   A. Yes, I am.                                                          15                Based on the crowd size and what we were facing,
16   Q. Did I ask you to review that this morning before your               16   we do -- we did have multiple lines and it's what we call
17   testimony?                                                             17   close support, so line formation, line formation, line
18   A. Yes, ma'am, you did.                                                18   formation, just a bolstering of resources so we have enough
19   Q. And did you, in fact, review it?                                    19   personnel to accomplish what we're trying to do.
20   A. I did.                                                              20                But on this particular evening it was to, again,
21   Q. And did I ask you to review the videos that he took that            21   protect that area. Once we had evaluated the crowd and
22   were attached to his declaration?                                      22   assessed where was the vast majority of them, we did
23   A. Yes, you did.                                                       23   formulate a plan, based on the curfew order, to move that
24   Q. And did you review those videos?                                    24   crowd into the Kmart parking lot to the north near Lake
25   A. Yes, ma'am.                                                         25   Street and effect a mass arrest.
                                                                  222                                                                            224
 1   Q. So you're familiar, then, when I refer to what is                    1   Q. Was a dispersal order given before that law enforcement
 2   Plaintiffs' Exhibit 14, which is an exhibit during the                  2   line started to move forward?
 3   daytime which appears to be outside of the Fifth Precinct.              3   A. In conjunction with the curfew order, there was a
 4   Would you agree with me, having viewed that this morning,               4   dispersal.
 5   that it looks like that is in the area of the Fifth                     5   Q. What was the basis for the dispersal?
 6   Precinct?                                                               6   A. Being after curfew and that this was no longer a
 7   A. Yes, it is.                                                          7   lawful -- it was after hours.
 8   Q. After having watched that video again this morning, can              8   Q. Did the dispersal order apply to media, members of the
 9   you describe to the Court from a law enforcement perspective            9   media who were present in that area?
10   what was happening there.                                              10   A. Yes.
11   A. So the video, as viewed, provides, you know, a very                 11   Q. Why?
12   short and small window into the event that was transpiring.            12   A. Because even though media personnel were exempt from a
13   So there is, you know, an active line of law enforcement and           13   curfew order, based on the law enforcement operation to
14   they are moving down the street there. There is an                     14   provide a safe perimeter and safe area to work, not only for
15   encounter with Mr. Ou. And what's not seen on the video is             15   the law enforcement personnel, but everybody in that area,
16   everything, you know, in the periphery, and, again, it is a            16   it was the intent to clear the entire landscape.
17   chaotic event.                                                         17   Q. Why couldn't media just stay behind? Why couldn't they
18               And I think reflecting on that scene, you know, we         18   stay behind the law enforcement line as it was moving
19   had came up a side street adjacent to Nicollet Avenue,                 19   forward to effect the mass arrest?
20   descended on 32nd Avenue or thereabouts. And immediately               20   A. From a law enforcement perspective, that provides a
21   upon, you know, forming the line formation on Nicollet Mall,           21   significant security risk, not only to personnel, but for
22   we were met with volatility and debris thrown, from rocks,             22   their safety as well. We also house a large number of
23   bottles, metal projectiles. There's even a report from one             23   resources, tools that we need to effectively move crowds.
24   of our troopers seeing a machete fly through the air and               24   So the best practice is that everybody stays out in front of
25   land near him. There were still fires, maybe not from this             25   the line and either disperses in the direction -- the
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                    Page 221 to Page 224
                                                              EXHIBIT A
            CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 57 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                    July 28, 2021
                                                                 225                                                                         227
 1   momentum, if you will, or off to the sides.                            1   correct?
 2   Q. Major, I know that the unrest in Minneapolis and in                 2              MS. LANDRUM: That's correct, Your Honor.
 3   St. Paul and surrounding areas lasted for several days, but            3              THE COURT: Okay. I'm going to take a recess now.
 4   in the interest of time, how did it ultimately come to an              4   I'm going to confer with my staff to determine whether we
 5   end?                                                                   5   can accommodate staying later than the originally scheduled
 6   A. So there was the evening on Nicollet Mall. And then the             6   time to end this hearing or whether we need to find another
 7   following day there was a mass arrest at Bobby & Steve's on            7   day to continue it, and there may -- if we can have
 8   Washington Avenue, which took a lot of the energy out.                 8   spokespeople from each party in the courtroom, there may
 9   Knowing that there was an insertion of consequences, we                9   need to be some conferral with you just to figure out the
10   didn't see the same level of energy from that point on.               10   logistics of what we can accommodate in terms of counsel's
11   Q. Major, I know that you already mentioned this, that you            11   availability as well. Okay?
12   took photos while you were present on the ground in                   12              MS. LANDRUM: Thank you, Your Honor.
13   Minneapolis in May 2020?                                              13              THE COURT: All right. We'll be in recess.
14   A. I did.                                                             14       (Recess taken at 3:31 p.m.)
15               MS. LANDRUM: Permission to publish Exhibit 41 to          15                         * * * * *
16   the witness, Your Honor?                                              16       (3:49 p.m.)
17               THE COURT: You may.                                       17                          IN OPEN COURT
18               MS. LANDRUM: Shirley, if you could -- Ms. Kosek,          18              THE COURT: You may proceed.
19   if you could pull it up.                                              19              MS. LANDRUM: Thank you, Your Honor.
20   BY MS. LANDRUM:                                                       20   BY MS. LANDRUM:
21   Q. Major, this is a compilation of 25 photos. If Ms. Kosek            21   Q. Major Dwyer, you just discussed sort of at a high level
22   can just move through them one at a time for you to identify          22   what was happening on the ground in Minneapolis in May of
23   them as being the photos that you, in fact, took.                     23   2022 -- or May of 2020. In your 22 years of law enforcement
24      (Witness reviews exhibit)                                          24   experience, had you ever participated in an event like that
25   A. Yes.                                                               25   before?
                                                                 226                                                                         228
 1   Q. Major, are those accurate copies of some of the                     1   A. I had not.
 2   photographs that you took in May of 2020?                              2   Q. Can you explain to the Court what made it different.
 3   A. Yes, they are.                                                      3   A. Really was an unprecedented event, navigating through,
 4               MS. LANDRUM: Your Honor, state defendants move to          4   like, the night after night after night after night of
 5   admit Exhibit 41.                                                      5   riotous behavior.
 6               MR. RIACH: No objection.                                   6              I always revert back to this one reflection or
 7               THE COURT: Exhibit 41 is received.                         7   memory, and it was the Friday evening into the early morning
 8               MS. LANDRUM: And, Your Honor, I see that it is             8   hours of Saturday. From a supervisory standpoint, the
 9   3:29. I'm about to transition. We certainly could talk                 9   things that we asked our troopers to do were like no other.
10   about some of these photos, but I am wondering if now is a            10              So we were in a, like, western direction in the
11   time to stop for the day.                                             11   area of 31st and Blaisdell, and there's a high-rise
12               THE COURT: Let me confer with my staff. I think           12   apartment behind us. And knowing some of the background
13   we probably can continue the hearing --                               13   and, like, attacks on law enforcement, that was on our
14               MS. LANDRUM: Wonderful.                                   14   minds. We were already met with violence, debris being
15               THE COURT: -- but I do need to at this point get          15   thrown out at us.
16   a better understanding of how much more time we would need            16              There's fires within the street, and our troopers
17   to determine whether it makes sense to continue it today or           17   were progressing down the street. We would have them go up
18   whether we need to also schedule another day for the                  18   to the fire, try to engage these violent actors. We'd put
19   hearing.                                                              19   out the fire as best as we could with the fire extinguishers
20               MS. LANDRUM: Thank you.                                   20   that we would have, but it wasn't totally extinguished. We
21               THE COURT: So can you tell me in your estimation          21   would ask them to walk through the fire up to the next fire
22   what more the hearing would entail?                                   22   to engage the crowd.
23               MS. LANDRUM: I would guess for this, ideally              23              And then ultimately on that evening there was an
24   another half hour to 45 minutes.                                      24   unattended vehicle that was -- with a brick on the
25               THE COURT: Okay. And that's simply for direct,            25   accelerator that was placed in our direction or trajectory
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                  Page 225 to Page 228
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 58 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                               229                                                                         231
 1   towards our line of troopers. So really that threat of               1   Q. What is it?
 2   vehicle assault also was something that we hadn't                    2   A. That is our General Order on use of force.
 3   encountered to that degree ever, and that was a nightly              3   Q. And Ms. Kosek has just flipped through the pages. Does
 4   occurrence.                                                          4   this appear to be an accurate copy of Minnesota State
 5   Q. Taking a step back, in your 22 years of experience,               5   Patrol's use of force policy?
 6   Major, prior to this time did you have experience in crowd           6   A. It does.
 7   control?                                                             7   Q. If a trooper were to violate this policy, would they be
 8   A. Yes, I do.                                                        8   subject to discipline?
 9   Q. Can you describe that to the Court.                               9   A. Yes, ma'am.
10   A. So I've been involved in field force operations since            10   Q. Now I would like to talk to you about what Minnesota
11   2008 prior to the Republican National Convention. And since         11   State Patrol did immediately after the May into June 2020
12   that time I've been a member of our Field Force Team, which         12   unrest subsided. From a high level, what lessons did
13   is now our Mobile Response Team. But I've attended all the          13   Minnesota State Patrol learn when it comes to the treatment
14   training and have led the training, but I also hold some            14   of media?
15   credentialing on a federal level with the Center For                15   A. So there's tactics or there are procedures that we have
16   Domestic Preparedness and instruct for them in field force          16   implemented. We've always had an outstanding relationship
17   operations.                                                         17   and held that in high regard and want to continue that. So
18   Q. So it sounds like you actually have a lot of experience          18   from a documentation standpoint, we invested into certain
19   in crowd control?                                                   19   tools. We made ourself what we would say readily
20   A. Yes, ma'am.                                                      20   identifiable in the interest of transparency, that if there
21   Q. Okay. On the ground in Minneapolis in 2020, was                  21   was an issue, that it could be identified that that indeed
22   Minneapolis State Patrol -- or Minnesota State Patrol ever          22   was a state trooper that was involved. And some of those
23   called to use any type of force, such as less lethal                23   tools, specifically we invested in the Intrepid app and
24   munitions or chemicals?                                             24   Salamander application just for better oversight of our
25   A. So we did employ riot control tools.                             25   operations.
                                                               230                                                                         232
 1   Q. Can you describe for the Court what types of tools were           1   Q. And specifically what do those tools, Intrepid and
 2   used.                                                                2   Salamander, do for State Patrol?
 3   A. So there's a variety, but actually through the course of          3   A. Basically provide tracking of not only personnel, but,
 4   evaluation, we've actually limited our inventory. So there           4   like, the Intrepid application allows real-time
 5   may be blast balls that are inert. There may be some that            5   documentation in the field, so as commanders or whoever is
 6   carry a payload or other dispensaries. There are chemical            6   logging information, that is stored on a server or web base
 7   agents as well that we use, specifically CS gas, along with          7   and it can be monitored virtually real time by supervisory
 8   direct impact. And then every trooper on their belt carries          8   or command staff and there's input that can be given related
 9   pepper spray, but also there are larger canisters that are           9   to the events.
10   used.                                                               10   Q. And I think you mentioned about Minnesota State Patrol
11   Q. Has the Minnesota State Patrol ever utilized rubber              11   being more identifiable. Can you just explain that to the
12   bullets?                                                            12   Court to make sure we understand what you mean by that.
13   A. We do not.                                                       13   A. Through the course or the aftermath of events in
14   Q. Would any of those agents be utilized without first              14   Minneapolis, there were several events that were brought to
15   giving an opportunity to disperse?                                  15   our attention and every time it was always State Patrol,
16   A. They would not.                                                  16   State Patrol, State Patrol.
17   Q. Does Minnesota State Patrol have any policies or                 17             So on the front chest protector or the front panel
18   procedures pertaining to the use of force?                          18   of our chest protector, there's an identifier. Previously
19   A. We have a specific use of force policy.                          19   it just used to be one row of text. As we tried to identify
20              MS. LANDRUM: Permission to publish Exhibit 10 to         20   individuals in like a Twitter video or grainy quality videos
21   the witness, Your Honor?                                            21   that are posted in a myriad of places, it became apparent
22              THE COURT: You may.                                      22   that, like, if it said, "Sheriffs" or "Police "Officer" --
23   BY MS. LANDRUM:                                                     23   there was only one during this event that really stood out
24   Q. Major, do you recognize Exhibit 10?                              24   and that was our partners from the DNR. They had two rows
25   A. I do.                                                            25   of text, "Conservation Officer." So in an effort to just
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                                 Page 229 to Page 232
                                                        EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 59 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                               July 28, 2021
                                                                233                                                                      235
 1   make us readily identifiable, we went with a state                   1   everybody. And so there are people that, you know, come to
 2   silhouette with a bright white background and then it says,          2   the event out of curiosity, there are individuals that come
 3   "State Trooper" on it and it's approximately eight inches by         3   to the event to cause harm or damage or create chaos, and
 4   four inches wide.                                                    4   then there are media individuals that are there to cover the
 5   Q. And is that because Minnesota State Patrol wanted to be           5   events and report on that. So to have that amount of people
 6   easily and readily identified as Minnesota State Patrol?             6   in a very small footprint, it's very challenging to identify
 7   A. Without a doubt.                                                  7   which person is affiliated with which group.
 8   Q. And just to clarify the testimony that you just gave, in          8   Q. Can you explain that to the Court, why that is. Because
 9   May -- for purposes of May 2020, I think you said it                 9   we have heard testimony today from individuals claiming that
10   was Patrol, it was Patrol, it was Patrol. Did you mean              10   they were easily and readily identifiable as media. Can you
11   there that other officers were being confused for Minnesota         11   explain from your perspective how that occurs in the field.
12   State Patrol?                                                       12   A. As far as trouble in identifying?
13   A. That is correct.                                                 13   Q. Being able to identify who is or is not media.
14   Q. I would like to move to a discussion of Operation Safety         14   A. Certainly. So what we saw in Brooklyn Center and
15   Net, which the Court has already heard about. But are you           15   Minneapolis, there's, let's say, kind of a covert or trying
16   familiar with Operation Safety Net?                                 16   to blend in with the crowd that perhaps media is engaged in.
17   A. I am.                                                            17             Because we have seen that when media is identified
18   Q. Are you aware of any steps Operation Safety Net took to          18   by certain groups of demonstrators, protesters, that they
19   plan for the presence of media for purposes of the Derek            19   aren't always accepted kindly and that they direct action
20   Chauvin trial?                                                      20   towards some of these reporters based on, you know, certain
21   A. I am. There were different platforms of outreach to              21   stories that they've provided or direction or, you know,
22   make contact with our media partners, different forums. I           22   something portrayed in the news. So we've actually had to
23   participated in one that was best practices if media                23   separate reporters from bad actors in the past.
24   encountered law enforcement. And then also I know that              24             And then on the other side, it provides a tool for
25   there was an initiative to move towards a standardized press        25   demonstrators. Those that would like to engage in criminal
                                                                234                                                                      236
 1   credential.                                                          1   activity or riotous behavior, it provides them almost like a
 2   Q. You mentioned that you participated in something                  2   cloak of, again, blending in, not anonymity, but they are
 3   pertaining to best practices. Best practices as to what?             3   portraying themselves as media personnel so that they are,
 4   A. As far as if there is interaction on the media side with          4   you know, in this hands-off type environment, knowing the
 5   our partners in law enforcement, of how to navigate safely           5   particulars of how we treat media and wanting to uphold the
 6   through these very tumultuous and unpredictable events.              6   Constitution and freedom of press.
 7   Q. And you mentioned the discussion of a press credential.           7   Q. So you mentioned two concerns there with regard to the
 8   Can you explain that further to the Court.                           8   identification of media, one possibly being a safety issue
 9   A. So in the interest of -- much like our front panel chest          9   for the media coming from persons intending to do harm in
10   protector to make us readily identifiable, if there was one         10   the field. Did I hear that correctly?
11   standardized press pass or credential, it would serve the           11   A. Yes, that is correct.
12   same purpose. So looking at it, you would be able to                12   Q. Have you seen that yourself in the field?
13   identify that individual as press. Even if they were                13   A. Yes.
14   standing side by side with somebody active in the crowd or          14   Q. Did you see that in Brooklyn Center?
15   an agitator, a bad actor, there would be that discernible           15   A. There were instances of that in Brooklyn Center. We've
16   markings to allow us to make sure the correct action was            16   seen it at the Capitol. We've seen it in other venues.
17   taken.                                                              17   Q. And then you also mentioned that another concern is that
18   Q. In your law enforcement experience, do members of the            18   individuals might claim to be press who aren't, in fact,
19   media sometimes get so close as to be side by side with             19   press. Did I hear that right?
20   agitators or other members within a crowd situation?                20   A. Yes, that is correct.
21   A. In recent events I've seen that frequently.                      21   Q. Is that something that you've actually seen in the
22   Q. From a law enforcement perspective, why would it be              22   field?
23   important for you to be able to clearly identify who is or          23   A. Yes.
24   is not media visually?                                              24   Q. And did you see that in Brooklyn Center?
25   A. So in a crowd dynamic, there is this intermixture of             25   A. Yes, we did.
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                              Page 233 to Page 236
                                                        EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 60 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                  237                                                                          239
 1   Q. And were some of those instances documented?                         1   Q. Did Minnesota State Patrol incur any injuries as a
 2   A. They were.                                                           2   result?
 3   Q. Okay. Because that's active criminal investigative                   3   A. We did have troopers that were injured.
 4   data, I won't be asking specific questions about those.                 4   Q. How did this unrest in Brooklyn Center, and I think you
 5             So let's just take a step back, then. We started              5   touched upon this a little bit, but how did it compare as a
 6   bleeding into Brooklyn Center. Taking a high level, did                 6   whole to what you experienced in May 2020?
 7   Minnesota State Patrol have involvement in responding to                7   A. So it really contributed to -- a difference was the
 8   Brooklyn Center?                                                        8   smaller footprint. In Minneapolis it was spread out, you
 9   A. Yes, we did.                                                         9   know, through a large sector or various sectors of the city.
10   Q. How did Minnesota State Patrol become involved?                     10   In Brooklyn Center, it was confined to the area directly in
11   A. Again, much like the events of Minneapolis, in the death            11   front of the Brooklyn Center Police Department, specifically
12   of Daunte Wright we were asked to provide additional                   12   that Humboldt Avenue area and just that north-south
13   services or resources to the city as their resources were              13   corridor, and those week's events transpired in that very
14   not adequate to respond to the event.                                  14   small footprint. So there is a small, like, commercial
15   Q. And who made that request?                                          15   sector, but also there is a larger residential footprint as
16   A. That would have been the City of Brooklyn Center.                   16   well.
17   Q. Was Minnesota State Patrol the only other law                       17   Q. And when did Minnesota State Patrol -- or how long was
18   enforcement agency that came to aid Brooklyn Center?                   18   Minnesota State Patrol on the ground in Brooklyn Center?
19   A. They were not.                                                      19   A. For a period of a week.
20   Q. Who else responded?                                                 20   Q. Can you describe for the Court from a high level what
21   A. So there was a variety of metro or suburban departments.            21   the law enforcement response to that was. What did law
22   West Metro Command, they were there, the Hennepin County               22   enforcement do in response to the unrest they were seeing?
23   Sheriff's Office. A variety of departments.                            23   A. Certainly. So we worked cooperatively, collaboratively
24   Q. Was Minnesota State Patrol in charge of the law                     24   with our law enforcement partners of those various
25   enforcement response that occurred in Brooklyn Center in               25   jurisdictions to quell the unrest.
                                                                  238                                                                          240
 1   April 2021?                                                             1   Q. And how did you do that?
 2   A. No, we weren't.                                                      2   A. So there were evenings that we would try to effect,
 3   Q. Was Minnesota State Patrol issuing commands to any other             3   like, the mass arrest situation. Some of those evenings
 4   law enforcement agency on the ground in Brooklyn Center in              4   were successful. The very first night that we were there,
 5   2021?                                                                   5   putting all the, again, puzzle pieces together, one arrest
 6   A. No, we were not.                                                     6   was effected out in front of the police department. And
 7   Q. From a law enforcement perspective -- first of all,                  7   then the Friday evening, that was on the other end of the
 8   Major, were you on the ground in Brooklyn Center?                       8   spectrum where a large mass arrest was effected.
 9   A. I was.                                                               9   Q. The Court heard a little bit of testimony today about a
10   Q. From a law enforcement perspective, what was occurring              10   fence around the Brooklyn Park -- or Brooklyn Center Police
11   on the ground there?                                                   11   Department. Can you share, what was the law enforcement
12   A. Again, it's this chaotic environment. Initially that                12   purpose of that?
13   first day, that Sunday, a very energetic, boisterous crowd,            13   A. Really it was a de-escalation.
14   noncompliant, agitated, engaging in, you know, throwing                14             So any time that there's law enforcement
15   debris, much like what we saw in Minneapolis. But when                 15   insertion, we recognize that that very well could serve as
16   dealing with this crowd, my assessment of it was even more             16   an audience at some point and there's a lot of energy
17   noncompliant than Minneapolis. The groups of individuals or            17   directed at that group of law enforcement, which we saw
18   individuals themselves were not afraid to stand, like, toe             18   there.
19   to toe with law enforcement.                                           19             So in an effort to remove that law enforcement
20   Q. I'm certain that you witnessed individuals there who                20   line, which was there the first night, on Monday there was a
21   were not engaging in unlawful conduct, right?                          21   single fence that was erected on the front side of the
22   A. Yes.                                                                22   Brooklyn Center Police Department.
23   Q. But so I'm hearing that there were some individuals                 23             And then on a subsequent night there was a double
24   engaging in unlawful conduct?                                          24   layer of fence, which would allow for law enforcement to be
25   A. That is correct.                                                    25   totally removed and at a greater distance from the crowd,
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                  Page 237 to Page 240
                                                         EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 61 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                       July 28, 2021
                                                                    241                                                                          243
 1   not to incite undue or unneeded energy.                                   1   safe location for you to continue your journalism.
 2   Q. Was that a lesson learned from May 2020, the fencing?                  2   Q. And how are the dispersal orders issued?
 3   A. Without a doubt, and that's a tactic that is still                     3   A. So we have what's called an LRAD, it's a long-range
 4   implemented in locations.                                                 4   acoustical device, and they're broadcast on that device.
 5   Q. Did Minnesota State Patrol officers take photos of what                5   Q. This morning did I direct you, Major, to review the
 6   was occurring in Brooklyn Center?                                         6   videos -- we already reviewed this, but so this morning I
 7   A. They did.                                                              7   asked you to review the videos of Edward Ou; is that
 8   Q. And where were they housed?                                            8   correct?
 9   A. So we do have a server, a specific drive based on                      9   A. Yes, ma'am.
10   events, and they're kept at that location.                               10   Q. And had you seen those before?
11   Q. And were they also obtained through Intrepid, the new                 11   A. I have.
12   system that you just discussed?                                          12   Q. I think it's worth --
13   A. Yes, ma'am.                                                           13              MS. LANDRUM: Shirley, if you can pull up very
14              MS. LANDRUM: Permission to publish Exhibit 43 to              14   quickly Plaintiffs' Exhibit 8, we'll play it again. It's
15   the witness, Your Honor?                                                 15   been admitted into evidence.
16              THE COURT: You may.                                           16      (Video recording played)
17   BY MS. LANDRUM:                                                          17              MS. LANDRUM: Can you pause it there, Shirley.
18   Q. Exhibit 43, Major, is a compilation of photos, and                    18   Thank you, Shirley.
19   Ms. Kosek will cycle through them quickly. Do you recognize              19   BY MS. LANDRUM:
20   these as being photos taken from Brooklyn Center?                        20   Q. Major, can you share with the Court from a law
21   A. I do.                                                                 21   enforcement perspective what you're seeing in this video.
22   Q. And how do you know that?                                             22   A. So my assessment and recollection is there's a line of
23   A. It's a depiction of various debris. Location is outside               23   law enforcement, which would be to the south here on
24   of the Brooklyn Center Police Department in the area of                  24   Humboldt Avenue. It's directly in front of the Brooklyn
25   Humboldt Avenue.                                                         25   Center Police Department. And there are still a number of
                                                                    242                                                                          244
 1   Q. And are these maintained by Minnesota State Patrol as                  1   individuals out in front of that law enforcement line to the
 2   part of their law enforcement duties?                                     2   north of them.
 3   A. They are.                                                              3   Q. Now, here at this portion where Ms. Kosek has stopped
 4              MS. LANDRUM: The state defendants move to admit                4   the video, can you see two individuals that appear to be
 5   Exhibit 43 into evidence, Your Honor.                                     5   recording the law enforcement officers?
 6              MR. RIACH: No objection.                                       6   A. I do.
 7              THE COURT: Exhibit 43 is received in evidence.                 7   Q. Based on your law enforcement experience on the ground,
 8              MS. LANDRUM: Thank you, Your Honor.                            8   can you determine, one way or the other, whether or not
 9   BY MS. LANDRUM:                                                           9   these are members of the media?
10   Q. Were dispersal orders given in Brooklyn Center, Major?                10   A. Given this snapshot in time, no.
11   A. Yes, ma'am, there were.                                               11   Q. Why not?
12   Q. Did they apply to media?                                              12   A. Like I spoke about previously, just mere attire and in
13   A. Yes.                                                                  13   an effort to blend in, but also it's just the use of cell
14   Q. Why?                                                                  14   phones or devices, cameras. This is not uncommon, for
15   A. Much like in the city of Minneapolis, the environment                 15   everybody to bring a cell phone or some sort of recording
16   was unsafe and it needed to be cleared in order to prevent               16   device to these events.
17   the ongoing activity that was occurring.                                 17   Q. Now, in the shot here you can see some individuals in
18   Q. Now, the Court heard testimony today that in Brooklyn                 18   the street that appear to be between the law enforcement
19   Center the dispersal orders specifically mentioned the                   19   line and protesters. Can you explain to the Court, is there
20   media. Can you explain why.                                              20   anything problematic with their location there?
21   A. Yes. So understanding the dynamic that we navigated                   21   A. Yes. So the intent of the law enforcement line in this
22   through in Minneapolis and wanting to make it clear to our               22   general area, in order to bring the events of this
23   media partners and provide like a safe environment and,                  23   particular evening to a close safely, is to actually clear
24   like, specific instructions, like this is -- in order to                 24   the streets.
25   continue reporting of events, we've designated an area or a              25              What is to the north of this location is a large
                                                                 Lori A. Simpson, RMR-CRR
                                                                         651-848-1225
                                                                                                                     Page 241 to Page 244
                                                                EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 62 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                 July 28, 2021
                                                                   245                                                                     247
 1   strip mall parking lot, and we know that many of the                  1   that occurred in Brooklyn Center?
 2   vehicles that -- the individuals at this event parked their           2   A. We did.
 3   vehicles there. So we were trying to disperse, move that              3               MS. LANDRUM: Permission to show to the witness
 4   crowd to the north.                                                   4   Exhibit 21, Your Honor?
 5   Q. Did you ever utilize -- not you. Did Minnesota State               5               THE COURT: Any objection?
 6   Patrol utilize force of any kind in order to effectuate a             6               MR. RIACH: No, Your Honor.
 7   dispersal without first giving the dispersal order?                   7               THE COURT: You may.
 8   A. We did not.                                                        8      (Video recording played)
 9   Q. In Brooklyn Center did you ever personally witness a               9   BY MS. LANDRUM:
10   trooper intentionally targeting a member of the media with a         10   Q. Major, do you recognize Exhibit 21?
11   use of force or arrest?                                              11   A. I do, yep. That's consistent with the crowds that we
12   A. I did not.                                                        12   would see over the course of the days.
13             MS. LANDRUM: I would like to show now, Your                13               MS. LANDRUM: Can you play it again.
14   Honor, Exhibit 29 for demonstrative purposes only. This is           14      (Video recording played)
15   a video that this witness did not take. Would that be --             15               THE WITNESS: There is a law enforcement
16             THE COURT: Are there any objections?                       16   contingent to the forefront, and then also just a large mass
17             MR. RIACH: No objection, Your Honor.                       17   of people beyond that.
18             THE COURT: You may.                                        18   BY MS. LANDRUM:
19      (Video recording played)                                          19   Q. Does this appear to be an accurate copy of the video
20   BY MS. LANDRUM:                                                      20   Minnesota State Patrol took in Brooklyn Center in April
21   Q. Can you see this video, Major?                                    21   2021?
22   A. Yes, I can.                                                       22   A. It is.
23   Q. Can you just describe for the Court -- do you have any            23               MS. LANDRUM: State defendants move to admit
24   recognition of what you're seeing here?                              24   Exhibit 21, Your Honor.
25   A. Yeah. So this is the very commercial area that I spoke            25               MR. RIACH: No objection.
                                                                   246                                                                     248
 1   to, the strip mall just to the north of the Brooklyn Center           1               THE COURT: Exhibit 21 is received.
 2   Police Department.                                                    2               MS. LANDRUM: And if we could play it again,
 3   Q. And what was occurring at this area at the time?                   3   Ms. Kosek.
 4             MS. LANDRUM: Could you play it again, Ms. Kosek.            4      (Video recording played)
 5      (Video recording played)                                           5   BY MS. LANDRUM:
 6             THE WITNESS: So those behaviors that we've seen             6   Q. There's a moment here in this video where you see a
 7   at previous riots, the looting, the damage to property, the           7   bright light flashing, right there (indicating). Can you
 8   Dollar Tree was subject to arson and the individuals, you             8   describe for the Court what that is.
 9   know, capturing that.                                                 9   A. So at many of these events the crowd, members of the
10   BY MS. LANDRUM:                                                      10   crowd or a member of the crowd, will use distractionary
11   Q. From your perspective as a law enforcement official on            11   devices. So this very well could be like a high-intensity
12   the ground, would you identify all these people as being             12   light that is pointed towards law enforcement. Otherwise,
13   members of -- journalists or members of the media?                   13   you know, it's not out of the realm of possibility for laser
14   A. Given that snippet of video, it's very hard to discern            14   light to be used.
15   who is media and who is general public.                              15               MS. LANDRUM: Permission to present to the witness
16             MS. LANDRUM: If you could play it again,                   16   Exhibit 22?
17   Ms. Kosek.                                                           17               THE COURT: You may.
18      (Video recording played)                                          18      (Video recording played)
19             MS. LANDRUM: You can turn the volume down or off. 19            BY MS. LANDRUM:
20   BY MS. LANDRUM:                                                      20   Q. Major, do you recognize Exhibit 22?
21   Q. Given what was occurring here, the looting, as you                21   A. I do.
22   mentioned, is it appropriate for people to be in this area?          22   Q. What is it?
23   A. So this also would be unsafe, and this area needs to be           23   A. So that's a scene from Brooklyn Center outside the
24   cleared to prevent further criminal activity.                        24   residential area in the area of 6700 Humboldt and the crowd
25   Q. Did Minnesota State Patrol take any videos of the unrest          25   in that area.
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                Page 245 to Page 248
                                                           EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 63 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                      July 28, 2021
                                                                    249                                                                         251
 1   Q. Is this a video that Minnesota State Patrol took?                      1   Q. Given the dispersal order, is that a lawful place for
 2   A. It is.                                                                 2   them to be?
 3   Q. Does this appear to be an accurate copy of the video                   3   A. It is not.
 4   Minnesota State Patrol took in Brooklyn Center in April                   4   Q. And from your perspective as a law enforcement official,
 5   2021?                                                                     5   the individuals that you can see here, some of whom on the
 6   A. Yes.                                                                   6   sides are recording, would you consider them to be media or
 7               MS. LANDRUM: Your Honor, the state defendants                 7   would you be able to identify them as media?
 8   move to admit Exhibit 22.                                                 8   A. Given the information that I have here, again, it's hard
 9               MR. RIACH: No objection.                                      9   to discern who is affiliated with media or who is a member
10               THE COURT: It is received.                                   10   of the public.
11   BY MS. LANDRUM:                                                          11   Q. I want to turn to the evening of Friday, April 16th, and
12   Q. Now, we'll probably have Ms. Kosek play it a couple                   12   I think that you mentioned that that was the night where
13   times and you could just maybe provide a narrative for us,               13   there was the largest mass arrest. Did I hear that right?
14   what all we're seeing here on the ground and sort of from                14   A. Yes, ma'am.
15   the law enforcement perspective the importance of it.                    15   Q. Was a dispersal order given that day?
16               Maybe we could talk about the umbrellas first.               16   A. It was.
17   What's happening there with the umbrellas?                               17   Q. Who gave it?
18   A. So that's not out of the realm of normal at these                     18   A. A member of the law enforcement. I don't recall if it
19   events. We've seen it across the nation and now we've seen               19   was the State Patrol.
20   it in Minnesota. But they are used to mask, like, the next               20   Q. The Court heard testimony today from a witness that was
21   intentional move, to provide concealment, whether it is to               21   present who believed that perhaps a dispersal order was not
22   compile debris to be thrown or talk about strategy, like the             22   given. What's your reaction to that?
23   next move that they're going to implement, but really the                23   A. So I know that a dispersal order was given and it very
24   biggest fear is some type of weaponry directed at law                    24   well could have been using our LRAD system, but considering
25   enforcement.                                                             25   it wasn't our primary authority, that we were assisting, it
                                                                    250                                                                         252
 1   Q. At this point in the evening, would a dispersal order                  1   would have defaulted to either the Hennepin County Sheriff's
 2   already have been issued?                                                 2   Office or one of the other departments assisting.
 3   A. Yes, it would have.                                                    3   Q. Would Minnesota State Patrol ever effectuate a mass
 4   Q. Now, I have seen periodically what looks like objects                  4   arrest without first issuing a dispersal?
 5   being thrown towards law enforcement. Am I seeing that                    5   A. We would not.
 6   right?                                                                    6   Q. Can you explain to the Court what was happening that
 7   A. Yes, you are.                                                          7   Friday night before the dispersal order was given.
 8               MS. LANDRUM: If you could play it again,                      8   A. Much like some of the previous evenings, there was a
 9   Ms. Kosek. Thank you.                                                     9   large congregation of a crowd. It was volatile. It was
10      (Video recording played)                                              10   violent at times. The projectiles, the debris, a lot of
11   BY MS. LANDRUM:                                                          11   this was directed at the Brooklyn Center Police Department
12   Q. I also notice this really bright light here kind of in                12   even though the law enforcement contingent was removed from
13   the bottom left quadrant. What's that?                                   13   the direct fence area and up towards the building, but there
14   A. So this individual driving this vehicle was present on                14   were reports of, again, large items of debris, paint being
15   most nights in the area and, again, that's a distractionary              15   used. And really what precipitated or the, I guess, flash
16   device. It affects the visibility of our troopers and                    16   point, if you will, for the mass arrest was individuals
17   causes distraction.                                                      17   trying to breach the first fence that was erected.
18               MS. LANDRUM: If we can pause it here, Ms. Kosek.             18   Q. The Court also heard testimony today from a member of
19   BY MS. LANDRUM:                                                          19   the media who was photographed on that Friday, April 16th,
20   Q. So you can see here that an individual is just running                20   and this is actually the testimony of Christopher -- now I
21   across the line of protesters, and then there's another                  21   forget and I'm going to mispronounce his last name --
22   individual standing there with what looks like a GoPro.                  22   T-u-i-t-e. Are you familiar with his testimony via his
23   From a law enforcement perspective, is that a safe place for             23   declaration and videos?
24   those individuals to be?                                                 24   A. I have reviewed the declaration and videos.
25   A. Under the current conditions, no.                                     25   Q. Because I asked you to do that this morning?
                                                                 Lori A. Simpson, RMR-CRR
                                                                         651-848-1225
                                                                                                                    Page 249 to Page 252
                                                             EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 64 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                     July 28, 2021
                                                                  253                                                                        255
 1   A. Yes, ma'am.                                                          1   media maintaining their presence within an encirclement?
 2   Q. Can you describe for the Court what Minnesota State                  2   A. Without a doubt. So even though that -- it's relatively
 3   Patrol was attempting to do in photographing members of the             3   stabilized, it's still unpredictable within that
 4   media on Friday, April 16th.                                            4   environment. It's not uncommon for individuals to still
 5   A. Certainly. So there was no ill intent by photographing               5   resist law enforcement in that environment. So the process
 6   individuals or press credentials. It was really in an                   6   of mass arrest is to form this encirclement, but then to
 7   effort to expedite the process to be able to log the                    7   send controlled teams to effect an arrest and extract
 8   information and either confirm at a later time or have                  8   individuals from the inside.
 9   documentation that we did indeed have contact with these                9   Q. When Minnesota State Patrol troopers were directing
10   individuals, so there wasn't, you know, reports of                     10   members of the media to remove themselves from the mass
11   wrongdoing afterwards.                                                 11   arrest encirclement, did they do that for the purpose of
12   Q. What was the purpose in the first place? Why was there              12   preventing them from doing their jobs as reporters?
13   a need to identify who these individuals were?                         13   A. No, ma'am.
14   A. So it's our standard protocol that everybody, like,                 14   Q. Why did they do it, then?
15   within a containment or that mass arrest situation, that               15   A. It was really in an effort to remove them from the
16   we're identifying all those individuals. It's part of our              16   unsafe environment and to provide them with an area to
17   enforcement or arrest process. Through the use of Intrepid             17   continue their reporting in a safe area.
18   everybody has their photograph taken, a trooper will enter             18   Q. Well, could they continue that reporting just
19   individual notes, and then either they're released after               19   immediately outside the encirclement area?
20   determining, you know, proper affiliation or they're                   20   A. We did allow that.
21   escorted to, you know, the enforcement line.                           21   Q. And so talk to me about that. With regard -- you
22   Q. So those individuals who were photographed, they had                22   mentioned providing a safe area. Is that something that was
23   been caught -- they had been encircled in a mass arrest; is            23   happening in Brooklyn Center?
24   that right?                                                            24   A. Every evening, yes.
25   A. Yes, ma'am.                                                         25   Q. Can you describe that to the Court.
                                                                  254                                                                        256
 1   Q. And had a dispersal order already been granted by that               1   A. So even in one of our dispersal orders we had given
 2   time -- or had a dispersal order already been issued at that            2   direction to go to a certain location because it was deemed
 3   time?                                                                   3   safe. And we're at a little bit of an advantage because we
 4   A. That is correct.                                                     4   know our next move, and there were times where myself or
 5   Q. And did members of the media know that it applied to                 5   other commanders would have conversations with members of
 6   them?                                                                   6   the media, telling them that we're going to start effecting
 7   A. It is my belief that the dispersal order -- they should              7   arrests here and that this will be, you know, a safe
 8   have known, yes.                                                        8   location for you, and those, obviously, were the ones that
 9   Q. So those individuals being photographed, were they not               9   were clearly identifiable with what we deemed, you know,
10   members of the media, were they otherwise subject to arrest?           10   like mainstream credentialing. And then there were other
11   A. Yes, they would be.                                                 11   times where they had to be extracted from that inside and
12   Q. Why?                                                                12   then a location was identified where they can continue their
13   A. Because they were still present at the scene after                  13   coverage.
14   direct information was given them to leave the scene.                  14   Q. Is that a standard practice for Minnesota State Patrol,
15   Q. We heard testimony today from a photographer who had                15   to try to provide a safe area where media can continue their
16   refused to leave a mass arrest encirclement. From a law                16   coverage if they're located in an area that's not safe?
17   enforcement perspective, what is the problem with members of 17             A. It is. It's something that we've been doing for a
18   the media remaining in an encircled area where a mass arrest           18   number of years. Also, like, at the State Capitol, that's
19   is being conducted?                                                    19   really where we've had the most exposure prior to
20   A. Really it complicates the entire process from an                    20   Minneapolis and Brooklyn Center, but there are times that we
21   efficiency standpoint, but also, again, as I previously                21   are having conversations with our media partners and telling
22   spoke to, it's this intermixing of people from different               22   them that maybe the best area is not right on top of the
23   affiliations, media, the public. So trying to navigate                 23   demonstration. So we will point out several locations. It
24   through that is troublesome.                                           24   might be across the street with elevation. It might be at a
25   Q. Are there any safety issues presented by a member of the            25   different vantage point. But I think a lot of media
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                   Page 253 to Page 256
                                                             EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 65 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                              July 28, 2021
                                                                  257                                                                  259
 1   relations partners are trying to, like, capture from the             1                         CROSS EXAMINATION
 2   best vantage point to tell the story.                                2   BY MR. RIACH:
 3   Q. Major Dwyer, did you personally have any other direct             3   Q. Good afternoon, Major. My name is Kevin Riach. I'm an
 4   experiences with members of the media on the ground in               4   attorney with the plaintiffs in this case. Okay?
 5   Brooklyn Center?                                                     5   A. Good afternoon, sir.
 6   A. Yes, I did.                                                       6   Q. Just as a preliminary matter, you are Major Dwyer now,
 7   Q. Can you describe for the Court what that experience was.          7   correct?
 8   A. So there were multiple occasions where I would go out in          8   A. That is correct.
 9   front of our line of troopers, so I was in between law               9   Q. And during the George Floyd protests, you were a captain
10   enforcement and the members of the crowd, but I would               10   at that time; am I correct?
11   initiate conversations with the media and let them know,            11   A. That is correct, sir.
12   like, where safe locations were.                                    12   Q. So you were promoted between the George Floyd protests
13            If they were in the middle of a mass arrest                13   and today, correct?
14   situation, I would make contact with those, have the                14   A. That is correct.
15   troopers identify them, try to verify their credentialing,          15   Q. When were you promoted?
16   and then as soon as possible, as soon as feasible, we would,        16   A. June 3rd of 2021.
17   like, escort them out of that inner circle. And then there          17   Q. Okay. There was a purge of records at the State Patrol
18   was an incident where I did intervene to prevent an arrest          18   immediately after the George Floyd protests; is that
19   of a media partner.                                                 19   correct?
20   Q. Can you describe that intervention for the Court.                20   A. So there was a purge of e-mails and text messages,
21   A. So it was on the evening of that Friday. Another allied          21   correct.
22   agency -- so the encirclement had occurred. A member of the 22           Q. All right. What date was it that those materials were
23   media was trying to get back to his vehicle. He was                 23   purged?
24   directed by a member of the allied agency to go around the          24   A. I don't have a recollection, sir.
25   other side of the building. There was noncompliance by the          25   Q. It was immediately after the George Floyd protests,
                                                                  258                                                                  260
 1   individual from the media. He wanted to go around what he            1   though, correct?
 2   thought was the most efficient travel to his vehicle. He             2   A. That is correct.
 3   was directed again to go around the opposite side of the             3   Q. Was it before you demobilized on June 7th?
 4   building. Again there was noncompliance. At that time the            4   A. It was not.
 5   allied agency informed him that he was under arrest.                 5   Q. Okay. It was after June 7th?
 6            Having some experience and additional knowledge             6   A. I believe so, yes.
 7   about relationships of media and wanting to provide that             7   Q. And the purge included e-mail correspondence, correct?
 8   freedom of press, I intervened and said that I'll handle             8   A. Correct.
 9   this situation, despite putting me in an awkward situation           9   Q. And text messages?
10   with a member of law enforcement, but then escorting him            10   A. Yes, sir.
11   around the building and to a safe location where he could           11   Q. Were any paper documents purged?
12   exit the encirclement.                                              12   A. They were not.
13   Q. Given the chaos that was happening at that time, why did         13   Q. What other electronic records were purged?
14   you choose to intervene?                                            14   A. To my knowledge, none.
15   A. It's the right thing to do. It's the -- not                      15   Q. And who ordered that those records be purged?
16   everybody -- not every department possesses the same level          16   A. There's no order. It's really a standard practice over
17   of knowledge in what I like to call the care and handling of        17   the course of time that we remove, you know, delete text
18   our media to ensure that their best interests are upheld.           18   messages, delete e-mail messages.
19   Q. Thank you, Major. I have no further questions.                   19   Q. And the text messages and e-mail messages that were
20   A. Thank you.                                                       20   deleted, did that include any text messages and e-mail
21            THE COURT: Cross examination?                              21   messages sent during the George Floyd protests?
22            MR. RIACH: Thank you, Your Honor.                          22   A. It was all e-mails and texts.
23            THE COURT: You're welcome.                                 23   Q. Were any electronic reports that had been created during
24                                                                       24   the George Floyd protests destroyed?
25                                                                       25   A. They were not.
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                              Page 257 to Page 260
                                                          EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 66 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                  July 28, 2021
                                                                  261                                                                      263
 1   Q. And you said this is just an automatic purge that                    1   particular instance, though, most of the State Patrol
 2   happened?                                                               2   deleted at the same time?
 3   A. Periodically, correct.                                               3   A. No. It would have been, you know, following
 4   Q. How often does that happen?                                          4   according -- I can't speak to how everybody deleted their
 5   A. There's no set occurrence to it, it varies from person               5   e-mails.
 6   to person, but it is a recommended practice.                            6   Q. What was your historic practice for deleting and
 7   Q. Was this a state -- was this throughout the State Patrol             7   destroying your e-mails?
 8   that records were destroyed?                                            8   A. Periodically. You know, I don't have a set time of the
 9               MS. LANDRUM: Objection, lack of personal                    9   month. It's just periodically.
10   knowledge, calls for speculation.                                      10   Q. Now, are there any record retention policies employed by
11               THE COURT: I don't understand your response. You           11   the State Patrol?
12   said it was person to person?                                          12   A. There are. We do have a retention schedule.
13               THE WITNESS: So it varies person to person, Your           13   Q. What's your retention schedule?
14   Honor. So one individual may purge documents on the 1st of             14   A. Related to?
15   every month or, you know, remove them from their e-mail                15   Q. To e-mail correspondence. Are you required to keep
16   server. Another person may do it on the 15th. There is no              16   e-mail correspondence for a certain period of time?
17   set practice delineating this. It varies individually.                 17   A. We are not.
18               THE COURT: But it's automatic?                             18   Q. You can delete your e-mails any time you want?
19               THE WITNESS: No. It is an act where individuals            19   A. That is correct.
20   delete their e-mail basket and then go into another layer of           20   Q. What about text messages, are you required to keep your
21   the deleted folders and then remove from that server.                  21   text messages for any period of time?
22               MR. RIACH: May I inquire, Your Honor?                      22   A. We are not.
23               THE COURT: Please.                                         23   Q. You can delete those any time you want?
24   BY MR. RIACH:                                                          24   A. That is correct.
25   Q. So help me understand this, Major. Was this something               25   Q. All right. And you just decided, shortly after the
                                                                  262                                                                      264
 1   you did with your own records; is that correct?                         1   George Floyd protests, this would be a good time to clean
 2   A. It was common practice through the agency, not just my               2   out my inbox?
 3   records.                                                                3   A. It is consistent with events, large-scale or otherwise,
 4   Q. Okay. Let's start with you. Okay? You purged your                    4   we periodically delete our inboxes.
 5   records sometime immediately after the George Floyd                     5   Q. So after a large-scale event, mass unrest, it's your
 6   protests, correct?                                                      6   practice to delete all your e-mails?
 7   A. I deleted my e-mails and text messages, correct.                     7   A. I periodically delete my e-mails.
 8   Q. All right. Do you know of anyone else who deleted their              8   Q. Were any of the records that you deleted reviewed to
 9   e-mails and text messages immediately after the George Floyd            9   determine if they had any bearing on this case?
10   protests?                                                              10   A. Other than myself?
11   A. Yes, I do.                                                          11   Q. Did anyone review what you deleted to determine whether
12               MS. LANDRUM: Objection, calls for speculation,             12   it was relevant to this case?
13   lack of personal knowledge.                                            13   A. No, they did not.
14               THE COURT: It does not. You may answer the                 14   Q. You were aware that this case had been filed, though, at
15   question "do you know."                                                15   the time the materials were deleted, correct?
16               THE WITNESS: Yes, ma'am.                                   16   A. I was aware that there was litigation and I retained my
17               THE COURT: You may proceed with your questioning. 17            records in relation to a litigation hold.
18               MR. RIACH: Thank you, Your Honor.                          18   Q. When was the litigation hold placed?
19   BY MR. RIACH:                                                          19   A. I'd have to have my memory refreshed.
20   Q. Who else deleted their e-mails and text messages?                   20   Q. That was after the purge, correct?
21   A. So I will, I guess, offer speculation. I don't --                   21   A. Again, I don't remember the exact date.
22   didn't actually see them delete them, but I do believe a               22              THE COURT: When you say you retained your
23   vast majority of the agency.                                           23   records, are you also including your e-mail as your records?
24   Q. So normal practice was kind of person to person, a                  24              THE WITNESS: No, ma'am. So we have, again,
25   person might do this just to clear out their inbox. In this            25   several folders on a server. And specifically to myself and
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                   Page 261 to Page 264
                                                              EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 67 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                                   265                                                                       267
 1   operations, any type of operational plan or anything as far             1   Also, unchartered territory or waters. Like for our agency,
 2   as rosters or pertinent information relevant to the events,             2   considering, like, we're -- typically we know the
 3   they would be kept in those folders or files. As far as                 3   individuals engaged in force against us. So if there was an
 4   generic or benign e-mails between one another or members,               4   individual that was throwing debris or other objects or
 5   those are the items that are deleted.                                   5   engaged in violence against us, in an effort to curb that,
 6   BY MR. RIACH:                                                           6   it is best practice to use like a direct marking round so
 7   Q. So I want to make sure I understand you correctly. Some              7   that individual is marked and possibly arrested later, but
 8   of your e-mails were saved?                                             8   there are times where they abscond and that individual isn't
 9   A. No, sir.                                                             9   identified. So it would -- potentially there is the
10   Q. Everything you had in your inbox was destroyed shortly              10   scenario where you're completing a use of force report where
11   after the George Floyd protests?                                       11   there's no information.
12   A. So different platforms. We're talking about Outlook.                12   Q. Were there any use of force reports completed, to your
13   So everything that's within that system, that was deleted.             13   knowledge, after the instruction was given not to fill out
14   That doesn't mean that there's not a record of it or, you              14   use of force reports?
15   know, if there's an attachment or something relevant to the            15   A. So there were -- to my knowledge, no.
16   operational needs, that those are not -- those would be                16   Q. All right. Now, you did prepare a summary report, kind
17   saved in a separate folder.                                            17   of a day-by-day catalog, of the things that happened during
18   Q. And did you communicate with the other troopers that are            18   the protests, correct?
19   under your command about deleting their inboxes?                       19   A. I did complete a commander's report, yes.
20   A. There are reminders by district commanders and                      20   Q. Okay. That's called a commander's report?
21   supervisory staff at various times to clean up their Outlook           21   A. That's what I titled it, sir.
22   folders.                                                               22   Q. And that included a summary of the events that happened
23   Q. Did you speak with any of your lieutenants about them               23   on May 30th, correct?
24   deleting their e-mails shortly after the George Floyd                  24   A. Yes.
25   protests?                                                              25              MR. RIACH: Your Honor, I want to make sure
                                                                   266                                                                       268
 1   A. I don't have a recollection, but it's not out of the                 1   that I'm clear here in the use of this exhibit. Defense
 2   realm of possibility.                                                   2   Exhibit 7, I believe, was a redacted version of that
 3   Q. All right. Now, troopers were instructed at some point               3   commander's report.
 4   during the George Floyd protests that they did not need to              4              MS. LANDRUM: That's correct.
 5   complete use of force reports, correct?                                 5              MR. RIACH: And that's something that we can
 6   A. That is correct.                                                     6   display right now without clearing the courtroom; is that
 7   Q. And who provided that instruction?                                   7   correct?
 8   A. It was an assessment made by the MACC or the                         8              MS. LANDRUM: That's correct.
 9   Multi-Agency Command Center. And given the chaotic                      9              MR. RIACH: Okay. Ms. Anderson, can you call up
10   nature -- so I should say on the first day that we were                10   Defense Exhibit 7, please.
11   there, there wasn't any use of force. On the second day                11   BY MR. RIACH:
12   there were four individual uses of direct impact rounds, and           12   Q. Now, can you -- well, first of all, Major Dwyer, do you
13   those were captured by use of force reports.                           13   recognize this document?
14               After that period of time, use of force reports            14   A. I do.
15   weren't documented given the really unprecedented chaotic              15   Q. This is your commander's report, yes?
16   environment and an inability to track the munitions used by            16   A. Yes, sir.
17   individual members, considering the violence that was                  17              MR. RIACH: We would move admission of Defense 7.
18   portrayed against us.                                                  18              MS. LANDRUM: No objection, Your Honor.
19   Q. So let me just make sure I'm clear here. Were troopers              19              THE COURT: Exhibit 7 is received.
20   instructed that they didn't have to complete use of force              20              MR. RIACH: Thank you, Your Honor.
21   reports or were they told do not complete use of force                 21              Can you scroll ahead to the third page, please,
22   reports?                                                               22   and can you pull out the second paragraph, Ms. Anderson, the
23   A. I don't recall the exact conversation. I just know that             23   second paragraph under the date May 30th. There you go.
24   the number of instances where riot control agents were used            24   BY MR. RIACH:
25   were so vast that -- unable to document the use of force.              25   Q. Can you see that up there, Major?
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                    Page 265 to Page 268
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 68 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                            July 28, 2021
                                                               269                                                                    271
 1   A. Yes, I can, sir.                                                 1   Q. What about, like, pieces of rebar, you know, those metal
 2   Q. Very good. So this is a description of what happened             2   bars that go in concrete, was some of that being thrown at
 3   that day that you recorded for posterity in your commander's        3   you as well?
 4   report, correct?                                                    4   A. There was metal debris, yes.
 5   A. That is my narrative report to capture the events, yes.          5   Q. Okay. And then in response to this, to clear out that
 6   Q. Okay. You testified about the 30th of May during your            6   area you deployed some crowd control munitions, correct?
 7   direct examination by Ms. Landrum, correct?                         7   A. Riot control agents, yes.
 8   A. Yes, sir.                                                        8   Q. So the debris is coming in on you and you decided we
 9   Q. And I just want to kind of briefly run through -- I have         9   need to clear these people out, let's use some crowd control
10   a couple of questions about the report. Okay?                      10   munitions; is that how it played out?
11   A. Sure.                                                           11   A. So there was a dispersal first.
12   Q. So you and your team of troopers, all the troopers that         12   Q. Okay.
13   were deployed to the Fifth Precinct that day, you drove over       13   A. There was crowd behavior, which included their acts --
14   there on some Metro Transit buses; is that correct?                14   Q. Okay.
15   A. That is correct.                                                15   A. -- a dispersal order, and then riot control agents.
16   Q. Okay. And then the buses dropped you off at the                 16   Q. Okay. So the debris is getting thrown, you fire the
17   intersection of 32nd and Nicollet; is that right?                  17   crowd control munitions, and then you start to move forward;
18   A. That is my recollection, yes.                                   18   is that correct?
19   Q. And then you disembarked from the buses and formed a            19   A. Debris, dispersal.
20   line; is that correct?                                             20   Q. Okay. Debris, dispersal, munitions, and then the line
21   A. Yes.                                                            21   moves forward?
22   Q. Okay. And upon forming that line, you began to get hit          22   A. Correct.
23   with debris; is that correct?                                      23   Q. Okay.
24   A. Yes.                                                            24             MR. RIACH: Can you take down this exhibit,
25   Q. So it says here you were taking large amounts of                25   please, Ms. Anderson, and can you please bring up
                                                               270                                                                    272
 1   projectiles, correct?                                               1   Plaintiffs' Exhibit 14.
 2   A. Yes, sir.                                                        2   BY MR. RIACH:
 3   Q. And that included rocks, yes?                                    3   Q. That's the Ed Ou video. I believe you said you reviewed
 4   A. Yes.                                                             4   this earlier today?
 5   Q. Bricks?                                                          5   A. Yes, sir.
 6   A. Yes.                                                             6             MR. RIACH: Can you just pause that at 14 seconds.
 7   Q. Fireworks were being thrown at you?                              7   You can scoot it ahead there. Can you advance maybe like a
 8   A. They were being launched, yes.                                   8   frame or two. Go one more. There we go.
 9   Q. Water bottles were being thrown at you?                          9   BY MR. RIACH:
10   A. Yes.                                                            10   Q. Can you see that up there, Major Dwyer, this picture of
11   Q. Glass bottles were being thrown at you?                         11   the scene?
12   A. Correct.                                                        12   A. I can.
13   Q. Construction debris?                                            13   Q. Okay. So behind you is the buses that you were deployed
14   A. Yes.                                                            14   from, correct?
15   Q. When you say "construction debris," what are you talking        15   A. Yes.
16   about there?                                                       16   Q. And then this is the line you formed, right?
17   A. So adjacent to this area, it's in proximity to I-35,            17   A. Yes.
18   which was under construction, so I'm speculating that it           18   Q. Okay. Now, there's no debris on the ground at this
19   came from that area. Otherwise, I guess construction debris        19   point, so this must have been before things were being
20   would include, you know, landscaping or other items in that        20   thrown at you, correct?
21   general vicinity that people would gather.                         21   A. That is our initial line, yes.
22   Q. Were people throwing concrete blocks at you?                    22   Q. All right. So do you see any debris on the ground
23   A. Not, like, traditional concrete blocks, no.                     23   there?
24   Q. Like chunks of concrete from construction?                      24   A. Not in the forefront.
25   A. Yes.                                                            25   Q. Do you see any construction debris, either behind or in
                                                           Lori A. Simpson, RMR-CRR
                                                                   651-848-1225
                                                                                                                 Page 269 to Page 272
                                                         EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 69 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                              July 28, 2021
                                                               273                                                                    275
 1   front of you?                                                      1   A. There are.
 2   A. I do not.                                                       2   Q. So your prior testimony that you were being hit with
 3   Q. Do you see any glass bottles on the ground?                     3   rocks, glass bottles, water bottles, construction debris,
 4   A. No, I don't.                                                    4   chunks of concrete, that is not accurate, correct?
 5   Q. Do you see any water bottles?                                   5   A. I wouldn't say it's inaccurate. It's not depicted on
 6   A. No, sir.                                                        6   this video. So there is this period of time and I can't say
 7   Q. Do you see any rocks?                                           7   that there's -- I'm not seeing anything in the foreground
 8   A. I don't.                                                        8   here on the video, but there's from 25 seconds to when the
 9   Q. Do you see any spent fireworks?                                 9   camera pans a different angle that's unaccounted for.
10   A. I don't.                                                       10   Q. So that was that -- when the camera panned, that was
11   Q. Okay.                                                          11   when the debris rained down on you?
12             THE COURT: Counsel, before you move, if you're          12   A. I can't say for sure, sir. I know that there was debris
13   planning to progress, let's just note where you are in this       13   being thrown. In looking at this, perhaps it didn't reach
14   visual.                                                           14   that initial line, but it's not any depiction of what's
15             MR. RIACH: Sure. I believe we're at 25 seconds          15   happening to the south of us -- or to the north of us,
16   in the video, Your Honor.                                         16   excuse me.
17             THE COURT: Thank you.                                   17   Q. Well, your report says you were taking large amounts of
18   BY MR. RIACH:                                                     18   projectiles, which included rocks, bricks, fireworks, water
19   Q. So all that must have come flying at some point after          19   bottles, glass bottles, and construction debris. And we
20   this frame in the video, correct, Major?                          20   just discussed in your testimony that that occurred and then
21   A. Yes.                                                           21   the dispersal order was given and then less lethal munitions
22   Q. Okay.                                                          22   were fired. So what I'm trying to understand is: Where is
23             MR. RIACH: Can you go ahead and play the video,         23   the debris? Can you point out to me the debris that was
24   Ms. Anderson.                                                     24   landing on you?
25   BY MR. RIACH:                                                     25   A. I'm not going to be able to point it out on this video,
                                                               274                                                                    276
 1   Q. Tell us to pause the video when you see the debris start        1   sir.
 2   to fly.                                                            2   Q. But you stand by this report as an accurate report of
 3      (Video recording played)                                        3   what happened that day?
 4             MR. RIACH: Can you pause it there, Ms. Anderson.         4   A. It is a recollection of events that transpired.
 5   BY MR. RIACH:                                                      5   Q. Okay. So it might not be accurate is what you are
 6   Q. Can you direct me to where the debris is located there          6   telling me?
 7   in front of your line? Is there any debris there?                  7   A. It's a recollection of events that had transpired in
 8   A. I don't see anything to the front there, sir.                   8   that vicinity.
 9             THE COURT: And you are paused at what point in           9             MR. RIACH: Okay. Can you go ahead and press
10   the video?                                                        10   play.
11             MR. RIACH: We are paused at 1 minute and                11      (Video recording played)
12   10 seconds, Your Honor.                                           12             MR. RIACH: Can you -- I'm sorry, Ms. Anderson.
13             THE COURT: Just so counsel knows, I'm a former          13   Can you pause. We're at 1 minute 29, Your Honor. Can you
14   appellate judge --                                                14   scroll back just kind of frame by frame, Ms. Anderson. I
15             MR. RIACH: I appreciate that.                           15   promise not to spend too much time on this, but I just want
16             THE COURT: -- so I am looking at the record with        16   to see something here. Go back another one. Go back one
17   that lens in mind, perhaps prematurely thinking that there        17   more maybe. Go forward.
18   may be some other judges that may also be interested in this 18                  MS. ANDERSON: Frame by frame?
19   transcript. So that's the reason for me interrupting.             19             MR. RIACH: Yeah, just go forward one frame.
20             MR. RIACH: I very much appreciate it. And, quite        20   Well, go ahead and just play the whole thing.
21   frankly, at this point in the day, I'm not too sharp on           21      (Video recording played)
22   these kinds of things, so I very much appreciate you              22             MR. RIACH: All right. Pause it right there.
23   stopping me, Judge. Thank you.                                    23   Sorry. I'm sorry.
24   BY MR. RIACH:                                                     24   BY MR. RIACH:
25   Q. So there are munitions being fired, though, correct?           25   Q. Do you see that individual kind of to the right part of
                                                          Lori A. Simpson, RMR-CRR
                                                                  651-848-1225
                                                                                                             Page 273 to Page 276
                                                         EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 70 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                  July 28, 2021
                                                                 277                                                                      279
 1   the frame?                                                             1   Q. And before you could effect that mass arrest, you had to
 2   A. Yes, sir, I do.                                                     2   disperse the crowd for operational purposes, correct?
 3   Q. Does that individual -- is there anything about that                3   A. So they go hand in hand, you know, there's a dispersal
 4   individual that suggests he might be a journalist?                     4   and then there's an arrest process. They can also be
 5   A. I see the camera.                                                   5   separated. They can -- you can just give dispersal orders
 6   Q. Do you see anything on his clothing?                                6   and let the crowd continue and then, as previously stated,
 7   A. I see on his back there may be some identifying marking,            7   that pushes the problem into a different area or a different
 8   but I can't read what it says, sir.                                    8   day. But, yes, given what we were faced that day, it was to
 9   Q. Okay. If he had a big sign on him that said, "Press,"               9   disperse into the area to the north.
10   would that be something you would consider an indicator that          10   Q. All right. Just to come back to the question, the plan
11   he might be a journalist?                                             11   was you were going to go down there and effectuate a mass
12   A. That would be one element, yes.                                    12   arrest, correct?
13   Q. Okay. That's one element. The fact that he's got kind              13   A. That's my recollection.
14   of a professional-looking camera and he is taking                     14   Q. And as part of that plan you had to disperse the crowd,
15   photographs, is that another element?                                 15   to drive them towards the Kmart parking lot because that's
16   A. Yes, sir.                                                          16   where you were going to effectuate the mass arrest, correct?
17   Q. He's not participating in the protests, correct, or do             17   A. Yes, sir.
18   you consider that to be participation in the protests?                18   Q. Okay. And that was all decided before you even arrived,
19   A. So there's a dispersal order that's given to this                  19   correct?
20   vicinity, so I would say that he's engaged in the area where          20   A. We had those conversations, yes.
21   riotous behavior was occurring.                                       21   Q. All right. As a matter of fact, you had conversations
22   Q. Okay. What was the riotous behavior that was occurring             22   that the plan was to use shock and awe to subdue the
23   right before you fired those munitions?                               23   protesters, correct?
24   A. And, again, it's probably outside of the shot here. My             24   A. So that was a term or a military term that was assigned
25   recollection is there's this riotous venue that's occurring.          25   to it afterwards, and I don't even recall where that
                                                                 278                                                                      280
 1             MR. RIACH: Okay. Go ahead and --                             1   assignment occurred.
 2             THE COURT: And all this testimony pertains to                2   Q. Well, when you briefed the troopers before you went down
 3   this exhibit at 1:22?                                                  3   there, you told them that you were going to use the tactic
 4             MR. RIACH: Correct, Your Honor. Thank you.                   4   of overwhelming power and spectacular displays of force,
 5      (Video recording played)                                            5   correct?
 6             MR. RIACH: You can pause it there, Ms. Anderson.             6   A. I don't recall that being my direction.
 7   BY MR. RIACH:                                                          7   Q. That's not what you told the troopers?
 8   Q. At this point we haven't seen any debris come flying                8   A. I don't recall, sir. We have briefings on the front
 9   across the screen, have we? We've paused at 1 minute and               9   side of it and there are, you know, conversations that occur
10   47 seconds. Have you seen any construction debris flying              10   to get the mind-set of the troopers aligned with what's
11   through the air?                                                      11   going to occur.
12   A. No, sir.                                                           12   Q. The plan was to paralyze the opposition to regain
13             MR. RIACH: You can take this exhibit down.                  13   control; is that correct?
14   BY MR. RIACH:                                                         14   A. I don't recall those being my words.
15   Q. Now, you had an operational plan in place when you                 15   Q. Okay. So if that was the message that someone took away
16   arrived at 32nd and Nicollet on May 30th, correct?                    16   from that briefing, would that have been an incorrect
17   A. Yes.                                                               17   message?
18   Q. And the plan was to execute a mass arrest, right?                  18   A. That is correct.
19   A. That was developed, yes, upon prior knowledge of knowing 19             Q. Okay. They misunderstood you?
20   that the crowd was there, realizing that the Kmart parking            20   A. I don't ever recall using that terminology.
21   lot is there, yes.                                                    21   Q. Okay. You had been told, however, that the governor
22   Q. But before you got there on the buses, you already                 22   wanted the unrest to end that night, correct?
23   planned to effectuate a mass arrest, correct?                         23   A. I was told, and I had also heard that law enforcement
24   A. There were conversations about that based on the curfew            24   would have a different posture.
25   violation, yes.                                                       25   Q. An offensive posture?
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                Page 277 to Page 280
                                                            EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 71 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                 July 28, 2021
                                                                281                                                                     283
 1   A. A different posture than previous nights.                          1   from the curfews, that was because the other commanders you
 2   Q. You were -- you briefed your troopers that they were to            2   are talking about didn't inform them, correct?
 3   use all necessary force to end the protests, correct?                 3   A. I would not agree with that, sir.
 4   A. I do not recall "all necessary." We would use tools                4   Q. Okay. Well, whose fault was it that the lieutenants
 5   that we had to quell the riotous behavior.                            5   didn't know the media was exempt from the curfew?
 6   Q. So if that was a trooper's understanding when they                 6            MS. LANDRUM: Objection, assumes facts, Your
 7   arrived at that scene under your command, they misunderstood          7   Honor.
 8   the instructions you gave them?                                       8            THE COURT: Sustained. You may lay a foundation
 9   A. Yes, sir.                                                          9   and then ask that question, if you can.
10   Q. Okay. Now, you did not inform the troopers that the               10            MR. RIACH: At this point in time I'm going to
11   media was exempt from the curfew that night, correct?                11   pull up -- ask Ms. Anderson to pull up an attorneys' eyes
12   A. There were conversations about media. Actually, so we             12   only marked document, Your Honor, so to the extent we need
13   did have conversations that there was a media exemption.             13   to clear -- I think there may only be one individual.
14   Q. Let me clarify my question because it was a little                14   Sorry, Mr. Tuite.
15   unclear. You provided a briefing before you deployed out             15      (Mr. Tuite excused from courtroom)
16   that night, correct?                                                 16
17   A. Yes.
18   Q. You gathered together in a room with your troopers, yes?
19   A. Given the large amount, it was outside, yes.
20   Q. Okay. But you spoke to the group of troopers to tell
21   them what the mission was, right?
22   A. Yes, sir.
23   Q. Okay. And as part of that conversation, you didn't
24   discuss with them that media were exempt from the curfew,
25   correct?
                                                                282
 1   A. Personally, I did not.                                             1
 2   Q. Okay. And you hadn't given that cautionary instruction
 3   to them any of the nights, did you?
 4   A. So my memory of that is we had conversations at the
 5   command level, at the captains level. So I am one of the
 6   commanders. That information was communicated from the
 7   captains to the lieutenants, that there was -- they were
 8   exempted from the curfew, but they were not exempted from a
 9   dispersal order.
10   Q. And you had talked with your lieutenants about that?
11   A. So I had a conversation with my peer group of commanders
12   and then that message was relayed to the lieutenants, who in
13   turn would relay it to the troopers.
14   Q. When you say "was relayed," were you the person who
15   relayed that message?
16   A. To my peer group, yes.
17   Q. To the lieutenants?
18   A. Not personally, no.
19   Q. Whose job was it to relay that information to the
20   lieutenants?
21   A. The other co-commanders.
22   Q. Okay. So if the message wasn't conveyed, it was because
23   they didn't convey it, correct?
24   A. I'm -- I don't understand, sir.
25   Q. If the lieutenants didn't learn that press was exempt
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                               Page 281 to Page 284
                                                         EXHIBIT A
         CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 72 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                           July 28, 2021




                                                                12   BY MR. RIACH:
                                                                13   Q. Major Dwyer, you testified during your direct
                                                                14   examination that at Daunte Wright protests you had seen some
                                                                15   clearly identifiable journalists, you went to them and told
                                                                16   them to move to a safer place. Do you recall discussing
                                                                17   that in your direct testimony?
                                                                18   A. Yes, sir, I do.
                                                                19   Q. What was it about those journalists that made them
                                                                20   clearly identifiable?
                                                                21   A. Either previous contact with them, recognition from one
                                                                22   of the metro stations. Otherwise a verifiable press
                                                                23   credential that I saw affiliated with a station or
                                                                24   reporting.
                                                                25   Q. So you could see on these individuals a press
                                                   Lori A. Simpson, RMR-CRR
                                                           651-848-1225
                                                                                                      Page 285 to Page 288
                                                  EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 73 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                    July 28, 2021
                                                                  289                                                                         291
 1   credential, and that indicated to you they might be a member            1   as press." That -- is that information that you got from
 2   of the press. Then you went and spoke with them and you                 2   your troopers?
 3   confirmed they were a member of the press. Is that how it               3   A. Yes, it is.
 4   went with some of these folks?                                          4   Q. And which troopers did you talk about this arrest with?
 5   A. Yes, sir.                                                            5   A. So I had a conversation actually again with one of my
 6   Q. Okay. And when you say "a verifiable credential," what               6   peers, and that was a fellow captain and he informed me of
 7   did you do to verify the credentials of these individuals               7   the situation. As far as the specific troopers involved, I
 8   you spoke with?                                                         8   believe it was one of the troopers from the Detroit Lakes
 9   A. Given the environment, you know, if it proceeded to a                9   district, but that's trying to recall.
10   mass arrest situation, that's probably where the verifiable            10   Q. Okay. So you talked to the captain who supervised these
11   came in, but having some knowledge of what Fox or KARE 11 or 11             troopers, but not the troopers themselves; is that correct?
12   those stations' logos, they seemed legitimate as I looked at           12   A. So we were made aware of the arrest of Ms. Sung after
13   those and talked to them.                                              13   the fact. So from our standpoint, myself and my captain
14   Q. All right. Now, you are familiar with the arrest of                 14   partner, we were trying to decipher or find out the timeline
15   Carolyn Sung, correct?                                                 15   of where Ms. Sung was at. And as soon as, like, her
16   A. I am.                                                               16   credentials were matched up with her -- she had already
17   Q. You discussed that in your declaration you filed in this            17   progressed through the processing line without credentials
18   case, right?                                                           18   and without identification, but as soon as that was made
19   A. Yes.                                                                19   known to us, she was taken off site to a location to reunite
20   Q. Okay.                                                               20   with her reporting team.
21              MR. RIACH: And let's pull up Exhibit 37.                    21   Q. All right. So you were present on the night of
22   BY MR. RIACH:                                                          22   April 13th when Ms. Sung was arrested?
23   Q. Do you recognize this document, Major Dwyer?                        23   A. I was in Brooklyn Center, yes.
24   A. Yes, I do.                                                          24   Q. Okay. And I just want to make sure I'm understanding
25   Q. All right.                                                          25   your testimony correctly. So some of this information
                                                                  290                                                                         292
 1              MR. RIACH: And, Ms. Anderson, can you move ahead             1   that's in paragraph 14 comes from your experiences on
 2   to page 8. Thank you.                                                   2   April 13th dealing with the arrest of Ms. Sung; is that
 3   BY MR. RIACH:                                                           3   accurate?
 4   Q. That's your signature, correct, sir?                                 4   A. Dealing with the individual's information relayed to me
 5   A. Yes, sir, it is.                                                     5   who had --
 6   Q. All right.                                                           6   Q. Okay. So you got information that a CNN journalist had
 7              MR. RIACH: Your Honor, we would move admission of            7   been arrested, her name was Carolyn Sung. Who gave you that
 8   Plaintiffs' 37.                                                         8   information?
 9              MS. LANDRUM: No objection, Your Honor. It's                  9   A. One of my fellow captains.
10   already filed in this case.                                            10   Q. All right. And you get this information from your
11              THE COURT: Exhibit 37 is received.                          11   captain. What did you do next?
12              MR. RIACH: Thank you, Judge.                                12   A. So then he was assigned to find out the location of this
13              MR. RIACH: So can you turn back to page 5,                  13   individual or if Ms. Sung had proceeded through the
14   please, of this exhibit, Ms. Anderson. Thank you.                      14   processing line; and once we were able to determine if that
15   BY MR. RIACH:                                                          15   occurred, then we were able to match her up with her
16   Q. Paragraph 14 of this declaration relates to Ms. Sung,               16   reporting team.
17   correct?                                                               17   Q. So you set about trying to find out if she was still on
18   A. It does.                                                            18   site at the protests, that was your first step; is that
19   Q. All right. And it states you're aware of plaintiffs'                19   correct?
20   claim that CNN reporter Carolyn Sung was arrested by MSP               20   A. That was assigned to a captain, yes.
21   troopers on April 13th after she repeatedly offered her                21   Q. Okay. And it was determined that she was still on site,
22   press credentials, correct?                                            22   correct?
23   A. Yes, sir.                                                           23   A. That is my belief.
24   Q. Okay. And it states, "Ms. Sung did not have her press               24   Q. Okay. And it's your understanding that then she was
25   credentials on her person, nor was she clearly identifiable            25   reunited with her reporting team?
                                                               Lori A. Simpson, RMR-CRR
                                                                       651-848-1225
                                                                                                                     Page 289 to Page 292
                                                           EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 74 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                            July 28, 2021
                                                              293                                                                   295
 1   A. Correct.                                                       1   Ms. Anderson.
 2   Q. And you're confident that you have the whole story             2             Your Honor, I want to make sure I'm not trying the
 3   there?                                                            3   Court's patience here. I have maybe 15 more minutes, 20
 4   A. That's my understanding, yes.                                  4   more minutes. Is that going to sit me in bad stead?
 5   Q. You write she was apparently separated from her                5             THE COURT: And that would be the conclusion of
 6   backpack. How did she get separated from her backpack; do         6   any evidence from any party; is that correct?
 7   you know?                                                         7             MS. LANDRUM: Your Honor, typically I would like
 8   A. I do not.                                                      8   to do a redirect examination to address several of these
 9   Q. Okay. You're not aware of troopers grabbing her by the         9   topics.
10   backpack and throwing her to the ground?                         10             THE COURT: So you may have until 5:35, and then
11   A. No.                                                           11   we'll have redirect and then we will conclude this hearing.
12   Q. The captain didn't convey that information to you?            12             MR. RIACH: Understood, Your Honor. Thank you
13   A. That's not information I have.                                13   very much for your patience and forbearance. It's much
14   Q. Are you aware that a trooper yelled at her, "Do you           14   appreciated.
15   speak English?"                                                  15   BY MR. RIACH:
16   A. I am not aware of that.                                       16   Q. When did you first become aware of the temporary
17   Q. You didn't hear anything about that?                          17   restraining order in this case, Major?
18   A. I did not.                                                    18   A. It was the day following April 16th -- or the mass
19   Q. Okay. Do you know Ms. Sung is Asian?                          19   arrest at Brooklyn Center. So April 15th?
20   A. I do not.                                                     20             MR. RIACH: Ms. Anderson, can you pull up -- I
21   Q. Okay. And you state, "Ms. Sung was released immediately       21   want to make sure that we don't pull up an AEO document
22   after her media status was confirmed," correct?                  22   inadvertently. I think we're okay. Ms. Anderson, can you
23   A. It is my belief that she was transported to one of our        23   pull up Plaintiffs' Exhibit 27, please.
24   district offices off site to be reunited.                        24   BY MR. RIACH:
25   Q. So she wasn't transported to the Hennepin County Jail,        25   Q. This is -- Exhibit 27 is an e-mail from Matt Sokol. The
                                                              294                                                                   296
 1   that's your understanding?                                        1   top e-mail is from Matt Sokol to DPS patrol captains and
 2   A. That is my understanding, yes.                                 2   above from April 17th. Is this the e-mail that -- where you
 3   Q. She wasn't patted down and searched at the Hennepin            3   learned of the TRO?
 4   County Jail?                                                      4   A. I believe it says a TRO attachment, so yes.
 5   A. I do not have that information.                                5   Q. You are on this distribution list, I guess is my
 6   Q. There was no correction officer who put her hands into         6   question?
 7   Ms. Sung's pants and bra, you never heard about that?             7   A. Yes, sir, I am.
 8   A. I never heard that, sir.                                       8   Q. All right. And you don't recall hearing about the TRO
 9   Q. You never heard that she was told to strip and put on an       9   before this e-mail was sent out, correct?
10   orange uniform?                                                  10   A. Not in the field, no.
11   A. I did not hear that, sir.                                     11   Q. When you're out in the field, how often do you
12   Q. Okay. Did you hear that she was placed in a jail cell?        12   communicate with your supervisors?
13   A. I did not.                                                    13   A. So it's at that point situational dependent. When we
14   Q. Okay. Did you talk to Commissioner Schnell about this         14   are engaged in an operation, if you will, we will deploy and
15   incident at all?                                                 15   implement our operation. If there's something where we need
16   A. I did not.                                                    16   assistance or contact with our supervisor, we will initiate
17   Q. He never reached out to you and said, "I'm investigating      17   that.
18   an incident involving Carolyn Sung"?                             18   Q. And how do you communicate with your supervisors when
19   A. I do not have that knowledge.                                 19   you're out in the field?
20   Q. Okay. Did you talk to him about this declaration?             20   A. Typically by cell phone.
21   A. To Mr. Schnell?                                               21   Q. Okay. You have your cell phone on you when you're out
22   Q. Correct.                                                      22   there?
23   A. I did not.                                                    23   A. Yes, sir.
24   Q. Okay.                                                         24   Q. Do you recall talking to your supervisors at all on the
25             MR. RIACH: You can take that down. Thanks,             25   evening of April 16th?
                                                         Lori A. Simpson, RMR-CRR
                                                                 651-848-1225
                                                                                                             Page 293 to Page 296
                                                       EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 75 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                   July 28, 2021
                                                               297                                                                          299
 1   A. I'm sure there were multiple conversations.                       1   A. So a majority of individuals -- not a majority.
 2   Q. You don't recall anybody mentioning the temporary                 2   Individuals that I would come in contact with, because I
 3   restraining order during any of those conversations?                 3   would progress past the line of troopers to gain a better
 4   A. I do not.                                                         4   vantage point, because we were engaged in like a lawful
 5   Q. Okay. Now, you talked on your direct about documented             5   arrest situation, to go, like, in close proximity to
 6   instances of individuals who claimed to be press. Do you             6   individuals, they would say, "I'm a member of the media" or
 7   remember discussing that?                                            7   "I'm press." There would be some conversation there. So
 8   A. Yes, I do.                                                        8   it's a mere correlation of the individuals that I
 9   Q. Okay. And as an attachment to your declaration, you               9   encountered and then --
10   attached police reports related to the documentation of             10   Q. So you are extrapolating from your experience that
11   those incidents, correct?                                           11   300 people falsely claimed to be media on the night of
12   A. Yes, sir.                                                        12   April 12th?
13   Q. Other than those particular reports, were there any              13   A. There is some degree of that, yes.
14   other documented instances to your knowledge?                       14   Q. All right.
15   A. Not that our troopers had recollection or that were              15             MR. RIACH: That's all I have, Your Honor.
16   provided.                                                           16                       REDIRECT EXAMINATION
17   Q. Okay.                                                            17   BY MS. LANDRUM:
18               MR. RIACH: Can you pull up Plaintiffs' Exhibit 37       18   Q. Major, I want to touch very briefly on just a couple of
19   again, Ms. Anderson, and take us to paragraph 21. Can you           19   topics that you were just questioned on.
20   just pull up the last sentence of that paragraph, please.           20             Number one, with regard to the fact that there
21   BY MR. RIACH:                                                       21   were -- that the use of force reports, that those stopped
22   Q. Now, in your declaration you wrote, "Approximately               22   being issued during May of 2020, was that a problem that was
23   one-third of the crowd on any given evening during the April        23   solved for purposes of April 2021?
24   2021 protests claimed media status." That's not an accurate         24   A. Yes, it was.
25   statement, is it?                                                   25   Q. How so?
                                                               298                                                                          300
 1   A. That was my assessment of the situation.                          1   A. After reviewing what had occurred in that event in
 2               MR. RIACH: So can you pull us back to                    2   Minneapolis, we made the decision or implemented across the
 3   paragraph 6, Ms. Anderson, and just highlight the first              3   board that we need to revert back to the strict adherence to
 4   line, please.                                                        4   the use of force policy and specifically no matter if an
 5   BY MR. RIACH:                                                        5   individual is identified or not, that a use of force report
 6   Q. So it states here, "On April 12, 2021, a gathering of             6   would be used.
 7   approximately 1,000 protesters remained in the vicinity of           7             So we have use of force reports that are preserved
 8   the Brooklyn Center Police Department past the lawfully              8   now that are completed by a trooper and it simply says what
 9   imposed curfew."                                                     9   was the precipitating factor and what force was used in
10               It was your assessment that one-third of those          10   return, but it doesn't identify an individual in those cases
11   thousand protesters were claiming media status?                     11   where they couldn't be identified.
12   A. These are estimated numbers, certainly, but I think the          12   Q. And the new technology that you mentioned during our
13   key term in that is "claimed." So they were claiming to be          13   direct examination, did that assist Minnesota State Patrol
14   press, not that they were press.                                    14   in being able to better document the use of force and the
15   Q. So you -- what was the -- did you hear 300 different             15   use of munitions?
16   people claim to be media?                                           16   A. Without a doubt. It provides it real time. If there
17   A. No, I did not.                                                   17   are instances of use of force or riot control agents are
18   Q. Did one of your troopers tell you that 300 people had            18   used, it can be documented at the time that they are used.
19   claimed to be media?                                                19   Q. You also received questioning about Ed Ou's video and
20   A. No.                                                              20   the presence or nonpresence of debris within that video. Do
21   Q. Is there documentation in the reports of 300 different           21   you remember that testimony?
22   people claiming to be media who were not media?                     22   A. Yes, I do.
23   A. There is not.                                                    23   Q. How long was Minnesota State Patrol on the ground on
24   Q. So what did you base your assessment on that 300 people          24   May 30, 2020 in order to effect that mass arrest?
25   on April 12th were falsely claiming to be media?                    25   A. Leading up to it or --
                                                            Lori A. Simpson, RMR-CRR
                                                                    651-848-1225
                                                                                                               Page 297 to Page 300
                                                         EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 76 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                  July 28, 2021
                                                                 301                                                                       303
 1   Q. In total that day.                                                  1   environment that had infected the city.
 2   A. That day? So, like, in the area of Nicollet Mall,                   2   Q. Was it the goal of Minnesota State Patrol, in effecting
 3   ma'am?                                                                 3   that mass arrest, to stop peaceful protesters from having
 4   Q. Yes.                                                                4   their voice heard?
 5   A. We were there for a period of time to assess the crowd.             5   A. There was no ill intent. That was not the intent.
 6   I'm estimating 15 to 20 minutes.                                       6   Q. Was it the intent of Minnesota State Patrol, in
 7   Q. Okay. And then after that portion of the video, how                 7   effectuating and planning that mass arrest, to stop
 8   long after that was Minnesota State Patrol on the ground?              8   journalistic efforts?
 9   A. For the duration of the evening into the early morning              9   A. It was not.
10   hours the following day.                                              10   Q. What was the intent?
11   Q. We all saw on that video that we didn't see much debris.           11   A. Again, to restore order to a chaotic environment, to
12   Can you explain to the Court why that was, given your                 12   clear that area. And we always adhere to the elements of
13   recollection that you experienced Minnesota State Patrol              13   neutrality and to make sure that ultimately the First
14   taking on significant debris?                                         14   Amendment is upheld and that safety is provided.
15   A. Yes. So it is a recollection. I will add that it's not             15   Q. We heard your testimony about your rough estimate in
16   real-time reporting. So the report was completed in a                 16   Brooklyn Center that you believed approximately one-third of
17   manner that, just given the levity of the situation, I                17   individuals to possibly be press. Could you explain to the
18   wasn't able to document items as they were occurring or even          18   Court the reasons why you -- why there was that belief that
19   that evening and in the processing of the events that                 19   so many individuals may or may not be media.
20   transpired during this period of time, it was completed days          20   A. Yes. Again, it's that term of "claimed." So there were
21   after the fact.                                                       21   individuals that were displaying just, like, press patches.
22   Q. Now, we did see in the video the use of munitions. Did             22   Much like a law enforcement patch where it says, "Police,"
23   Minnesota State Patrol ever experience rioters throwing               23   it was just a Velcro add-on to a piece of clothing.
24   munitions at Minnesota State Patrol?                                  24   Individuals with cameras and cell phones, I guess it's the
25   A. Yes, that did happen.                                              25   generalization that individuals are affiliated with the
                                                                 302                                                                       304
 1   Q. In Minneapolis in May of 2020?                                      1   press.
 2   A. Yes.                                                                2   Q. We heard the testimony about Carolyn Sung and you heard
 3   Q. Did it happen on Nicollet Avenue?                                   3   that there's an allegation that a Minnesota State Patrol
 4   A. It did.                                                             4   trooper or a law enforcement officer may have spoken to her
 5   Q. To your recollection, did it appear on May 30th?                    5   in a derogatory fashion. Did you hear that?
 6   A. Yes, it did.                                                        6   A. I did hear that.
 7   Q. Now, we heard some testimony that Minnesota State                   7   Q. If that were to turn out to be true, Major, would that
 8   Patrol, before they arrived in the bus, that they were                 8   be a violation of Minnesota State Patrol policy?
 9   planning to do a mass arrest or a mass arrest was being                9   A. Yes, it would.
10   discussed. Did I hear that?                                           10   Q. And if that turned out to be true and it was validated,
11   A. Yes, ma'am.                                                        11   would that be subject to discipline?
12   Q. At that point why? Why was that being planned in                   12   A. It would.
13   advance of arrival? What was going on that was factoring              13              MS. LANDRUM: Thank you. No further questions.
14   into that decision?                                                   14              THE COURT: Is there anything further for this
15   A. So this wasn't an isolated event. It wasn't a                      15   witness?
16   gathering, a demonstration of individuals relative to the             16              MR. RIACH: Just two --
17   events that had previously occurred. This is an ongoing               17              MS. LANDRUM: No, Your Honor. Sorry.
18   event. So it was Monday, Tuesday, Wednesday, essentially a            18              MR. RIACH: I have two quick recross questions,
19   whole entire week of unrest, riotous behavior; and without            19   Your Honor.
20   the implementation to effect a mass arrest where there's              20              THE COURT: You may.
21   consequences, that behavior would continue to occur.                  21              MR. RIACH: Thank you.
22             So that was a tactic, a strategy that was                   22                        RECROSS EXAMINATION
23   discussed in order to bring just the events of the week that          23   BY MR. RIACH:
24   were unprecedented and unpredictable, to draw that to a               24   Q. Major Dwyer, are you aware of any state trooper being
25   close, to restore some sort of order to a chaotic                     25   disciplined for any conduct involving journalists?
                                                              Lori A. Simpson, RMR-CRR
                                                                      651-848-1225
                                                                                                                 Page 301 to Page 304
                                                            EXHIBIT A
           CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 77 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                      July 28, 2021
                                                                    305                                                                          307
 1   A. I am not.                                                              1   that they're press.
 2   Q. And you just testified that when you were circulating                  2              So if there's interaction with law enforcement and
 3   among the protesters and the mass arrests, you saw people                 3   an individual and if they merely have a phone and they say,
 4   wearing press patches; is that correct?                                   4   "I'm with the press," you know, anybody at that location,
 5   A. That is correct.                                                       5   the entire crowd could say, "I'm a member of the press"
 6   Q. Did you document that anywhere?                                        6   based on simply having a phone.
 7   A. I don't recall.                                                        7              So if we are unable to identify and verify, that
 8             MR. RIACH: That's all I have, Your Honor.                       8   speaks to the compounding issue or what complicates the
 9                            EXAMINATION                                      9   matter when we're trying to restore order in these areas.
10   BY THE COURT:                                                            10   It's a hurdle at the scene, and it severely complicates or
11   Q. I have a question. Was it the press patches that some                 11   hinders the ability of law enforcement.
12   were wearing and the fact that individuals had cameras, or               12   Q. Well, it seems to also hinder the ability of the free
13   was it that individuals were using their phones to videotape             13   press to do its work with the tools that it has, if they are
14   or the camera aspect of their phone to record what was going             14   presumed not to be members of the press because they're
15   on?                                                                      15   using an iPhone to record as opposed to something else,
16   A. Thank you, Your Honor. So I think that speaks to the                  16   doesn't it?
17   mere, like, confusing element of it.                                     17   A. Yeah. And it's not, like, so much the recording tool,
18             There are individuals that are trying to portray               18   but it's the working relationship. So to be able to have a
19   themselves as press, so they would indeed, you know, have                19   conversation with the individuals and ask them to go to a
20   additions to their clothing. I think in one of the videos                20   safe location. Considering the law enforcement operation
21   we saw a vest that said, "Press" on it, but there's no,                  21   and that an area that is deemed unsafe not only for the
22   like, verifiable credentials.                                            22   individuals inside, law enforcement and in this case the
23             There were many individuals documenting the                    23   Brooklyn Center area, the heavily residential area, we need
24   events, and then having contact with them at a later point               24   compliance. We need to work collaboratively and
25   they would say that they are affiliated with a blog or an                25   cooperatively. And given the instances that we've talked
                                                                    306                                                                          308
 1   independent business or what have you. So in those                        1   about in Minneapolis and Brooklyn Center, it's those
 2   instances we would try to take steps to verify either                     2   instances that are problematic.
 3   through their employer, but even we would implement means,                3   Q. So if a member of the press is using an iPhone as
 4   like, through the Secretary of State to see if they had an                4   opposed to a huge, you know, camera that would look like
 5   affiliation. And if there was anything leaning towards, we                5   something that an ordinary tourist would not have, you would
 6   would, you know, give the benefit of the doubt. So it was                 6   not be able to discern, but you would not necessarily take
 7   the actual claim that, yes, individuals were affiliated with              7   their word for the fact that they were a member of the press
 8   the press.                                                                8   when they told you they were?
 9   Q. And that was based on their verbal representation?                     9   A. So, Your Honor, like, a piece of equipment has no
10   A. At times, yes. We would have very -- it was very close                10   bearing on or, like, in my assessment of things on their
11   quarters and many times they were standing right in front of             11   affiliation with the media. It could be a flip phone. It
12   the line and asking, you know, for compliance and it would               12   could be an iPhone. It could be a commercial-grade camera.
13   be a matter of "I'm the press," which was also compounded                13   It's being able to work through the dialogue and the
14   by, like, my previous interactions with members of the                   14   parameters, a conversation that they do have a press
15   media, there were times where there was very unprofessional              15   affiliation.
16   dialogue being purported to myself or troopers by people                 16              So it's this double-edged sword of members of the
17   that were portraying them as press. So it was engaged in                 17   media in the crowd and the same riotous dynamic, even though
18   conversation, yes.                                                       18   they may not be engaged in it, but then on the other side
19   Q. Given the prevalence of phones that record and the use                19   it's individuals that are trying to emulate or mock members
20   of phones to record activity by individuals in the community             20   of the media, which is the biggest concern, who try to cause
21   and members of the press, were you discerning any means of               21   harm not specifically on law enforcement, but anybody in
22   differentiation?                                                         22   that area, which we saw in Minneapolis. It wasn't -- nobody
23   A. So that's what lends itself to this difficult scenario                23   was exempt from it. It was the business owners. It was
24   that we're trying to navigate through. So there's not an                 24   residences that were subject to the arson and the looting
25   assignment that they're press, but they can certainly claim              25   and criminal activity night after night after night.
                                                                 Lori A. Simpson, RMR-CRR
                                                                         651-848-1225
                                                                                                                     Page 305 to Page 308
                                                           EXHIBIT A
          CASE 0:20-cv-01302-WMW-DTS Doc. 219-1 Filed 09/03/21 Page 78 of 78
Goyette, et al. vs. City of Minneapolis, et al.                                                                                  July 28, 2021
                                                                 309                                                                          311
 1             So the media element isn't necessarily the largest          1   and for handling this in such a professional and fulsome
 2   issue. It's those that are trying to portray themselves as            2   manner. So thank you for the excellence in your work today.
 3   media. And given the chaotic environment and when we're               3            And so we will conclude now. The matter is taken
 4   asked to make basically split-second decisions on how to              4   under advisement and this will conclude our hearing.
 5   implement a plan to restore order in that environment, it's           5           MS. LANDRUM: Thank you.
 6   very, very difficult, not to mention the environmental                6      (Court adjourned at 5:49 p.m.)
 7   conditions and other situational experiences that are                 7                           *     *    *
                                                                           8
 8   occurring.
                                                                           9
 9             THE COURT: I'm going to ask counsel in light
                                                                          10            I, Lori A. Simpson, certify that the foregoing is a
10   of -- I invited these -- I asked these questions, invited
                                                                          11   correct transcript from the record of proceedings in the
11   this testimony from this witness. You have not had an
                                                                          12   above-entitled matter.
12   opportunity to question the witness about anything that the
                                                                          13
13   witness has just said as a result of my questions. Are
                                                                          14               Certified by: s/ Lori A. Simpson
14   there any additional questions that either counsel would
15   like to make or ask in light of this additional information?
                                                                          15                          Lori A. Simpson, RMR-CRR
16             MS. LANDRUM: No, Your Honor.
                                                                          16
17             MR. RIACH: No, Your Honor.                                 17
18             THE COURT: Okay. Then the matter is taken under            18
19   advisement. Is there anything else that we need to address           19
20   at this time?                                                        20
21             MS. LANDRUM: Your Honor, I have one minor                  21
22   housekeeping. My co-counsel, Mr. Weiner, alerted me to the           22
23   fact that we laid foundation for Exhibit 10, which was the           23
24   use of force policy, but then I never asked Your Honor to            24
25   actually enter Exhibit 10, the use of force policy, into             25
                                                                 310
 1   evidence. May I do that now?
 2             THE COURT: You may. And I thank your co-counsel
 3   because I didn't realize that either.
 4             MS. LANDRUM: Thank you. So the state defendants
 5   move to admit Exhibit 10.
 6             MR. RIACH: No objection.
 7             MS. LANDRUM: Thank you, Your Honor.
 8             THE COURT: Exhibit 10 is received.
 9             MS. LANDRUM: Thank you so much, Your Honor, for
10   the extra time today as well.
11             MR. RIACH: Your Honor, I also received one of
12   those notes, that I forgot to offer Exhibit 27, which is the
13   e-mail thread to the DPS captains and above about the TRO.
14   We would ask to admit Exhibit 27.
15             THE COURT: Any objection?
16             MS. LANDRUM: I believe there's hearsay within
17   that exhibit, but now I don't have it pulled up and I don't
18   remember what it is. We won't object, Your Honor. You can
19   consider it.
20             THE COURT: Exhibit 27 is received.
21             I want to thank co-counsel for both parties for
22   your diligence and making sure that we have a clear and
23   accurate record and a fulsome one. So thank you.
24             I also want to thank the attorneys for your
25   presentations today and your questioning of the witnesses
                                                             Lori A. Simpson, RMR-CRR
                                                                     651-848-1225
                                                                                                                 Page 309 to Page 311
                                                          EXHIBIT A
